      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 1 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                       ·

 ·1· · · · ·IN THE UNITED STATES DISTRICT COURT
 · · · · · ·FOR THE NORTHERN DISTRICT OF GEORGIA
 ·2· · · · · · · · · ·ATLANTA DIVISION

 ·3· · LILY ENGLEMAN,· · · · · · )
 · · · · · · · · · · · · · · · · )
 ·4· · · · ·Plaintiff,· · · · · ·)
 · · · · · · · · · · · · · · · · )
 ·5· · vs.· · · · · · · · · · · ·)
 · · · · · · · · · · · · · · · · )· Civil Action File No.
 ·6· · NATHAN ADKERSON,· · · · · )· 1:21-cv-01992-MLB
 · · · MARYJANE MOSS, JOSE· · · ·)
 ·7· · MORALES, et al.,· · · · · )
 · · · · · · · · · · · · · · · · )
 ·8· · · · ·Defendants.· · · · · )
 · · · · · · · · · · · · · · · · )
 ·9· · · · · · · · · · · · · · · )
 · · · · · · · · · · · · · · · · )
 10· · · · · · · · · · · · · · · )

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 13· · · · · · · ·Videotaped Deposition of

 14· · · · · · · · · · LILY ENGLEMAN

 15· · · · · · · · ·(Taken by Defendants)

 16· · · · · · · · · ·Decatur, Georgia

 17· · · · · · · · · ·February 14, 2023

 18
 · · ·Reported by:· ·Lynne C. Fulwood
 19
 · · · · · · · · · · Certified Court Reporter
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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 2 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 2

 ·1· ·STATE OF GEORGIA
 ·2· ·COUNTY OF COBB
 ·3· ·VIDEOTAPED DEPOSITION OF LILY ENGLEMAN
 ·4
 ·5· · · · · · · ·Pursuant to Article 8.B of the RULES AND
 ·6· ·REGULATIONS OF THE BOARD OF COURT REPORTING OF THE
 ·7· ·JUDICIAL COUNCIL OF GEORGIA, I make the following
 ·8· ·disclosure:
 ·9· · · · · · · ·I am a Georgia Certified Court Reporter.
 10· ·I am here as a representative of Huseby Global
 11· ·Litigation.
 12· · · · · · · ·Huseby Global Litigation was contacted by
 13· ·the offices of SATCHER & MCGOVERN, LLC, to provide
 14· ·court reporting services for this deposition.· Huseby
 15· ·Global Litigation will not be taking this deposition
 16· ·by O.C.G.A. 15-14-37 (a) and (b).
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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 3 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 3

 ·1· ·ON BEHALF OF THE PLAINTIFF:

 ·2· · · · · · · ·MARK BEGNAUD
 · · · · · · · · ·Attorney-at-Law
 ·3· · · · · · · ·Eshman Begnaud, LLC
 · · · · · · · · ·315 West Ponce de Leon Avenue
 ·4· · · · · · · ·Suite 775
 · · · · · · · · ·Decatur, Georgia 30030
 ·5· · · · · · · ·Mbegnaud@eshmanbegnaud.com

 ·6· ·ON BEHALF OF THE DEFENDANT, NATHAN ADKERSON:

 ·7· · · · · · · ·ANNARITA L. MCGOVERN
 · · · · · · · · ·Attorney-at-Law
 ·8· · · · · · · ·Satcher & McGovern, LLC
 · · · · · · · · ·288 South Main Street
 ·9· · · · · · · ·Suite 100
 · · · · · · · · ·Alpharetta, Georgia 30009
 10· · · · · · · ·Amcgovern@satchermcgovernlaw.com

 11· ·ON BEHALF OF THE DEFENDANT, JOSE MORALES:

 12· · · · · · · ·ERIC BALLINGER - videoconference
 · · · · · · · · ·Attorney-at-Law
 13· · · · · · · ·Royal Will
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 14· · · · · · · ·Building J
 · · · · · · · · ·Lawrenceville, Georgia 30044
 15· · · · · · · ·Dwill@royallaw.net

 16· ·ON BEHALF OF THE DEFENDANT, TOMEIKA JORDAN:

 17· · · · · · · ·DERRICK L. BINGHAM - videoconference
 · · · · · · · · ·Attorney-at-Law
 18· · · · · · · ·Stites & Harbison, PLLC
 · · · · · · · · ·303 Peachtree Street, N.E.
 19· · · · · · · ·Suite 2800
 · · · · · · · · ·Atlanta, Georgia 30308
 20· · · · · · · ·Debingham@stites.com

 21· ·ON BEHALF OF THE DEFENDANT, MARYJANE MOSS:

 22· · · · · · · ·NOAH GREEN - videoconference
 · · · · · · · · ·Attorney-at-Law
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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 4 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 4

 ·1· ·ON BEHALF OF THE DEFENDANTS WILLIAM CLAYTON NIX
 · · ·AND JOHN RICHEY:
 ·2
 · · · · · · · · ·CHARLES E. COX, JR.
 ·3· · · · · · · ·Attorney-at-Law
 · · · · · · · · ·Charles E. Cox, Jr., LLC
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 · · · · · · · · ·Macon, Georgia 31202-0067
 ·5· · · · · · · ·Charles@cecoxjr.com

 ·6· ·ON BEHALF OF THE DEFENDANT, JONATHAN ADAMS:

 ·7· · · · · · · ·ERIC O'BRIEN - videoconference
 · · · · · · · · ·Attorney-at-Law
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 11· ·ON BEHALF OF THE DEFENDANT, MIKE RILEY:

 12· · · · · · · ·CHARLES J. COLE
 · · · · · · · · ·Attorney-at-Law
 13· · · · · · · ·Mcrae Bertschi & Cole LLC
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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 5 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 5

 ·1
 ·2· · · · · · · · · · - - -
 ·3· · · · ·Videotaped deposition of LILY
 ·4· ·ENGLEMAN, taken by the Defendants, at 315
 ·5· ·W. Ponce de Leon Avenue, Suite 800,
 ·6· ·Decatur, Georgia 30030, on the 14th day of
 ·7· ·February 2023, at 10:00 a.m., before Lynne
 ·8· ·C. Fulwood, Certified Court Reporter.
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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 6 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 6

 ·1· · · · · · · · · ·INDEX TO EXHIBITS

 ·2· ·Exhibit 1· · · Videotape (retained by
 · · · · · · · · · · ·Counsel)· · · · · · · · · · ·122
 ·3· ·Exhibit 2· · · JPay· · · · · · · · · · · · · 122

 ·4
 · · · · · · · · · ·INDEX TO EXAMINATION
 ·5
 · · ·Examination by Ms. McGovern· · · · · · · · · 8
 ·6
 · · ·Examination by Mr. Cole· · · · · · · · · · · 151
 ·7
 · · ·Examination by Mr. Cox· · · · · · · · · · · ·156
 ·8
 · · ·Examination by Mr. Green· · · · · · · · · · ·163
 ·9
 · · ·Examination by Mr. O'Brien· · · · · · · · · ·166
 10
 · · ·Examination by Mr. Bingham· · · · · · · · · ·173
 11
 · · ·Examination by Mr. Ballinger· · · · · · · · ·176
 12

 13

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 7 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 7

 ·1· · · · · · P R O C E E D I N G S
 ·2· · · · · · · · · · - - -
 ·3· · · · ·(Whereupon, the video camera was
 ·4· ·turned on.)
 ·5· · · · ·THE VIDEOGRAPHER:· This is the
 ·6· ·beginning of Media 1, in the deposition of
 ·7· ·Lily Engleman, in the matter of Lily
 ·8· ·Engleman versus Nathan Adkerson, et al.
 ·9· ·Today's date is February 14th, 2023.· The
 10· ·time is 10:21 a.m.
 11· · · · ·If the attorneys present would please
 12· ·introduce themselves for the record, after
 13· ·which the Court Reporter will swear in the
 14· ·witness.
 15· · · · ·MR. BEGNAUD:· Representing Plaintiff
 16· ·Lily Engleman, I'm Mark Begnaud.
 17· · · · ·MS. MCGOVERN:· Annarita McGovern for
 18· ·Nathan Adkerson.
 19· · · · ·MR. COX:· Charles Cox for Mr. Nix and
 20· ·Mr. Richey.
 21· · · · ·MR. COLE:· Chuck Cole for Mike Riley.
 22· · · · ·MR. BALLINGER:· Eric Ballinger filling
 23· ·in for David Will representing Jose
 24· ·Morales.
 25· · · · ·MR. GREEN:· Noah Green for Maryjane

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 8 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 8

 ·1· · · · Moss.
 ·2· · · · · · · MR. BINGHAM:· Gary Bingham for Tomeika
 ·3· · · · Jordan.
 ·4· · · · · · · MR. O'BRIEN:· And Eric O'Brien for
 ·5· · · · Jonathan Adams.
 ·6· · · · · · · · · · LILY ENGLEMAN,
 ·7· ·having first been duly sworn, was deposed and
 ·8· ·examined as follows:
 ·9· · · · · · · · · · · EXAMINATION
 10· ·BY MS. MCGOVERN:
 11· · · · ·Q· · Good morning, Ms. Engleman.
 12· · · · ·A· · Good morning.
 13· · · · ·Q· · My name is Annarita McGovern, and we just
 14· ·met.
 15· · · · · · · I wanted to touch base with you before we
 16· ·begin to see if you'd been previously deposed before.
 17· · · · ·A· · No.
 18· · · · ·Q· · Okay.· Couple of basic ground rules.· We
 19· ·obviously have a court reporter and a videographer.
 20· ·We tend to nod and gesture, and I know I have a habit
 21· ·of interrupting.· And if we can both try to speak one
 22· ·at a time and not do any gestures so that we can have
 23· ·a clean transcript.
 24· · · · · · · If you need a break for any reason, let
 25· ·me know.· I just ask that you answer the question on

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 9 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                   Page 9

 ·1· ·the table before taking the break.
 ·2· · · · · · · If you don't understand a question that I
 ·3· ·ask for any reason, please let me know, and I'll
 ·4· ·restate it.· Because if you answer, it will be taken
 ·5· ·down as if you understood and answered accordingly.
 ·6· · · · ·A· · Okay.
 ·7· · · · ·Q· · All that makes sense?
 ·8· · · · ·A· · Yeah.
 ·9· · · · ·Q· · Okay.
 10· · · · · · · MS. MCGOVERN:· And I'm assuming we're
 11· · · · going to do the same stipulations and
 12· · · · reserve objections except as to form and
 13· · · · responsiveness?
 14· · · · · · · MR. BEGNAUD:· Yes, ma'am.
 15· · · · · · · MS. MCGOVERN:· Okay.
 16· ·BY MS. MCGOVERN:
 17· · · · ·Q· · Can you please state your full name for
 18· ·the record?
 19· · · · ·A· · Lily Eugenia Engleman.
 20· · · · ·Q· · What is your date of birth?
 21· · · · ·A· · September 5th, 1988.
 22· · · · ·Q· · And what is your current address?
 23· · · · ·A· · 1445 Juneau Court, Tucker, Georgia 30084.
 24· ·But I am moving on Saturday, so that won't be my
 25· ·address for very long.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 10 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 10

 ·1· · · · ·Q· · Okay.· What's your new address on
 ·2· ·Saturday?
 ·3· · · · ·A· · I think it's 2985 First Avenue,
 ·4· ·Southwest, Atlanta, Georgia 30315.
 ·5· · · · ·Q· · Okay.· And is that a house, apartment --
 ·6· · · · ·A· · It's a house.
 ·7· · · · ·Q· · -- condo?
 ·8· · · · ·A· · It's a house.
 ·9· · · · ·Q· · Okay.· And buying or renting?
 10· · · · ·A· · Yep.· I close on Thursday.
 11· · · · ·Q· · Okay.· And your current address, is that
 12· ·a house?
 13· · · · ·A· · It's a house.
 14· · · · ·Q· · And you own that?
 15· · · · ·A· · A friend of mine owns it, and I've been
 16· ·renting from her.
 17· · · · ·Q· · Okay.· And how long have you been at your
 18· ·current address?
 19· · · · ·A· · We moved October of 2020.
 20· · · · ·Q· · Okay.· All right.· And so where did you
 21· ·live prior to 2020?
 22· · · · ·A· · Before that, I lived in an apartment at
 23· ·924 Brookhaven Way, Brookhaven, Georgia 30319.
 24· · · · ·Q· · Okay.· And how many years have you lived
 25· ·in the Atlanta area?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 11 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 11

 ·1· · · · ·A· · Since 2015.
 ·2· · · · ·Q· · Okay.· And do you have family members
 ·3· ·that live in the -- in the Atlanta area generally?
 ·4· · · · ·A· · Yes.· So both of my parents live in
 ·5· ·Dahlonega.· I don't know if that counts as the
 ·6· ·Atlanta area, but they're in Dahlonega.· My sister --
 ·7· ·I have a younger sister who's kind of in, like,
 ·8· ·Kennesaw-Woodstock.· And I have an older brother
 ·9· ·who's in Peachtree Corners.
 10· · · · ·Q· · And what are the names of your parents?
 11· · · · ·A· · Dennis and Deborah Engleman.
 12· · · · ·Q· · Sister, what's her name?
 13· · · · ·A· · Mary Victoria Engleman.
 14· · · · ·Q· · Okay.· And your brother, what's his name?
 15· · · · ·A· · John Nicholas Engleman.
 16· · · · ·Q· · And we say this for jury selection.· It's
 17· ·not --
 18· · · · ·A· · Yeah.
 19· · · · ·Q· · -- to get into your personal business.
 20· · · · · · · Any other family that you have including
 21· ·cousins, aunts, uncles or anything in the Atlanta
 22· ·area?
 23· · · · ·A· · No.
 24· · · · ·Q· · Okay.· You're not married?
 25· · · · ·A· · No.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 12 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 12

 ·1· · · · ·Q· · And no children?
 ·2· · · · ·A· · No.
 ·3· · · · ·Q· · Okay.· Any prior legal actions you've
 ·4· ·been involved with in your life as a plaintiff or as
 ·5· ·a defendant?
 ·6· · · · ·A· · No.
 ·7· · · · ·Q· · Okay.· This is your first lawsuit?
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · Okay.· And I ask everyone this.· It's
 10· ·not -- not to indicate anything.
 11· · · · · · · Have you ever been arrested for any
 12· ·reason?
 13· · · · ·A· · No.
 14· · · · ·Q· · Okay.· Nothing but any minor traffic
 15· ·citations in your life?
 16· · · · ·A· · Correct.
 17· · · · ·Q· · Okay.· And tell me about -- oh, what was
 18· ·your cell phone number at the time of the arrest and
 19· ·the visit that we're here on today?
 20· · · · ·A· · It's the same number that I've -- I still
 21· ·have.· It's (706) 200-2062.
 22· · · · ·Q· · Have you taken any -- first of all, do
 23· ·you take any medications?
 24· · · · ·A· · I take oral contraceptives.
 25· · · · ·Q· · Okay.· And so have -- you haven't taken

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                                                                               YVer1f
      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 13 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 13

 ·1· ·any medications today that would impair your ability
 ·2· ·to testify truthfully?
 ·3· · · · ·A· · No.
 ·4· · · · ·Q· · Okay.· And any other medical issues,
 ·5· ·illness, lack of sleep or anything else that would
 ·6· ·impair your ability to understand the questions and
 ·7· ·answer them truthfully?
 ·8· · · · ·A· · No.
 ·9· · · · ·Q· · Okay.· And any -- what is your
 10· ·educational background?· If you can kind of start
 11· ·from high school and work me on up.
 12· · · · ·A· · Okay.· So I graduated from high school,
 13· ·Lumpkin County High School.· It's in Dahlonega.· That
 14· ·was in 2006.· My senior year, I did joint enrollment
 15· ·at North Georgia University, also in Dahlonega.· So I
 16· ·was there my senior year of high school and my
 17· ·freshman year of college.
 18· · · · · · · After my freshman year of college, I
 19· ·transferred to Georgia College and State University
 20· ·in Milledgeville where I received my bachelor's of
 21· ·arts degree.· I doubled majored in criminal justice
 22· ·and English literature, and I minored in business
 23· ·management.· I graduated from there in December of
 24· ·2010.
 25· · · · · · · And then I went back to school at Georgia

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 14 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 14

 ·1· ·State University, fall of 2015, to get my master's in
 ·2· ·social work, and I graduated in May of 2017.
 ·3· · · · ·Q· · Okay.· And were you working while you
 ·4· ·were doing the Georgia State program or the --
 ·5· · · · ·A· · The social work program?
 ·6· · · · ·Q· · Yes.
 ·7· · · · ·A· · I was, yes.· So I -- I worked part time
 ·8· ·at a restaurant, as a server at a restaurant.· I also
 ·9· ·had a graduate research assistant position with a
 10· ·professor at the school of social work.· So I did,
 11· ·you know, research with her and kind of different
 12· ·odds and ends.· And that paid for a lot of my tuition
 13· ·plus gave me, like, a monthly stipend.
 14· · · · ·Q· · So -- and what restaurant were you
 15· ·working part time at?
 16· · · · ·A· · The Wing Factory.
 17· · · · ·Q· · Okay.
 18· · · · ·A· · A sports bar in Buckhead.
 19· · · · ·Q· · Okay.· And were you taking classes full
 20· ·time or part time?
 21· · · · ·A· · Full time.
 22· · · · ·Q· · Okay.· And any other educational work
 23· ·after your MS- -- MSW from Georgia State?
 24· · · · ·A· · I mean, I have to do continuing
 25· ·education.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 15 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 15

 ·1· · · · ·Q· · Sure.
 ·2· · · · ·A· · But nothing like at a university, no.
 ·3· · · · ·Q· · Okay.· Any other licenses or
 ·4· ·certifications?
 ·5· · · · ·A· · I have my -- I currently have my clinical
 ·6· ·social work licensure that I just received in
 ·7· ·January.· Prior to that, I had a lower level social
 ·8· ·work licensure that I received right after
 ·9· ·graduating.
 10· · · · ·Q· · Explain the difference between the two
 11· ·licensures.
 12· · · · ·A· · Okay.· So the first one is a licensed
 13· ·master social worker.· It's a licensure that you can
 14· ·get once you get your master's degree in social work.
 15· ·And beyond that, there aren't a lot of requirements.
 16· ·You need, like, recommendation letters, whatever.
 17· ·But you can immediately get it, and, you know,
 18· ·it's -- it's a lower level licensure that does not
 19· ·allow you to do clinical work, which is, you know,
 20· ·like therapy, essentially.
 21· · · · · · · And then a clinical social work
 22· ·licensure, you can get after you have done supervised
 23· ·clinical work for at least two years and you have
 24· ·like 120 supervision hours and all of this kind of
 25· ·stuff.· So usually, you know, you're not eligible to

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 16 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 16

 ·1· ·get it until a few years after you get your master's
 ·2· ·degree.· So I just received that in January.
 ·3· · · · ·Q· · In order to get that licensure, do you
 ·4· ·have to take any tests or additional coursework?
 ·5· · · · ·A· · Yes.· Yes, there's tests for both of
 ·6· ·them.
 ·7· · · · ·Q· · Okay.
 ·8· · · · ·A· · Uh-huh.
 ·9· · · · ·Q· · And then during what period of time did
 10· ·you do your supervision for those subsequent license?
 11· · · · ·A· · I did my supervision when I was with the
 12· ·capital defenders office.
 13· · · · ·Q· · Okay.
 14· · · · ·A· · And so a new director is mitigation
 15· ·there.· She is a clinic social worker, and so she was
 16· ·able to provide me with supervision.· There was
 17· ·another clinical social worker on staff who I also
 18· ·did supervision with.· And then, of course, when I --
 19· ·my employment ended, I could not continue that with
 20· ·them.
 21· · · · · · · So about, I think, November of 2021, a
 22· ·friend of mine connected me with a -- like a paid --
 23· ·you can -- you can either get supervision through
 24· ·your employment if they offer it for free, or you
 25· ·can, you know, hire someone, essentially.· And there

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 17 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 17

 ·1· ·are a lot of people, social workers, that kind of do
 ·2· ·that as a side hustle.· So I did supervision for
 ·3· ·about a year with her.· Her name is Jamie Bray.
 ·4· · · · ·Q· · Jamie Bray.
 ·5· · · · · · · How do you spell that?· B-R- --
 ·6· · · · ·A· · B-R-A-Y.
 ·7· · · · ·Q· · And where is she in practice?
 ·8· · · · ·A· · I think she lives in Athens.· She's a
 ·9· ·professor, social work professor at UGA, so I think
 10· ·she works in Athens.
 11· · · · ·Q· · And so the supervision was received in
 12· ·Athens?
 13· · · · ·A· · No.· So it was done over the phone.· So
 14· ·we would have hourly phone sessions.· And then we
 15· ·also did group supervision via Zoom.
 16· · · · ·Q· · Like Telehealth?
 17· · · · ·A· · Yeah, essentially so.· Uh-huh.
 18· · · · ·Q· · Okay.· And she would supervise you during
 19· ·your telehealth?
 20· · · · ·A· · Well, I wasn't doing telehealth.· It was
 21· ·like the group supervision would be me and maybe five
 22· ·other supervisees.
 23· · · · ·Q· · Okay.
 24· · · · ·A· · So she had like, I don't know, 15
 25· ·different people that she was supervising.· And we

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 18 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 18

 ·1· ·would get together, you know, via Zoom and talk about
 ·2· ·different cases that we were working, talk about
 ·3· ·different, you know, issues that we were having.· You
 ·4· ·know, I have a client that's presenting this way,
 ·5· ·what do you-all think about that and -- yeah.
 ·6· · · · ·Q· · Okay.· And so how many hours do you do
 ·7· ·with Ms. Bray, approximately?
 ·8· · · · ·A· · I -- I think when I left the capital
 ·9· ·defenders office, I had to have 120 total.
 10· · · · ·Q· · Right.
 11· · · · ·A· · When I left the capital defenders office,
 12· ·I had roughly half of that.· I think it was maybe
 13· ·around 52 or 54.
 14· · · · ·Q· · Okay.
 15· · · · ·A· · So I did the remainder with Ms. Bray.
 16· · · · ·Q· · Okay.· So about half?
 17· · · · ·A· · Yeah.
 18· · · · ·Q· · And then when did you receive the
 19· ·subsequent licensure?
 20· · · · ·A· · I think I took the test January 4th and
 21· ·passed and then, you know, was immediately --
 22· · · · ·Q· · Of this year, '23?
 23· · · · ·A· · Yeah.· Yes, last month.
 24· · · · ·Q· · Okay.· And you passed it, and you found
 25· ·out and got the licensure when?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 19 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 19

 ·1· · · · ·A· · I mean, you find out that day --
 ·2· · · · ·Q· · Okay.
 ·3· · · · ·A· · -- that you passed.
 ·4· · · · ·Q· · All right.· Okay.· So this happened.
 ·5· ·Congratulations.
 ·6· · · · ·A· · Yeah.
 ·7· · · · ·Q· · Okay.· And so what does the new
 ·8· ·certification allow you to do then?
 ·9· · · · ·A· · I'm sorry, Mark.· The new certification
 10· ·allows me to practice clinical social work.· So if I
 11· ·wanted to open my own therapy business, I could do
 12· ·that.· If I wanted to, you know, partner with another
 13· ·therapist and kind of have a -- you know, a private
 14· ·practice together, we could do that.
 15· · · · · · · I don't want to do that.· I'm not
 16· ·interested in being a private therapist.· I've never
 17· ·been interested in that.· But I -- I want to have
 18· ·just the highest level of credentials possible in my
 19· ·field just for my own kind of sense of professional
 20· ·credibility.· I wanted just the training and the
 21· ·supervision that went along with getting that
 22· ·licensure because it helps me do my job better, you
 23· ·know, whatever my job is.
 24· · · · · · · So it's -- being a clinical social worker
 25· ·is kind of -- it's similar to being a licensed

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 20 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 20

 ·1· ·psychologist, except a licensed psychologist can do
 ·2· ·psychological testing that social workers can't --
 ·3· ·will never be able to do.
 ·4· · · · ·Q· · So you have a larger variety of options
 ·5· ·available to you in your employment as a result of
 ·6· ·the --
 ·7· · · · ·A· · That's right.
 ·8· · · · ·Q· · -- the (inaudible) license, right?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · Than you did back in --
 11· · · · ·A· · For sure.
 12· · · · ·Q· · -- 2019 or '20?
 13· · · · ·A· · Yes.
 14· · · · ·Q· · Okay.· All right.· And so have you done
 15· ·any other subsequent training or -- or licensure
 16· ·work?
 17· · · · ·A· · No.
 18· · · · ·Q· · Okay.· Other than your continuing
 19· ·education?
 20· · · · ·A· · Right.
 21· · · · ·Q· · All right.· And your license is in good
 22· ·standing?
 23· · · · ·A· · Yes.
 24· · · · ·Q· · And your prior license is also in good
 25· ·standing?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 21 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 21

 ·1· · · · ·A· · It doesn't -- it -- the clinical
 ·2· ·licensure supercedes it, so it's --
 ·3· · · · ·Q· · So it doesn't really matter?
 ·4· · · · ·A· · It doesn't matter.· It's not in good
 ·5· ·standing.
 ·6· · · · ·Q· · Okay.· All right.· But you were never
 ·7· ·suspended or had any ramifications on your license
 ·8· ·previously?
 ·9· · · · ·A· · Well, when I was arrested, I was not able
 10· ·to renew.
 11· · · · ·Q· · Okay.
 12· · · · ·A· · You have to renew your licensure every
 13· ·two years in Georgia.· And renewal year was -- it's
 14· ·always on even years.· So it was like September of
 15· ·2020.· And I went to renew, and there were -- you
 16· ·have to indicate if you've been arrested within the
 17· ·last year or, you know, anything like that.· And I
 18· ·indicated that I had been arrested.
 19· · · · · · · They wanted me to send in, you know, the
 20· ·physician documents and all of that, which I didn't
 21· ·have at that point.· You know, I'd been arrested, but
 22· ·nothing has gone on with my criminal case whatsoever.
 23· ·I was not even indicted yet.· And so I couldn't give
 24· ·them anything.
 25· · · · · · · And so the licensure -- it was placed in

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 22 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 22

 ·1· ·this, like, not -- it wasn't, like, cancelled.· They
 ·2· ·placed it in this, like, "cannot renew at the moment
 ·3· ·type" status.· And it was like that for, I think -- I
 ·4· ·think I finally was able to give them some
 ·5· ·documentation that they accepted maybe in the spring
 ·6· ·of 2021.· And then they did put it in active status
 ·7· ·again.
 ·8· · · · ·Q· · So how long were you in inactive status?
 ·9· · · · ·A· · Maybe six months.
 10· · · · ·Q· · Okay.
 11· · · · ·A· · I think so.
 12· · · · ·Q· · Okay.· And did you provide them any
 13· ·supplemental information following your arrest,
 14· ·whether it was just in a personal written narrative
 15· ·or anything --
 16· · · · ·A· · I gave them a --
 17· · · · ·Q· · -- like that?
 18· · · · ·A· · I gave them a letter.· I wrote them a
 19· ·letter in the spring of 2021.· At that point, I had
 20· ·been fired.· I lost my job.· You know, my licensure,
 21· ·if you looked it up, it showed that it had not been
 22· ·renewed.· That was a barrier to employment.· I wrote
 23· ·them a letter explaining what had happened,
 24· ·explaining why I didn't have any documentation.· And,
 25· ·you know, showed them that once I did have

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 23 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 23

 ·1· ·documentation, I would give it to them.· And they
 ·2· ·said, Okay, you know, you haven't been convicted.
 ·3· ·You know, we understand that.· We'll place this in
 ·4· ·active status again, and then once you get
 ·5· ·documentation, send it in.
 ·6· · · · ·Q· · Okay.· All right.· And so in terms of
 ·7· ·other types of training, you've never had any, like,
 ·8· ·post training like correctional officers would have,
 ·9· ·correct?
 10· · · · ·A· · Oh, no.· No.
 11· · · · ·Q· · Any legal training that you've ever had?
 12· ·I mean, I know that you work with the --
 13· · · · ·A· · Yeah.
 14· · · · ·Q· · -- defenders office, so -- but any formal
 15· ·-- let's start with any formal training classes,
 16· ·courses, anything more along those lines.
 17· · · · ·A· · In legal studies?
 18· · · · ·Q· · Yes.
 19· · · · ·A· · No.· I mean, I have a -- I mean, I attend
 20· ·the same kinds of conferences that attorneys in my
 21· ·office attend.· But there's not like -- I mean, I'm
 22· ·not a lawyer.
 23· · · · ·Q· · Right.
 24· · · · ·A· · So no.
 25· · · · ·Q· · Right.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 24 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 24

 ·1· · · · · · · So no -- no paralegal training, no --
 ·2· · · · ·A· · No.
 ·3· · · · ·Q· · -- formal legal training?
 ·4· · · · ·A· · No.
 ·5· · · · ·Q· · Just stuff that you would do through
 ·6· ·work?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · Okay.· And no weapons training?
 ·9· · · · ·A· · No.
 10· · · · ·Q· · Okay.· Tell me about your employment
 11· ·history.· And I guess it would probably be easier if
 12· ·we start where you're working now and work our way
 13· ·back.
 14· · · · ·A· · Okay.· So I currently work with the
 15· ·federal defender program of the Northern District of
 16· ·Georgia.· I've been there since January 18th of 2022.
 17· ·So just about a year.
 18· · · · ·Q· · Is that a similar position to what you
 19· ·had with the state defender program?
 20· · · · ·A· · It's very similar, yes.· I'm a mitigation
 21· ·specialist.· The biggest difference is that I'm not
 22· ·doing capital work.· It's non-capital cases, whereas,
 23· ·of course, at the capital defenders office, was
 24· ·solely capital work.
 25· · · · ·Q· · And was that out of choice, or they

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 25 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 25

 ·1· ·didn't have an opening, or how did that occur?
 ·2· · · · ·A· · They don't do capital cases.· I mean,
 ·3· ·they have -- they have a capital habeas unit.· It's
 ·4· ·very, very small.· You know, it's -- they just need
 ·5· ·one mitigation specialist that's fully staffed.
 ·6· ·Yeah, so the trial unit doesn't do capital cases.
 ·7· · · · ·Q· · Okay.· And are you appearing in most
 ·8· ·courts in the Northern District of Georgia in terms
 ·9· ·of your work?· Are you providing testimony?
 10· · · · ·A· · I don't provide testimony, but yes, we're
 11· ·in -- I do cases for all the judges, if that's what
 12· ·you're asking.
 13· · · · ·Q· · Yeah, that's what I was kind of getting
 14· ·to.
 15· · · · · · · Have you been before most of the judges
 16· ·in the Northern District or been familiar or
 17· ·submitted information on cases for --
 18· · · · ·A· · Yeah.
 19· · · · ·Q· · -- most of the judges?
 20· · · · ·A· · Yes.· Yes.
 21· · · · ·Q· · Any that you deal with more often than
 22· ·not?
 23· · · · ·A· · It's really just random.· So what happens
 24· ·is if an attorney at my office has a case that they
 25· ·think mitigation work would be very useful on, if

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 26 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 26

 ·1· ·they have a case in which they have already kind of
 ·2· ·identified or believe that their client has mental
 ·3· ·health issues, maybe has substance abuse issues that
 ·4· ·are, you know, relevant to the crime that happened.
 ·5· ·Maybe they think their client has a long history of
 ·6· ·trauma or something.· You know, maybe their client is
 ·7· ·just kind of acting bizarrely and they don't know why
 ·8· ·and they want someone with some training in that to
 ·9· ·kind of help figure out what's going on, they'll ask
 10· ·me to work on their case.
 11· · · · · · · And there's one other full-time
 12· ·mitigation specialist as well, so we kind of take
 13· ·cases on a rotating basis.· If we're very full, you
 14· ·know, we have very full caseloads, we'll tell
 15· ·attorneys we can't really handle it right now, maybe
 16· ·try to get a continuance, we can maybe look at it in
 17· ·a couple of months or something.· So it's just very
 18· ·random as to what attorney wants us and for what case
 19· ·and what judge they happen to have.
 20· · · · ·Q· · Okay.· Who do you work directly for?
 21· ·Who's your direct supervisor?
 22· · · · ·A· · Stephanie Kearns is the director of the
 23· ·agency.
 24· · · · ·Q· · Her --
 25· · · · ·A· · K-E-A-R-N-S.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 27 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 27

 ·1· · · · ·Q· · Thank you.
 ·2· · · · · · · And has that gone well?· No negative --
 ·3· · · · ·A· · Uh-huh.
 ·4· · · · ·Q· · -- issues with the -- with the job,
 ·5· ·negative feedback or anything like --
 ·6· · · · ·A· · It's been great.
 ·7· · · · ·Q· · Okay.
 ·8· · · · ·A· · It's been great.
 ·9· · · · ·Q· · All right.· And so prior to working at
 10· ·the federal defenders office, where did you work?
 11· · · · ·A· · Prior to that, I -- in May of 2021, I
 12· ·opened my own LLC, like a mitigation advocacy, LLC.
 13· ·That's still active.· I still have one case left over
 14· ·from like a year ago that I -- is still kind of a
 15· ·little bit active.· So the LLC is still active.
 16· · · · · · · So I -- I mostly contracted with CJA
 17· ·panel attorneys for that.· I did do some other things
 18· ·as well.· But I had that from -- I opened that in
 19· ·May 2021, if I remember correctly.· And then, you
 20· ·know, was doing that until I got the full-time job at
 21· ·the federal defenders office --
 22· · · · ·Q· · What was --
 23· · · · ·A· · -- in January 2022.
 24· · · · ·Q· · What was the name of the LLC?
 25· · · · ·A· · The Whole Story Mitigation Advocacy.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 28 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 28

 ·1· · · · ·Q· · And you operated as an LLC, but you were
 ·2· ·the sole --
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · -- owner?
 ·5· · · · · · · And so you received, like, 1099s from --
 ·6· · · · ·A· · Yes.
 ·7· · · · ·Q· · -- the state defender program or who --
 ·8· · · · ·A· · From -- it's from the federal government.
 ·9· · · · ·Q· · From the federal?
 10· · · · ·A· · Yes, because I was -- I was working with
 11· ·CJA panel attorneys, and so it was coming from the
 12· ·federal government.· And then I -- I did do some
 13· ·contract work with other full-time private mitigation
 14· ·specialists who were doing capital cases who needed
 15· ·additional help.· And I did a lot of work with a
 16· ·forensic psychiatrist who does a lot of capital cases
 17· ·who wanted help with record review and such like
 18· ·that.· And yes, I received 1099s from them.
 19· · · · ·Q· · All right.· And who is the forensic
 20· ·psychiatrist you worked with?
 21· · · · ·A· · Why am I blanking?· Shawn -- I'm blanking
 22· ·on his last name.
 23· · · · ·Q· · You would have a 1099 from him, though?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · Okay.· And I don't think we've seen those

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 29 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 29

 ·1· ·yet.· If you could provide 1099s, I don't think we've
 ·2· ·seen the tax returns either for the relevant time
 ·3· ·period.· You can follow up with that after the depo
 ·4· ·too, so we can get it from that.
 ·5· · · · ·A· · Sure.· Okay.
 ·6· · · · ·Q· · And so any other major clients you have
 ·7· ·through your LLC?
 ·8· · · · ·A· · No, that was mostly it.· The CJA work and
 ·9· ·I worked with a mitigation specialist out of Florida
 10· ·a lot.· I worked with -- her name was Lisa Sullivan.
 11· ·I worked with a psychiatrist a lot.· There was
 12· ·another mitigation specialist here in Georgia that I
 13· ·worked with some, but it was, like, very small
 14· ·amount, like, I think I did one -- I worked on one
 15· ·case briefly with her.
 16· · · · ·Q· · Did you file a return for the LLC?
 17· · · · ·A· · Uh-huh.
 18· · · · ·Q· · Okay.· And --
 19· · · · ·A· · I should say it out loud.· Yes.
 20· · · · ·Q· · Okay.· And do you recall about what your
 21· ·earnings were?
 22· · · · ·A· · Not from the LLC itself.· I know that for
 23· ·that year of 2021, I think I earned 37,000.· So prior
 24· ·in the year, I was also working at the Wing Factory,
 25· ·that restaurant.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 30 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 30

 ·1· · · · ·Q· · Right.
 ·2· · · · · · · Before we get there, what was your hourly
 ·3· ·rate that you charged, or did it vary for your LLC?
 ·4· · · · ·A· · It was 75 -- 75 an hour for the CJA work.
 ·5· ·The work I was doing with the psychiatrist and the
 ·6· ·other mitigation specialist, I think, was 35 or 40 an
 ·7· ·hour.
 ·8· · · · ·Q· · And about how many hours over that
 ·9· ·timeframe from May 2021 to getting -- you know, the
 10· ·end of 2021 do you believe you worked?· Were you
 11· ·working full time?
 12· · · · ·A· · No.· It was definitely not --
 13· · · · ·Q· · (Inaudible) hours a week?
 14· · · · ·A· · It was definitely not full time.· I would
 15· ·say on average -- I mean, it was not -- obviously, I
 16· ·made 37,000.· It was hard living.· It was probably
 17· ·ten to 15 hours a week.
 18· · · · ·Q· · Ten to 15?
 19· · · · ·A· · I would just guesstimate.
 20· · · · ·Q· · Okay.· But you did file a return for your
 21· ·LLC, The Whole Story.
 22· · · · · · · And who prepared that return for you?
 23· · · · ·A· · I did.
 24· · · · ·Q· · You did your own return?
 25· · · · ·A· · Uh-huh.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 31 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 31

 ·1· · · · ·Q· · Okay.· And the return would tell the
 ·2· ·bottom line of what you earned from that business?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · Okay.
 ·5· · · · ·A· · Yeah, because I received a W-2 from the
 ·6· ·restaurant, so you can just --
 ·7· · · · ·Q· · Correct.
 ·8· · · · ·A· · -- subtract it out.
 ·9· · · · ·Q· · Right.
 10· · · · ·A· · Yeah, see what it was.
 11· · · · ·Q· · And if you haven't already, can you
 12· ·please provide that --
 13· · · · ·A· · Sure.
 14· · · · ·Q· · -- return information --
 15· · · · ·A· · Yeah.
 16· · · · ·Q· · -- to your attorney and (inaudible)?
 17· · · · ·A· · Yeah.
 18· · · · ·Q· · Okay.· Thanks.
 19· · · · · · · And so you were working part time at the
 20· ·Wing Factory too, right?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · And that I'm assuming less than minimum
 23· ·plus tips, right?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · Okay.· And what is less than minimum now?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 32 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 32

 ·1· · · · ·A· · It's 2.13.
 ·2· · · · ·Q· · Okay.
 ·3· · · · · · · MR. BEGNAUD:· Still?
 ·4· · · · · · · THE WITNESS:· Yeah.· Georgia's been
 ·5· · · · 2.13 for, I don't know, four years.
 ·6· ·BY MS. MCGOVERN:
 ·7· · · · ·Q· · Back when I did it, but no, you get your
 ·8· ·tips on top, so, you know -- but --
 ·9· · · · ·A· · Yeah.
 10· · · · ·Q· · Yeah.· No.· I've been there, done that,
 11· ·so --
 12· · · · ·A· · I mean, it was also pandemic time, so --
 13· · · · ·Q· · Okay.
 14· · · · ·A· · You know, it's not -- it was not like
 15· ·popping restaurant times all the time, you know.
 16· · · · ·Q· · Sure.
 17· · · · · · · So why did you choose to go back there?
 18· ·I know you had an ongoing relationship with that
 19· ·restaurant.
 20· · · · ·A· · Yeah.· Yeah, yeah.· I've been -- I've
 21· ·been back and forth a few times, which, you know,
 22· ·it's the same general manager that's been there for a
 23· ·very, very long time.· And I went back there this
 24· ·latest time, you know, never expecting to ever work
 25· ·in a restaurant again, but I went back there in

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 33 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 33

 ·1· ·January of 2020, was when I had been arrested.· I was
 ·2· ·still -- what is the word, on leave -- on
 ·3· ·administrative leave --
 ·4· · · · ·Q· · Uh-huh.
 ·5· · · · ·A· · -- from the capital defenders office.                   I
 ·6· ·was -- I was very depressed.· I didn't have a whole
 ·7· ·lot to do with my time and in the future felt very
 ·8· ·scary.
 ·9· · · · · · · So I thought, Let me see if I can just
 10· ·work a couple of shifts a week at the restaurant.· It
 11· ·will keep me occupied.· It will be healthy
 12· ·emotionally, bring in a little bit of extra cash, you
 13· ·know.· Who knows what's going to happen to me, and it
 14· ·would probably be smart to get some extra money.
 15· · · · · · · So I started there again, and I -- even
 16· ·when I came back to the capital defenders office, I
 17· ·continued working there twice a week, like Sunday and
 18· ·Monday nights, I think.· It was just because at that
 19· ·point, the extra money was -- it was nice, it was
 20· ·helping me pay off some credit card debt.· And I just
 21· ·still felt like I have no idea what's happening in my
 22· ·life, and I want this security blanket.
 23· · · · · · · So I continued there, and it was very
 24· ·helpful because then when I suddenly was terminated,
 25· ·you know, I went to my manager and was able to say,

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 34 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 34

 ·1· ·This happened to me.· Can you give me more shifts?
 ·2· ·And, you know, of course, he did.
 ·3· · · · ·Q· · So many -- spent many years waiting
 ·4· ·tables including as a professional for extra money.
 ·5· ·There's a social element that --
 ·6· · · · ·A· · Yeah.
 ·7· · · · ·Q· · And this is a time during the pandemic --
 ·8· · · · ·A· · Right.
 ·9· · · · ·Q· · -- and things were very difficult.
 10· · · · ·A· · Right.
 11· · · · ·Q· · It was positive benefits to the kind of
 12· ·social aspect of being in that kind of group.
 13· · · · ·A· · Yeah, I mean, you know, you're saying
 14· ·there's enough that you're not able to think about,
 15· ·you know, the fact that you're under a criminal
 16· ·prosecution, yeah.· And it was a little bit of time
 17· ·when I did kind of be busy and in a very different
 18· ·environment and with people that were doing very
 19· ·different things and -- and it was stress-relieving
 20· ·to some extent.
 21· · · · · · · You know, it was also as time wore on --
 22· ·you know, especially once I'd been terminated, it was
 23· ·a sense of I have a master's degree, I'm a licensed
 24· ·social worker, and I'm working in a restaurant.· And
 25· ·it was -- you know, as time went on, it was very --

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 35 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 35

 ·1· ·it was depressing.
 ·2· · · · · · · And so I worked really hard to try to
 ·3· ·start the LLC business because I could not -- I
 ·4· ·just -- it was -- you know, it -- it served its
 ·5· ·purpose, the restaurant work served its purpose, and
 ·6· ·then it was, like, I can't -- I can't continue.
 ·7· · · · ·Q· · Give me some timeframes in terms of when
 ·8· ·you were on administrative leave -- and that was with
 ·9· ·pay, right?
 10· · · · ·A· · Right.
 11· · · · ·Q· · So what was the timeframe of the
 12· ·administrative leave?
 13· · · · ·A· · It started, I mean, the day I was
 14· ·arrested.
 15· · · · ·Q· · Right.
 16· · · · ·A· · Until I think I came back -- it was right
 17· ·before Valentine's Day, so I think it was like
 18· ·February 11th, maybe, something like that, of 2020.
 19· · · · ·Q· · So 2020?
 20· · · · ·A· · Uh-huh.
 21· · · · ·Q· · Okay.· And so -- and that's when you
 22· ·were -- you were terminated and there was no more
 23· ·administrative leave --
 24· · · · ·A· · No, I was not terminated yet.
 25· · · · ·Q· · Okay.· All right.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 36 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 36

 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · You were on administrative leave?
 ·3· · · · ·A· · I was on administrative leave following
 ·4· ·the arrest for three months, and then they brought me
 ·5· ·back full time.
 ·6· · · · ·Q· · Okay.
 ·7· · · · ·A· · And I was back full time until -- I was
 ·8· ·back full time at the capital defenders office until
 ·9· ·November, mid-November of 2020, when I was taken out
 10· ·of the capital defenders office -- that was following
 11· ·the indictment -- taken out of the capital defenders
 12· ·office, and I was transferred to an agency within the
 13· ·Georgia Public Defense Council called office of
 14· ·mental health advocate, a very small agency.· They
 15· ·represent people who are insanity acquittals --
 16· ·acquitees.· There's just like six people there, and
 17· ·they just kind of transferred me there, I think,
 18· ·because they didn't know where else to put me.· And
 19· ·they thought, Well, a social worker could help out
 20· ·this agency for a little bit.
 21· · · · · · · So I was put there in mid-November, and,
 22· ·you know, I was told, You'll just be here until the
 23· ·criminal case wraps up, and after that point, you can
 24· ·decide if you want to go back to the capital
 25· ·defenders office or if you want to stay here.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 37 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 37

 ·1· · · · · · · But instead, on January 11th of 2021, I
 ·2· ·was pulled into a meeting and terminated.· So that
 ·3· ·was the timeframe of that.
 ·4· · · · ·Q· · What was the explanation for that?
 ·5· · · · ·A· · I was told that there was going -- and
 ·6· ·this came from Omotayo Alli, who is the director of
 ·7· ·the Georgia Public Defense Council.· She told me that
 ·8· ·she was implementing a new policy such that anybody
 ·9· ·in the agency, in the state agency, who's under
 10· ·indictment would be terminated.· And I said, you
 11· ·know, We talked two months ago when you moved me to
 12· ·this other department, and that's not what you told
 13· ·me then.· You said that I could stay at this
 14· ·department until the criminal case wrapped up, and
 15· ·then, you know, I could choose where I wanted to go.
 16· · · · · · · And she just pretty much said, you know,
 17· ·Well, it's a new policy they came up with, and that's
 18· ·just the way it is.
 19· · · · ·Q· · Was it with a do not rehire status, or
 20· ·was there a potential --
 21· · · · · · · ·(Interruption in proceedings.)
 22· · · · · · · THE COURT REPORTER:· Let's go off the
 23· · · · record.
 24· · · · · · · THE VIDEOGRAPHER:· The time is
 25· · · · 10:51 a.m.· We're now off the record.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 38 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 38

 ·1· · · · · · · (Whereupon, the video camera was
 ·2· · · · turned off.)
 ·3· · · · · · · ·(Whereupon, a brief recess was taken.)
 ·4· · · · · · · (Whereupon, the video camera was
 ·5· · · · turned on.)
 ·6· · · · · · · THE VIDEOGRAPHER:· The time is
 ·7· · · · 10:52 a.m.· We're back on the record.
 ·8· ·BY MS. MCGOVERN:
 ·9· · · · ·Q· · Okay.· So you're saying there was a new
 10· ·policy brought on and there was going to be -- anyone
 11· ·who had an indictment was going to be terminated.
 12· · · · · · · And I was asking, was that with a do not
 13· ·rehire status, or was there potential to be rehired
 14· ·back?
 15· · · · ·A· · I did not know at the time.· That was not
 16· ·indicated on the paperwork that I received.
 17· · · · ·Q· · Okay.· Do you know now?
 18· · · · ·A· · Yes.
 19· · · · ·Q· · What is it?
 20· · · · ·A· · Once -- once the charges were eventually
 21· ·dropped, I asked if I could be rehired back, and I
 22· ·was told no.
 23· · · · ·Q· · And were you given a reason why?
 24· · · · ·A· · No.
 25· · · · ·Q· · And who did you ask?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 39 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 39

 ·1· · · · ·A· · So I talked to Jerilyn Bell, who is --
 ·2· ·was, at the time, and is the director of the capital
 ·3· ·defenders office.· She told me she had already heard
 ·4· ·that my charges had been dropped.· We had this
 ·5· ·conversation a couple of days afterwards.· She heard
 ·6· ·my charges had been dropped.· She'd already had a
 ·7· ·conversation herself with Omotayo Alli about that and
 ·8· ·Omotayo Alli kind of preemptively made the comment
 ·9· ·that I wouldn't be hired back, kind of letting
 10· ·Jerilyn Bell know to not even ask.
 11· · · · ·Q· · And do you have an understanding as to
 12· ·why that was?
 13· · · · ·A· · I have no idea.
 14· · · · ·Q· · Did you submit a formal application for
 15· ·the position again?
 16· · · · ·A· · No.
 17· · · · ·Q· · Did you have any further follow-up with
 18· ·anyone regarding why they would not rehire you?
 19· · · · ·A· · No.· No.· I mean, that was -- it was a
 20· ·very (inaudible) conversation with Jerilyn Brill.
 21· · · · ·Q· · Did you take any legal action or pursue
 22· ·the possibility of legal action in regard to your not
 23· ·getting your job back?
 24· · · · ·A· · No.
 25· · · · ·Q· · And why is that?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 40 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 40

 ·1· · · · ·A· · I didn't -- I mean, at that point, I felt
 ·2· ·incredibly betrayed, not so much by the capital
 ·3· ·defenders office but by the larger Public Defense
 ·4· ·Council headed by Omotayo Alli.· I felt like she had
 ·5· ·lied to me.· I felt she had betrayed me.· I felt it
 ·6· ·would be very unsafe for me to, you know, work under
 ·7· ·her again.· I really, really loved my job there.· And
 ·8· ·it was -- and it still is heartbreaking that I was
 ·9· ·terminated.· And I would love to do capital work
 10· ·again, and it may be something that I have luck at
 11· ·revisiting when she's no longer the director.
 12· · · · ·Q· · Okay.· And specifically other than you
 13· ·mentioned the policy about -- which was a change of
 14· ·position, was there anything else about working with
 15· ·her that created concern and a feeling of not being
 16· ·safe?
 17· · · · ·A· · Well, she was very new.· She was -- she
 18· ·was quite new.· She was appointed by Brian Kemp in
 19· ·the summer of 2020.· So I did not have any
 20· ·interactions with her until I was indicted, and then
 21· ·she had to be told that an employee, you know, in the
 22· ·agency was under indictment.· And she -- she had a
 23· ·few conversations with me, like the conversation she
 24· ·had when she told me she was going to transfer me to
 25· ·the office of the mental health advocate.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 41 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 41

 ·1· · · · · · · And it just -- I don't know how to
 ·2· ·describe it exactly, but she -- I just felt like I
 ·3· ·couldn't trust her, like she would tell me things
 ·4· ·like we know you didn't do this because they had seen
 ·5· ·the discovery.· The legal counsel for GPDC had seen
 ·6· ·the discovery, and it's obvious that there's not, you
 ·7· ·know, anything here.· You know, she would look at me,
 ·8· ·and she would -- you know, we know that you didn't do
 ·9· ·this, and we're going to protect you.· And it's very
 10· ·important to me to protect my agency's paycheck.· But
 11· ·at the same time, she would tell me things like --
 12· ·she -- she told me essentially that if I told anybody
 13· ·outside of that room about that conversation that she
 14· ·was having with me that my job would be in jeopardy.
 15· ·She -- it was just a very, like, secretive air that
 16· ·made me very uncomfortable.
 17· · · · · · · She, herself, has a history as a public
 18· ·defender.· She worked as a public defender for many
 19· ·years, but she made comments about clients to me that
 20· ·I thought were very inappropriate coming from someone
 21· ·who worked in public defense.· And it -- it made me
 22· ·question her -- her -- what is the word I'm looking
 23· ·for?· Her actual, like, interest and motivation in
 24· ·helping indigent clients, like she -- she would say
 25· ·inappropriate things about them.· And it -- I -- I

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 42 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 42

 ·1· ·just didn't get a really good feeling from her.
 ·2· · · · · · · And so then, when two months later,
 ·3· ·she -- you know, she terminated me all of a sudden,
 ·4· ·you know, with this concept of like, oh, this is just
 ·5· ·a brand-new policy, I've just come up with this
 ·6· ·despite what I told you two months ago.· You know, I
 ·7· ·just got the sense that she was not invested in
 ·8· ·indigent defense.· I got the sense that she wasn't
 ·9· ·really invested in her employees.· You know, it's an
 10· ·appointed -- governor-appointed position.· And I got
 11· ·the sense that it was -- she made decision in that --
 12· ·in her position as director mostly based on, you
 13· ·know, maintaining good status with the governor
 14· ·potentially.
 15· · · · ·Q· · Is it fair to say that even if you hadn't
 16· ·been terminated based on your concerns about working
 17· ·with her, her honesty with you, her comments about
 18· ·the people in the program, that you may have chosen
 19· ·to move on regardless?
 20· · · · ·A· · No, not at all, because I had no
 21· ·interaction with her prior to that.· I just wouldn't
 22· ·have.· She's the director of this whole state agency.
 23· ·You know, I was a -- I was an employee in one
 24· ·department within that agency.· So throughout my
 25· ·entire employment, I interacted with the director of

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 43 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 43

 ·1· ·the capital defenders office, who I'd always had, you
 ·2· ·know, great relations with.· Omotayo Alli had -- you
 ·3· ·know, the director, not just her but prior directors
 ·4· ·had -- you know, they weren't involved in, like, the
 ·5· ·day-to-day management of the individual agencies.                  I
 ·6· ·never would have known her, I never would have had,
 ·7· ·basically, conversations with her had I not been
 ·8· ·under indictment.
 ·9· · · · ·Q· · Okay.· But is it fair to say you weren't
 10· ·happy with the direction she was going as the leader
 11· ·of the agency?
 12· · · · ·A· · Well, sure, but that's -- that's
 13· ·government work.· I mean, that's -- you know, I
 14· ·worked in child welfare before.· I wasn't happy, you
 15· ·know, with the director of that agency either.· But
 16· ·that's -- that's state government work.· You kind of
 17· ·just -- you know that they're temporary.· You know
 18· ·that if you care about what you're doing, you'll be
 19· ·there longer than they are, hopefully, if they're all
 20· ·government -- you know, governor appointed.
 21· · · · ·Q· · How has your experience been with the
 22· ·federal defender program since you've been there
 23· ·since January?
 24· · · · ·A· · It's been great.
 25· · · · ·Q· · Issues politically with the people of any

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 44 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 44

 ·1· ·of the same kind of concerns you just expressed?
 ·2· · · · ·A· · No.· So the federal defender program here
 ·3· ·in Atlanta is -- this was a little confusing for me
 ·4· ·to understand when I first started working there.
 ·5· ·Most federal defender programs are government
 ·6· ·agencies.· They're agencies within the federal
 ·7· ·government.· There are a handful throughout the
 ·8· ·country that are actually nonprofit.· And the one
 ·9· ·here for the Northern District of Georgia is actually
 10· ·nonprofit.· So it's grant funded from the federal
 11· ·government, but it has a board of directors, and it
 12· ·operates very independently.· And I really like that.
 13· ·After what happened with me with the Public Defense
 14· ·Council, you know, the idea of working for another
 15· ·government agency just kind of scared me a little bit
 16· ·because, again, you have a director, potentially, who
 17· ·is not really invested in the mission of the agency
 18· ·that they are -- you know, that they're heading.
 19· · · · · · · So I felt a lot more comfortable working
 20· ·for an agency that was actually a nonprofit, has good
 21· ·funding.· You know, we're not worried about funding
 22· ·issues like other nonprofits may be, but it has a
 23· ·board of directors.· There's not -- it's not like a
 24· ·centralized power structure, so I like that.
 25· · · · ·Q· · It would be fair to say you enjoy your

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 45 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                  Page 45

 ·1· ·current job?
 ·2· · · · ·A· · Yes.
 ·3· · · · ·Q· · You intend to stay there for the future?
 ·4· · · · ·A· · You know, foreseeable future?
 ·5· · · · ·Q· · Yes.
 ·6· · · · ·A· · Yeah.
 ·7· · · · ·Q· · Okay.· And walking back because we kind
 ·8· ·of jumped into the capital defender, tell me about
 ·9· ·when you started -- so I've got a proper timeline --
 10· ·when you started employment with the state capital
 11· ·defender program.
 12· · · · ·A· · I started there in August of 2017.                I
 13· ·think it was August 2nd.
 14· · · · ·Q· · And remind me, was that right after you
 15· ·got your graduate degree?
 16· · · · ·A· · Yes.· I graduated in May of 2017.
 17· · · · ·Q· · So it was your first job in your
 18· ·professional capacity as a social worker?
 19· · · · ·A· · As a social worker.
 20· · · · ·Q· · Okay.· All right.· Because I'm not going
 21· ·to go back there.· (Inaudible) before.· So -- and
 22· ·we've talked about the time period through when you
 23· ·were terminated there.
 24· · · · · · · And then what was your specific role and
 25· ·title at the state capital defender program?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 46 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 46

 ·1· · · · ·A· · I think on my paycheck, it says criminal
 ·2· ·investigator, but in the office, mitigation
 ·3· ·specialist/mitigation investigator.· It's used
 ·4· ·interchangeably.
 ·5· · · · ·Q· · And for laypeople, if you can walk
 ·6· ·through what a mitigation specialist does.
 ·7· · · · ·A· · Uh-huh.
 ·8· · · · · · · So for capital cases, a mitigation
 ·9· ·specialist investigates and comes up with themes and
 10· ·theories for penalty phase -- for penalty phase of a
 11· ·capital case because a capital case is kind of in two
 12· ·different trials, so to speak.· You have the
 13· ·guilt-innocence phase, and then you have a completely
 14· ·separate trial, so to speak, for penalty phase in
 15· ·which the jury is deciding whether the person should
 16· ·have life or the death penalty.
 17· · · · · · · And so the mitigation specialist is
 18· ·someone who is trained, has to be -- has to be able
 19· ·to identify, like, mental health issues and has to be
 20· ·able to identify biopsychosocial issues going on with
 21· ·the client.
 22· · · · · · · So on a day to day, I would often go out
 23· ·to a correctional facility to visit my clients.               I
 24· ·would spend a lot of time with their families, their
 25· ·neighbors, their teachers, their medical providers

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 47 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 47

 ·1· ·interviewing them.· I would collect records.· I would
 ·2· ·send out records requests myself and then get the
 ·3· ·records back, and I would digest everything into the
 ·4· ·case map.
 ·5· · · · · · · And I would identify potential experts
 ·6· ·that we felt were needed for the case.· You know, if
 ·7· ·it was a client that I felt was intellectually
 ·8· ·disabled, then we would look at hiring an expert that
 ·9· ·could do IQ testing, for example.· There was a client
 10· ·that we thought maybe had a brain injury.· We would
 11· ·like, at hiring, a neuropsych to evaluate that.· That
 12· ·was about the day to day.
 13· · · · ·Q· · Okay.· Were there any guidelines or
 14· ·policies regarding like what should be done and
 15· ·shouldn't be done in terms of gathering that
 16· ·information in your role?
 17· · · · ·A· · There is, like, the uniform appeal which
 18· ·kind of governs capital cases.· And there are --
 19· ·like, there are details for what a mitigation
 20· ·specialist is supposed to do.· And I think that --
 21· ·I'm trying to think how to say this.· Within my
 22· ·agency, there is a mitigation department.· So there's
 23· ·a director of mitigation.· She had been working there
 24· ·for, you know, 12 years or something, I think, at
 25· ·that time.· And there were, within the agency, I

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 48 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 48

 ·1· ·don't know, 11 or 12 mitigation specialists on --
 ·2· ·that initially kind of reported to her.· She would
 ·3· ·kind of supervise their work.· And there was these,
 ·4· ·you know, built out best practices based on, you
 ·5· ·know, just the agency lifetime and just knowing how
 ·6· ·cases went, what cases were successful, what cases
 ·7· ·weren't successful, lessons learned from past
 ·8· ·experiences.
 ·9· · · · ·Q· · Are those documented best practices?
 10· · · · ·A· · Yeah.· They have documentation.· There
 11· ·are -- the agency has, you know, how to collect
 12· ·records, you know, how to -- kind of a starter guide
 13· ·when you're training and you're new of how to conduct
 14· ·mitigation interviews, how to, you know, make sure
 15· ·that you're hitting these kind of things.· You know,
 16· ·as like with any job, once you're -- once you're
 17· ·there and you -- you learn the basics, you know, it's
 18· ·a job that is significantly less about checking the
 19· ·boxes and more about having a really strong
 20· ·understanding of the case, the things in the case and
 21· ·figuring out how to get the information that you
 22· ·need.
 23· · · · ·Q· · Who was the head of the mitigation
 24· ·department?
 25· · · · ·A· · Her name is Anupama, A-N-U-P-A-M-A,

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 49 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 49

 ·1· ·Vishwamitra, V-I-S-H-W-A-M-I-T-R-A, I believe.
 ·2· · · · ·Q· · And were you given, like, a handbook of
 ·3· ·the best practices or something when you first
 ·4· ·started?
 ·5· · · · ·A· · Uh-huh, yeah.
 ·6· · · · ·Q· · You still have that in your possession?
 ·7· · · · ·A· · No, I don't think so.
 ·8· · · · ·Q· · Okay.· And did you receive training
 ·9· ·(inaudible)?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · Did you get training?
 12· · · · ·A· · Uh-huh.
 13· · · · ·Q· · What did that entail?
 14· · · · ·A· · So -- so Anu -- she goes by Anu.· She --
 15· ·from what I remember, you know, the first, you know,
 16· ·many weeks, she would bring me along with interviews,
 17· ·she would bring me along with client visits.· It was
 18· ·a lot of job shadowing.· It was a lot of -- like,
 19· ·they got records in, and I would be inputting them
 20· ·into case map.· You know, she would go through and
 21· ·double-check, and you would talk about, you know,
 22· ·what was -- you know, what I was doing well, what I
 23· ·wasn't doing well.
 24· · · · · · · Throughout my time there, like I said, I
 25· ·started doing clinical supervision hours with her.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 50 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 50

 ·1· ·And so a lot of that kind of became, you know, we
 ·2· ·would have set times where we would talk about cases.
 ·3· ·I would talk about kind of what I was thinking about
 ·4· ·cases, brainstorming sessions, ideas about, you know,
 ·5· ·how to develop a case more.· That was always a
 ·6· ·regular thing there both with her and with the team
 ·7· ·in general because, you know, it's a
 ·8· ·multidisciplinary team.
 ·9· · · · ·Q· · So it was interactive and had on-the-job
 10· ·training as well as your supervision.
 11· · · · · · · But were there ever any, like,
 12· ·classroom-type settings or testing on various aspects
 13· ·of doing your job?
 14· · · · ·A· · I mean, there were conferences.· Like, I
 15· ·went to, you know, different capital conferences.                  I
 16· ·think that they did -- I think that that agency did a
 17· ·good job about training in that -- in that way.               I
 18· ·remember they hosted one time a training on fetal
 19· ·alcohol syndrome.
 20· · · · · · · We -- there's a national capital defense
 21· ·community that is fairly tight.· People are connected
 22· ·via different LISTSERVs, and there are some
 23· ·agencies -- there's one in Florida particularly that
 24· ·does -- they used to do weekly, I think now it's
 25· ·maybe monthly, Zoom trainings on a variety of topics

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 51 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 51

 ·1· ·for capital mitigation work.· So it could be maybe
 ·2· ·best practices for working with a client who's a
 ·3· ·veteran, you know, how to read Department of Defense
 ·4· ·veteran records.
 ·5· · · · · · · It could be a class training on, you
 ·6· ·know, intellectual disability, is a huge thing in the
 ·7· ·capital world, because it -- you have a client who is
 ·8· ·intellectually disabled, and they're not eligible for
 ·9· ·the death penalty, so significant training on how to
 10· ·identify -- identify symptoms of that in a client and
 11· ·then also how to interview family members for what's
 12· ·called "adaptive functioning" in your client, how to
 13· ·identify the experts, you know.
 14· · · · · · · So there's -- there is a lot of training
 15· ·I felt both internal and a lot of training kind of
 16· ·external to the agency that we were encouraged to
 17· ·participate in.
 18· · · · ·Q· · Was there any training on dealing with
 19· ·security risks and security issues within the prison
 20· ·context when dealing with --
 21· · · · ·A· · Uh-huh.
 22· · · · ·Q· · -- the accused?
 23· · · · ·A· · Yeah.· I mean, we would have -- and we
 24· ·held a monthly mitigation meeting.· It would be an
 25· ·all-day meeting.· It was a time to kind of brainstorm

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 52 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 52

 ·1· ·cases with all the mitigation specialists together.
 ·2· ·So the ones in different parts of the state would
 ·3· ·travel into Atlanta.· We would brainstorm cases.· We
 ·4· ·would talk about concerns that -- you know, issues we
 ·5· ·were having with cases.· And she would usually have a
 ·6· ·guest speaker that would kind of train us on
 ·7· ·different topics.
 ·8· · · · · · · So, for example, I remember someone
 ·9· ·involved in law enforcement, I think, that came in
 10· ·one time to talk to us about different kinds of
 11· ·illicit drugs.· And we had someone come in to talk to
 12· ·us about kind of assessing different sexuality in
 13· ·clients because a lot of male clients, especially,
 14· ·are uncomfortable, you know, talking about their
 15· ·sexuality.· And there was a sex therapist and LGBT
 16· ·sex therapist.· And he talked to us about, you know,
 17· ·kind of how to -- how to interview a client who may
 18· ·be closeted, for example.
 19· · · · · · · So she would have different trainings
 20· ·like this on a monthly basis at our meetings.· And we
 21· ·would often talk about safety issues both in the
 22· ·field.· You know, you're going on -- knocking on
 23· ·random people's doors who don't know you.· Safety
 24· ·issues with that was a big topic.
 25· · · · · · · In terms of correctional facilities, you

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 53 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 53

 ·1· ·know, I don't -- I don't remember a whole lot of
 ·2· ·discussion about security issues in correctional
 ·3· ·facilities because it wasn't -- you know, they had
 ·4· ·correctional officers there who were dealing with
 ·5· ·that.· That wasn't something we had to be concerned
 ·6· ·with ourselves.· It was when you had to be out in the
 ·7· ·field, you know, walking into someone's home.
 ·8· · · · · · · We had a few -- there were a few people
 ·9· ·who had clients in the same facility, you know, and
 10· ·we might kind of talk about, you know, issues with
 11· ·scheduling visits or, you know, I'm going to go see
 12· ·my guy on this day, so don't go see your guy on that
 13· ·day because they can't both accommodate us kind of
 14· ·deal.· It would be discussions like that, mostly.
 15· · · · ·Q· · So there was no training for you in terms
 16· ·of safety in a personal risk going into security
 17· ·facilities especially as a woman?
 18· · · · ·A· · I don't -- I don't think any of us felt
 19· ·like there was much of a risk.· So there wasn't -- I
 20· ·mean, I don't know what that discussion would have
 21· ·looked like.
 22· · · · ·Q· · There was no guidance given on how to
 23· ·dress, how to interact when dealing with male inmates
 24· ·in a closed door high max prison environment?
 25· · · · ·A· · Well, there is a lot of -- there was a

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 54 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 54

 ·1· ·lot of training on how to deal with interviewing
 ·2· ·different kinds of clients.· There is a lot of
 ·3· ·training on how to -- you know, everybody's different
 ·4· ·and people have different ways that they're
 ·5· ·comfortable interacting with other people.· And we
 ·6· ·had to be able to build relationships with people and
 ·7· ·get information out of them.
 ·8· · · · · · · And so there was a lot of training on how
 ·9· ·to do that with different kinds of individuals.· You
 10· ·know, someone who is, like, profoundly impaired, you
 11· ·know, you need to slow your -- you know, maybe talk a
 12· ·little bit slower.· You need to be mindful about the
 13· ·sentence structure that you're using.· You need to
 14· ·check in with them regularly to make sure that they
 15· ·can understand what you're saying, you know, that
 16· ·you're not using big run -- on sentences.
 17· · · · · · · So there's a lot of training for that.
 18· ·How to assess your client's cognitive abilities and
 19· ·how to meet them where they're at in order to be able
 20· ·to get the information out of them that you
 21· ·ultimately need.· That's -- that's what most of it
 22· ·was.
 23· · · · ·Q· · Okay.· And what I'm getting at is kind of
 24· ·a little different.· For example, when I started
 25· ·going into prisons and dealing with inmates on

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 55 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 55

 ·1· ·one-on-ones, as a young woman, I was very
 ·2· ·specifically instructed on cut the makeup, nothing
 ·3· ·low cut, close-toed shoes.
 ·4· · · · ·A· · Yeah.
 ·5· · · · ·Q· · Pants, if preferable.· To be on guard
 ·6· ·especially men that are not seeing women on a
 ·7· ·customary basis.
 ·8· · · · · · · So did you not receive any kind of
 ·9· ·training along those lines?
 10· · · · ·A· · I mean, there would be discussions
 11· ·about -- I think it's common sense to never wear
 12· ·open-toed shoes in a correctional facility.· You
 13· ·don't know what's on the floor.· It's gross.· And
 14· ·prior to this position, I had interned with the
 15· ·Southern Center for Human Rights for a year, and I
 16· ·interned with the Fulton County public defense office
 17· ·for a year.· So with both of those positions, I was
 18· ·going into correctional facilities.· And that was
 19· ·probably when I received my first kind of, you know,
 20· ·always wear close-toed shoes because you never know
 21· ·when someone's throwing something on the floor kind
 22· ·of deal.
 23· · · · · · · With the capital defenders office, we
 24· ·all -- attorneys, investigators, mitigation
 25· ·specialists, we all dressed pretty casually.· We had

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 56 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 56

 ·1· ·a lot of discussion about things like wanting to make
 ·2· ·sure that there was not, like, a power dynamic
 ·3· ·barrier with a client.· So, you know, I would -- I
 ·4· ·would often -- especially when going into a
 ·5· ·correctional facility or if I knew I was going to be
 ·6· ·hitting up someone's trailer in the backwoods of
 ·7· ·Georgia, I would be wearing jeans, sneakers and a
 ·8· ·top.· You know, I did not want to look super
 ·9· ·professional.· I did not want to look like someone
 10· ·that they needed to be scared of.· I didn't want to
 11· ·look like there was going to be -- you know, I was
 12· ·going to be sitting there and be like, Tell me, blah,
 13· ·blah, blah, blah, blah.
 14· · · · · · · So I tried to create, like, a casual
 15· ·environment.· And we did that with all of our
 16· ·clients, I think.· The focus was, you know, how to
 17· ·present in a way that is engaging, casual engaging,
 18· ·that reduces barriers to interaction with whatever
 19· ·client you're dealing with.· How to -- how to be able
 20· ·to talk with clients so that they feel comfortable
 21· ·with you, that they feel like there is, you know,
 22· ·just a positive interaction so that they're going to
 23· ·tell you the information that you need to get.
 24· · · · ·Q· · And you weren't advised about any self
 25· ·protective measures for yourself?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 57 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 57

 ·1· · · · ·A· · I mean, I'm trying to think about the
 ·2· ·facilities that I went to when I worked there.· Most
 ·3· ·of them were, like, small town county jails.· You
 ·4· ·know, and security measures there vary pretty widely.
 ·5· ·You know, most of the facilities I went to would
 ·6· ·have, like, an officer right outside the door.· You
 ·7· ·know, I would be in my room with my client.· Usually,
 ·8· ·there would be, like, you know, a door with, like,
 ·9· ·the top half was, like, a window.· And there would be
 10· ·an officer kind of sitting outside the whole time.
 11· ·That's how it was at (inaudible) where Ricky was.
 12· · · · · · · So, you know, there's always an officer
 13· ·there who I can indicate, I'm sorry, you know, if
 14· ·something's going on.· You know, I always felt safe,
 15· ·and I also felt like all my clients knew I was there
 16· ·to help them.· They all knew that we -- you know, the
 17· ·defense team at large, we were there to help.· And I
 18· ·never -- I never felt unsafe with any of my clients.
 19· ·I never have.· I never felt unsafe with any of them.
 20· · · · ·Q· · Now, you talk about your prior experience
 21· ·in prisons that were in a small town or obviously not
 22· ·capital offense scenarios.
 23· · · · · · · Are you aware that Jackson SMU is the
 24· ·only high max --
 25· · · · ·A· · Uh-huh.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 58 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 58

 ·1· · · · ·Q· · -- level --
 ·2· · · · ·A· · Yeah.
 ·3· · · · ·Q· · -- prison in the state, right?
 ·4· · · · ·A· · Yes.
 ·5· · · · ·Q· · Was that -- when you visited Ricky
 ·6· ·Dubose, was that the first time you'd been in a high
 ·7· ·max in Georgia before?
 ·8· · · · ·A· · For work purposes, I took a -- I took a
 ·9· ·class as part of my criminal justice studies, you
 10· ·know, back in undergrad that was, like, exploring the
 11· ·prison world.· And it was, like, a summer class.· And
 12· ·for the whole summer, we went and toured different
 13· ·facilities.· I believe we went to something, like, 15
 14· ·correctional facilities.
 15· · · · · · · So in that class, I remember going to
 16· ·Georgia Diagnostic, which is the main campus there.
 17· · · · ·Q· · Right.
 18· · · · ·A· · SMU is like a separate building.
 19· · · · ·Q· · It is.
 20· · · · ·A· · Yeah.
 21· · · · · · · So I had not been to SMU before.· I had
 22· ·been to Georgia Diagnostic.· I toured death row.· You
 23· ·know, I had been to a lot of facilities in the state
 24· ·just because of that class.
 25· · · · ·Q· · But not to the high max SMU --

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 59 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 59

 ·1· · · · ·A· · Yeah.· Correct.
 ·2· · · · ·Q· · And admittedly, that has higher risk
 ·3· ·inmates with more serious crimes?
 ·4· · · · ·A· · Yeah, I think so.
 ·5· · · · · · · MR. BEGNAUD:· Object to the form.
 ·6· ·BY MS. MCGOVERN:
 ·7· · · · ·Q· · People in high max generally are put
 ·8· ·there for a reason.
 ·9· · · · · · · Is that your understanding?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · And you said you had an officer outside.
 12· ·That was outside a door when you were --
 13· · · · ·A· · Uh-huh.
 14· · · · ·Q· · -- meeting with Ricky, that there was an
 15· ·officer posted outside the door?
 16· · · · ·A· · Yes.
 17· · · · ·Q· · And were you locked in?
 18· · · · ·A· · Yeah.· I'm pretty sure they locked us in.
 19· · · · ·Q· · So you're in a room with Ricky alone, and
 20· ·the officer is outside that needs a key to access,
 21· ·correct?
 22· · · · ·A· · To be honest, I don't remember --
 23· · · · ·Q· · That's okay.
 24· · · · ·A· · -- perfectly.· I think so.
 25· · · · ·Q· · Okay.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 60 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 60

 ·1· · · · ·A· · But I don't remember --
 ·2· · · · ·Q· · Sure.
 ·3· · · · ·A· · -- perfectly.
 ·4· · · · ·Q· · And have you ever, in your coursework or
 ·5· ·in your professional capacity, those studies of
 ·6· ·injuries and harm to correctional officers, other
 ·7· ·inmates and visitors done by inmates in a
 ·8· ·correctional setting?
 ·9· · · · ·A· · In my studies, no.
 10· · · · ·Q· · In any capacity, have you become aware of
 11· ·inmate violence against others while in a
 12· ·correctional setting?
 13· · · · ·A· · For sure.· For sure.· I know that
 14· ·correctional settings are not safe places for
 15· ·inmates, yes, and for officers.· You know, I -- yeah,
 16· ·I'm obviously -- I'm obviously aware of that.
 17· · · · ·Q· · And for women going into the prison,
 18· ·correct?
 19· · · · ·A· · I don't know that.· I don't know any -- I
 20· ·don't -- I don't know anything about -- I've never
 21· ·read any news, I've never seen data about women
 22· ·visitors or women defense teams particularly having
 23· ·security issues or safety issues.· I've never read
 24· ·anything like that.
 25· · · · ·Q· · Did you have any -- any inmates that you

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 61 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 61

 ·1· ·dealt with in your career who have made inappropriate
 ·2· ·comments, been flirtatious or anything along those
 ·3· ·lines, in the course of your discussions?
 ·4· · · · ·A· · Yes.· Yeah, I think that most women
 ·5· ·working in the criminal justice field absolutely have
 ·6· ·gotten that from clients.· I think a lot of -- a lot
 ·7· ·of clients have not lived lives where they have
 ·8· ·learned the most appropriate social behaviors.· And
 ·9· ·yeah, a lot of times have not lived lives where they
 10· ·have learned appropriate social behaviors.
 11· · · · · · · And they have made inappropriate
 12· ·comments.· People made inappropriate comments.· They
 13· ·still do.· I think that that's probably always going
 14· ·to happen.· You know, we had -- we had training.
 15· ·This is one of the things that we talked a lot about
 16· ·in those mitigation meetings, was how to -- how to
 17· ·have conversations with clients when that happens,
 18· ·you know, which was always to -- people do that
 19· ·because they haven't been taught correctly, you know,
 20· ·how to interact with people in a professional manner.
 21· ·Sometimes some of our clients probably had never
 22· ·really interacted with people in a professional
 23· ·manner before.
 24· · · · · · · And so we were trained to really explain
 25· ·to them that's inappropriate.· I am a member of your

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 62 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 62

 ·1· ·defense team.· It's not appropriate to have language
 ·2· ·like that.· You know, these are the boundaries.· I'm
 ·3· ·here to help you.· I want to get to know a lot about
 ·4· ·you, but this is a hard boundary.· You know, and
 ·5· ·that's a conversation that I have to have with
 ·6· ·clients, and I expect I will always have that
 ·7· ·conversation with clients because, you know, that's
 ·8· ·just -- that's a lot of people in the criminal
 ·9· ·justice system.· They -- they can -- they can make
 10· ·inappropriate comment.
 11· · · · ·Q· · Some of the people in the criminal
 12· ·justice system actually have crimes against women
 13· ·which put them there as well, correct?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · So it may be more than just not knowing
 16· ·boundaries?
 17· · · · ·A· · Well, I think when they are -- I mean, I
 18· ·would call that potentially not knowing boundaries.
 19· ·But, you know, when they're interacting that way with
 20· ·a professional person that is part of their defense
 21· ·team, I mean, I think it's very much not knowing
 22· ·boundaries.
 23· · · · ·Q· · Even if you're dealing hypothetically
 24· ·with a rapist, you're saying they don't -- just don't
 25· ·understand boundaries?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 63 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 63

 ·1· · · · ·A· · I mean, I've never -- I've never had --
 ·2· ·I've been in that situation.
 ·3· · · · ·Q· · Okay.
 ·4· · · · ·A· · So I don't know.
 ·5· · · · ·Q· · Okay.
 ·6· · · · ·A· · I've never had -- I've never had a client
 ·7· ·who has been charged with -- I've been defending a
 ·8· ·client who is charged with rape.
 ·9· · · · ·Q· · Okay.
 10· · · · · · · MR. BEGNAUD:· And mind if we take a
 11· · · · break at some point?
 12· · · · · · · MS. MCGOVERN:· Yeah, let me just
 13· · · · finish up --
 14· · · · · · · MR. BEGNAUD:· Yeah.
 15· · · · · · · MS. MCGOVERN:· -- just a little bit.
 16· · · · I'm -- I need lunch too.
 17· ·BY MS. MCGOVERN:
 18· · · · ·Q· · So -- and what was -- what was the worst
 19· ·comment that's been made to you in the context of
 20· ·doing your work that was inappropriate?
 21· · · · ·A· · Oh, gosh.· I -- oh, okay.· I thought this
 22· ·was a funny story.· I don't know if you-all will
 23· ·think this is a funny story.· This was a capital
 24· ·client of mine -- I want to be careful to be very
 25· ·vague because of I don't want to identify -- who had

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 64 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 64

 ·1· ·autism, and I think that that had a lot to do with
 ·2· ·the way he communicated.· I think he was very -- felt
 ·3· ·very defensive about his social life because I was
 ·4· ·trying to really explore his -- what I believe to be
 ·5· ·his autism and was kind of really asking him, you
 ·6· ·know, lots of questions about his social life and
 ·7· ·interactions with other people and done -- you know,
 ·8· ·done a lot of talking to him about friendships,
 ·9· ·dating history, this and that.
 10· · · · · · · And at one meeting, he said something to
 11· ·me like -- he said something to me like, You remember
 12· ·before, you were asking me why so-and-so is -- like,
 13· ·this girl that he had taken to the high school prom
 14· ·who was, like, his girlfriend in high school.· He was
 15· ·like, Remember you were asking me why we broke up,
 16· ·and I said we just kind of stopped talking.
 17· · · · · · · Well, the real reason why we broke up is
 18· ·because that night after prom, we were trying to have
 19· ·sex for the first time, and I was -- I couldn't get
 20· ·it in.· And she was really embarrassed.· And then she
 21· ·never wanted to talk to me again.
 22· · · · · · · And when he told me this story at the
 23· ·time, I was like, Okay, what is he trying to say with
 24· ·this story?· I think he feels embarrassed about
 25· ·his -- everything I've been uncovering about his

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 65 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 65

 ·1· ·social life.· He wants me to think that he's
 ·2· ·sizeable.· He is wanting to turn this story about
 ·3· ·this girl -- you know, things aren't going well with
 ·4· ·this girl kind of around in a way that makes him kind
 ·5· ·of look a little more superior than it had in the
 ·6· ·past.· And at the time, I -- I was just like, Oh,
 ·7· ·okay, and moved on.
 ·8· · · · · · · The story came out of nowhere.· We'd been
 ·9· ·talking about some other topics.· He brought this
 10· ·story up, and I moved back to that original topic.
 11· ·And then I went back to the office.· And this was
 12· ·something that we discussed at one of the mitigation
 13· ·meetings, was just what happened here, you know, how
 14· ·to kind of deal with that, yeah.
 15· · · · ·Q· · Oh, I guess I didn't see how that was a
 16· ·funny story.
 17· · · · ·A· · I think it was just -- I think, for me,
 18· ·at the time, it was -- it was -- I think because it
 19· ·came out of nowhere.· Like, it was we were talking
 20· ·about something else, and he was like, Oh, oh, I got
 21· ·it.· There's something I really wanted to tell you.
 22· ·I really wanted to tell you this.
 23· · · · · · · I'm like, Okay, what?
 24· · · · · · · And then he tells me this story.
 25· · · · · · · And I'm like, That doesn't have anything

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 66 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 66

 ·1· ·to do with what we were talking about.· Like, why is
 ·2· ·this what you're kind of fixated on right now in your
 ·3· ·head?· Yeah.
 ·4· · · · ·Q· · Okay.· But in terms of any flirtation
 ·5· ·with you, inappropriate comments with you, those
 ·6· ·occurred as well during the course of your work?
 ·7· · · · ·A· · Honestly, I think I have gotten actually
 ·8· ·way more flirtatious comments from family members
 ·9· ·than I have from clients.
 10· · · · ·Q· · But have you received them from the
 11· ·clients?
 12· · · · ·A· · Yeah, probably.· Yeah, probably have.
 13· · · · ·Q· · Did you receive them from Dubose?
 14· · · · ·A· · No.· No.
 15· · · · · · · MS. MCGOVERN:· Why don't we go ahead
 16· · · · and take a break right now and then jump
 17· · · · back into --
 18· · · · · · · MR. BEGNAUD:· Sounds good.
 19· · · · · · · THE VIDEOGRAPHER:· The time is
 20· · · · 11:28 a.m.· We're now off the record.
 21· · · · · · · (Whereupon, the video camera was
 22· · · · turned off.)
 23· · · · · · · (Whereupon, a brief recess was taken.)
 24· · · · · · · (Whereupon, the video camera was
 25· · · · turned on.)

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 67 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 67

 ·1· · · · · · · THE VIDEOGRAPHER:· The time is
 ·2· · · · 11:43 a.m.· We're back on the record.
 ·3· ·BY MS. MCGOVERN:
 ·4· · · · ·Q· · We talked a little bit about your
 ·5· ·experience with the Jackson SMP [sic].
 ·6· · · · · · · And so as my understanding, Ricky Dubose
 ·7· ·was the first time you were actually in SMP?
 ·8· · · · ·A· · SMU.
 ·9· · · · ·Q· · Why did I say that?· I'm sorry, I'm
 10· ·getting tired already.
 11· · · · · · · SMU at Jackson, correct?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · Okay.· And were you provided with any
 14· ·information going in either through the facility or
 15· ·from your workplace about entering the high max
 16· ·prison to go visit Dubose?
 17· · · · ·A· · The -- I mean, the first several times I
 18· ·saw him, I went with other members of the team who
 19· ·had already been seeing him for a while.· So, you
 20· ·know, they showed me what to do, this is where you
 21· ·go, this is where you park, this is how you go
 22· ·through security.· You know, it was -- it was a few
 23· ·visits before I was going by myself.· And that was
 24· ·true of any case I had.· You know, for any new
 25· ·client, new facility, I pretty much always went at

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 68 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 68

 ·1· ·least the first time, you know, if not a few times,
 ·2· ·with another member of the team.
 ·3· · · · ·Q· · And when you went through, you just
 ·4· ·checked in and signed in and went through a scanner?
 ·5· · · · ·A· · So at SMU, from my memory -- it's been a
 ·6· ·few years since I've been there, but from my memory,
 ·7· ·you know, you come in through the gate, and then
 ·8· ·there's, like, a standalone security office that you
 ·9· ·go through.· You go through a metal detector, all of
 10· ·your -- you know, your things, your case notebook.                 I
 11· ·would only just bring in my case notebook and a pen.
 12· ·And, you know, I wouldn't bring in, like, my whole
 13· ·file or anything like that.· And I don't remember
 14· ·ever having needed to bring in, like, a computer.
 15· · · · · · · So it was always just my case notebook.
 16· ·They would flip through that.· They would -- they
 17· ·would look at -- you know, just kind of flip through
 18· ·to make sure nothing was in there.· You would have to
 19· ·kind of, like, turn your pockets inside out to show
 20· ·that there's nothing in your pocket.· If we were
 21· ·wearing pants, which, you know, I always wore pants,
 22· ·you'd have to kind of, like, roll them up, pull them
 23· ·up and show -- you know, you'd have to take your
 24· ·shoes off too to go through the metal detector.· But
 25· ·roll your pants up, show that there's nothing, I

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 69 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 69

 ·1· ·don't know, stuck in your pant leg or something,
 ·2· ·stuck in your socks.· You know, they would pat you
 ·3· ·down if needed.· And then you would exit the security
 ·4· ·box when you were cleared, and you would go on
 ·5· ·through to the main facility.
 ·6· · · · ·Q· · You go through the sally port and then
 ·7· ·go --
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · -- onto the facility?· Okay.
 10· · · · · · · And you were aware that Dubose had been
 11· ·obviously a prior flight risk based on --
 12· · · · ·A· · Yes.
 13· · · · ·Q· · -- his prior conviction, correct?· And I
 14· ·just need a verbal -- a clear verbal yes for the --
 15· · · · ·A· · Yeah.
 16· · · · ·Q· · Okay.· And were you aware that he had had
 17· ·previous disciplinary reports, several of them for
 18· ·contraband?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · You were?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · Okay.· And how did you become aware of
 23· ·that?
 24· · · · ·A· · Because I was a member of his defense
 25· ·team.· I had every record ever generated on him.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 70 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 70

 ·1· · · · ·Q· · So every time he got a disciplinary
 ·2· ·report, you would receive a copy of that?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · Okay.· And so you would have knowledge
 ·5· ·that he was involved with -- with some type of
 ·6· ·contraband or another?
 ·7· · · · ·A· · In his correctional career, yes, I knew
 ·8· ·about all the disciplinary infractions that he got
 ·9· ·through his correctional career.
 10· · · · ·Q· · Including at Jackson?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · Okay.· So you know that there had been an
 13· ·issue with that?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · Was it ever discussed with him?
 16· · · · ·A· · Yes.
 17· · · · · · · MR. BEGNAUD:· And objection as far
 18· · · · as -- and just for the record just so I can
 19· · · · do this for the record.
 20· · · · · · · THE WITNESS:· Yeah, yeah, yeah, I
 21· · · · don't want to -- yeah.
 22· · · · · · · MR. BEGNAUD:· Just for the record,
 23· · · · obviously, Mr. Dubose, who has passed away,
 24· · · · has rights and, you know, was your -- the
 25· · · · defense team's client, and so there is

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 71 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 71

 ·1· · · · attorney/client privilege associated with
 ·2· · · · any communications between Ms. Engleman and
 ·3· · · · Mr. Dubose.· And so, you know, we'll just
 ·4· · · · be aware of that in the deposition.
 ·5· · · · · · · THE WITNESS:· Okay.
 ·6· · · · · · · MS. MCGOVERN:· That's fine.
 ·7· ·BY MS. MCGOVERN:
 ·8· · · · ·Q· · Was it your understanding that he had
 ·9· ·been -- strike that.· Just strike that.
 10· · · · · · · So how did you initially become involved
 11· ·in the Dubose case?
 12· · · · ·A· · So like I said, I started working there
 13· ·in August of 2017.· The situation with Ricky in which
 14· ·he, you know, escaped, there was the -- the
 15· ·correctional officers were murdered on the prison.
 16· ·But that had happened in June, two months prior.
 17· · · · · · · He was represented -- so the capital
 18· ·defenders office has, like, multiple branches
 19· ·throughout the state just to kind of help facilitate
 20· ·representing people throughout the state.· I worked
 21· ·at the Atlanta branch.· There were branches in
 22· ·Athens, Macon, Tifton and Brunswick.
 23· · · · · · · The Macon branch was representing Ricky.
 24· ·They had a mitigation specialist who was already on
 25· ·the case representing Ricky, but she was going on

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 72 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 72

 ·1· ·maternity leave.· And so they needed someone to kind
 ·2· ·of fill in while she was going to be gone.· And since
 ·3· ·I was new to the office, meaning I didn't already
 ·4· ·have a full caseload, they thought that I -- and I
 ·5· ·knew the director of mitigation was also kind of
 ·6· ·pulled in to help.
 ·7· · · · · · · So she was pulled in to help, and it was
 ·8· ·kind of like, Lily is going to help with this as well
 ·9· ·while the other mitigation person is on maternity
 10· ·leave.· And so that's how I initially got started in
 11· ·the case.
 12· · · · ·Q· · And how long were you working on the case
 13· ·file in advance of -- with Ricky in advance of his
 14· ·penalty phase?
 15· · · · ·A· · I don't understand the question.
 16· · · · ·Q· · How long were you working on the
 17· ·mitigation aspect of the file?· How many months,
 18· ·weeks?
 19· · · · ·A· · Before he went to trial?
 20· · · · ·Q· · Uh-huh.
 21· · · · ·A· · Is that the question?· He -- so he went
 22· ·to trial after I was fired.· So I worked on his case
 23· ·the entire time I was at the capital defenders
 24· ·office.
 25· · · · ·Q· · Okay.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 73 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 73

 ·1· · · · ·A· · Yeah.
 ·2· · · · ·Q· · All right.· So I'm trying to gauge from
 ·3· ·when this person had maternity leave.
 ·4· · · · · · · And how long have you been there when
 ·5· ·that happened?
 ·6· · · · ·A· · I was immediate -- when I started working
 ·7· ·there, there was several cases I was immediately put
 ·8· ·on.· His was one of the ones I was immediately put
 ·9· ·on.
 10· · · · ·Q· · All right.· And so you were tasked with
 11· ·a -- working on the penalty -- death penalty phase of
 12· ·his case in the sentencing, not the underlying
 13· ·defense.· Is that accurate?
 14· · · · ·A· · That's correct.· It's a team effort.· You
 15· ·know, it's a team effort, and, of course, you know,
 16· ·it's not like you work in silos.
 17· · · · ·Q· · Sure.
 18· · · · ·A· · It all kind of blends together to some
 19· ·extent.· But for a capital case, you have a
 20· ·mitigation specialist, mitigation investigator that
 21· ·primarily focuses on the penalty phase, and you have
 22· ·a fact investigator that focuses more on the actual,
 23· ·you know, offense.
 24· · · · ·Q· · Was there any dispute in your mind that
 25· ·he had, in fact, previously escaped from prison?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 74 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                  Page 74

 ·1· · · · ·A· · No.
 ·2· · · · ·Q· · Was there any dispute in your mind that
 ·3· ·he had been involved in the murder of two
 ·4· ·correctional officers?
 ·5· · · · ·A· · No.
 ·6· · · · ·Q· · Okay.· So you did know that going in --
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · -- and you were looking at mitigating a
 ·9· ·death penalty --
 10· · · · ·A· · Yes.
 11· · · · ·Q· · -- sentence?
 12· · · · ·A· · That was what all my cases were.
 13· · · · ·Q· · Okay.
 14· · · · ·A· · Mitigating (inaudible).
 15· · · · ·Q· · All right.· Did it cause concern for you
 16· ·being in close quarters with an individual who had
 17· ·previously escaped and who had murdered actual
 18· ·correctional officers?
 19· · · · ·A· · No.
 20· · · · ·Q· · And why not?
 21· · · · ·A· · I felt very secure in the facility.               I
 22· ·felt like they had good security.· Ricky was
 23· ·handcuffed and in the leg chains, I don't know
 24· ·exactly what they're called, the ankle cuffs, every
 25· ·visit I had with him to my memory.· He was under very

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 75 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 75

 ·1· ·strict scrutiny there.· We -- I knew that anywhere he
 ·2· ·went, he had like three officers with him at all
 ·3· ·times, you know.
 ·4· · · · · · · And beyond that, like I said before, I --
 ·5· ·I felt safe with all of my clients, and they'd all --
 ·6· ·they were all alleged to have killed people.· That
 ·7· ·was all of their -- you know, they're all facing the
 ·8· ·death penalty.· And you get that in Georgia, you
 ·9· ·know, in this country because you're alleged to have
 10· ·killed people.· And that was obviously -- I knew
 11· ·that.· I worked there.· I knew that all of my clients
 12· ·were going to be alleged murderers, you know.· You
 13· ·don't -- you don't agree to have a job like that
 14· ·unless you're personally comfortable dealing with
 15· ·people who are alleged have to done those kinds of
 16· ·offenses and unless you have a -- I think a personal
 17· ·sense of your own, you know, I'm -- I can handle
 18· ·whatever situation comes my way, and I feel equipped,
 19· ·and, you know, I just always felt that way.
 20· · · · · · · And with that facility in particular, I
 21· ·felt very secure.· I thought that they did -- you
 22· ·know, there was always an officer right outside the
 23· ·door.· And -- and I went there regularly, and I got
 24· ·to know the officers.· And I felt -- you know, I
 25· ·felt -- I felt safe there.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 76 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 76

 ·1· · · · ·Q· · Was there anything specific in regard to
 ·2· ·the facility that made you feel you said safer in
 ·3· ·that facility?
 ·4· · · · ·A· · I mean, it's the most secure facility
 ·5· ·I've ever been to.· Like, there's so many sally ports
 ·6· ·you have to go through.· Ricky was always handcuffed
 ·7· ·and, you know, the feet things, you know.· Some of my
 ·8· ·clients weren't, and I felt safe with those clients
 ·9· ·too, but yeah.
 10· · · · ·Q· · Okay.· With someone who had previously
 11· ·escaped from prison, would you agree that security
 12· ·and ensuring that didn't happen again needed to be a
 13· ·high priority for -- for Jackson SMU?
 14· · · · ·A· · Sure.
 15· · · · ·Q· · And would you agree that security is a
 16· ·paramount importance in a high max prison setting?
 17· · · · ·A· · Sure.
 18· · · · ·Q· · Now, were you aware that there were
 19· ·cameras located throughout the facility when you
 20· ·would see -- see your client at -- at Jackson?
 21· · · · ·A· · Yes.· I mean, you go through the sally
 22· ·ports.· You go through that security, standalone
 23· ·security place.· You know, of course, there are
 24· ·cameras everywhere.· When I would come into the main
 25· ·facility I would come in.· There is, like, a lobby

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 77 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 77

 ·1· ·that I would wait in.· There were cameras there.· And
 ·2· ·then when they were -- when they had him set up for
 ·3· ·the visit, they would -- you know, an officer would
 ·4· ·come and get me.· They would walk me through another
 ·5· ·sally port.· We would take a left, go down this
 ·6· ·hallway, and the visitation room was down there.
 ·7· ·And, you know, of course, there are cameras all up
 ·8· ·on -- you know, walking down to the visitation room.
 ·9· · · · ·Q· · Were you aware that there was a camera in
 10· ·the visitation room?
 11· · · · ·A· · I was aware that there was a camera.               I
 12· ·had no idea it was on.
 13· · · · ·Q· · And it was certainly not recording
 14· ·anything verbally that was --
 15· · · · ·A· · Now I know --
 16· · · · ·Q· · -- being discussed?
 17· · · · ·A· · Now I know that.· Now I know that.
 18· · · · ·Q· · That's your understanding, correct?
 19· · · · ·A· · Yes.· I mean, at the time, I assumed that
 20· ·it would not be on at all for a legal visit.
 21· · · · ·Q· · And I understand you're not an actual
 22· ·attorney, but to your understanding of
 23· ·attorney/client privilege, you understand that's only
 24· ·referred to communications between a client and
 25· ·someone on their legal team?

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 78 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 78

 ·1· · · · · · · MR. BEGNAUD:· Object to the form.
 ·2· · · · · · · You can answer.
 ·3· · · · ·A· · Okay.· Yes, but I -- I think most people
 ·4· ·in my -- on my defense team, including myself and
 ·5· ·every defense person who I've really spoken to you
 ·6· ·about this, you know, body language is communication,
 ·7· ·writing is communication.· I would bring my notebook
 ·8· ·for every visit and write in it.· That's
 ·9· ·communication.· You know, the way that you're
 10· ·interacting with -- we're communicating right now.
 11· ·Even if we weren't talking, we're communicating.· So,
 12· ·you know, I -- I have always thought communication
 13· ·meant a fairly, you know, broad meaning of
 14· ·communication.
 15· ·BY MS. MCGOVERN:
 16· · · · ·Q· · But you don't have an understanding
 17· ·other -- of the Georgia bar or any other legal
 18· ·standards that indicate that anything beyond the
 19· ·verbal communications between an attorney and a
 20· ·client are protected by attorney/client privilege,
 21· ·are you?
 22· · · · · · · MR. BEGNAUD:· Object to the form.
 23· · · · · · · You can answer.
 24· ·BY MS. MCGOVERN:
 25· · · · ·Q· · I'm not asking for a legal opinion.· I'm

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 79 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 79

 ·1· ·just saying you're not aware of any authority that
 ·2· ·states that anything beyond verbal communications is
 ·3· ·protected by attorney/client --
 ·4· · · · ·A· · No.
 ·5· · · · ·Q· · -- privilege?
 ·6· · · · ·A· · I don't -- I'm not an attorney, so I just
 ·7· ·don't know stuff like that.
 ·8· · · · ·Q· · So this is just something you've heard
 ·9· ·around and you surmise, but you don't have any -- any
 10· ·actual support for that position, correct?
 11· · · · ·A· · I have always been told in any law office
 12· ·I've worked at, which is now four, that my
 13· ·interactions with my client were privileged.
 14· · · · ·Q· · But you do not have any authority that
 15· ·supports the position anything beyond verbal
 16· ·communications is protected?
 17· · · · ·A· · No.
 18· · · · ·Q· · Verbal and written communications is
 19· ·protected, correct?
 20· · · · ·A· · Yes, that's correct.
 21· · · · ·Q· · Okay.· And in terms of you saw the
 22· ·camera, you didn't ask anyone if it was on, you
 23· ·didn't make any inquiry, correct?
 24· · · · ·A· · No.
 25· · · · ·Q· · And do you have an understanding why

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 80 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 80

 ·1· ·there would be a need for cameras to be on Ricky
 ·2· ·Dubose wherever he was located to some degree to
 ·3· ·protect both the staff, the visitors and the facility
 ·4· ·from any adverse event happening, correct?· You
 ·5· ·understand there would be a reasonable justification
 ·6· ·to have a camera --
 ·7· · · · ·A· · Absolutely, except for a legal visit for
 ·8· ·sure.· And there were always cameras on him, you
 ·9· ·know.· I knew that.· But I don't -- I don't think
 10· ·that it's appropriate for there to be a camera on a
 11· ·legal visit.
 12· · · · ·Q· · But you -- you can't assert anything that
 13· ·would legally support that that was not appropriate
 14· ·or authorized?
 15· · · · ·A· · No.
 16· · · · ·Q· · And you were locked in a room with a man
 17· ·who had, to your understanding, escaped and killed
 18· ·two correctional officers and at the time that you
 19· ·had a concern that there might be a camera
 20· ·monitoring?
 21· · · · ·A· · Could you rephrase that?
 22· · · · ·Q· · You were locked in the room with Ricky
 23· ·Dubose?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · Okay.· And have you considered that the

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 81 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 81

 ·1· ·camera may have been for your personal safety?
 ·2· · · · · · · MR. BEGNAUD:· Object to the form.
 ·3· · · · · · · Go ahead.
 ·4· ·BY MS. MCGOVERN:
 ·5· · · · ·Q· · I just asked if you considered that.
 ·6· · · · ·A· · No, I don't -- I don't --
 ·7· · · · ·Q· · You haven't --
 ·8· · · · ·A· · I have not considered that.
 ·9· · · · ·Q· · Okay.· And you do not have any training
 10· ·in POST certification, security issues within the
 11· ·prison, context or any other professional training in
 12· ·terms of how to manage security in a facility such as
 13· ·Jackson, correct?
 14· · · · ·A· · Yes, that's correct.
 15· · · · ·Q· · Okay.· You're aware that my client,
 16· ·Nathan Adkerson, did not work at Jackson SMU.· He was
 17· ·independently employed by OPS, correct?
 18· · · · ·A· · Yes.· Yes, I know that.
 19· · · · ·Q· · And were you aware that Jackson SMU
 20· ·had -- was involved -- and their warden in setting up
 21· ·surveillance cameras and other security measures
 22· ·within that particular prison?
 23· · · · · · · MR. BEGNAUD:· Object to the form.               I
 24· · · · didn't track that.
 25· · · · · · · THE WITNESS:· Me either, sorry.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 82 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 82

 ·1· · · · · · · MS. MCGOVERN:· (Inaudible) complex.
 ·2· ·BY MS. MCGOVERN:
 ·3· · · · ·Q· · So you don't have any knowledge or
 ·4· ·information that demonstrates that OPS oversaw
 ·5· ·security measures at Jackson SMU, do you?
 ·6· · · · ·A· · No, I'd never heard of OPS --
 ·7· · · · ·Q· · Okay.
 ·8· · · · ·A· · -- really before this.
 ·9· · · · ·Q· · And would it be your general assumption
 10· ·that each prison facility or DOC in general would be
 11· ·in charge of those security measures?
 12· · · · ·A· · I honestly have no idea.
 13· · · · ·Q· · You don't know (inaudible).
 14· · · · ·A· · I've never thought of it -- about it
 15· ·before.
 16· · · · ·Q· · Sure.
 17· · · · · · · You basically can't give testimony one
 18· ·way or the other on that?
 19· · · · ·A· · Right.
 20· · · · ·Q· · Okay.
 21· · · · ·A· · I have no idea.
 22· · · · ·Q· · That's fine.
 23· · · · · · · And you don't have any specific knowledge
 24· ·that Nathan Adkerson was in any way involved in
 25· ·putting any cameras in, running cameras or anything

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 83 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 83

 ·1· ·else on the visits you had with Ricky Dubose?
 ·2· · · · ·A· · No, I don't have knowledge.
 ·3· · · · ·Q· · Okay.· And what I'm asking you about
 ·4· ·today is your personal knowledge.
 ·5· · · · ·A· · Right.
 ·6· · · · ·Q· · You don't have any knowledge or
 ·7· ·information on how OPS became involved in this
 ·8· ·investigation of Ricky Dubose and his interactions
 ·9· ·with you, do you?· And I don't want to know what you
 10· ·talked about with your attorneys.
 11· · · · ·A· · Well, I mean, I know -- I've seen the
 12· ·discovery in my criminal case.
 13· · · · ·Q· · Okay.
 14· · · · ·A· · So it's all in there.
 15· · · · ·Q· · Okay.
 16· · · · ·A· · Is that what you're referring to?
 17· · · · ·Q· · Sure.
 18· · · · ·A· · Okay.· Yes.
 19· · · · ·Q· · Okay.· And what is your understanding?
 20· · · · ·A· · My understanding is that sometime in
 21· ·mid-September of 2019, maybe the 13th or something
 22· ·like that, that there was a shakedown and contraband
 23· ·was found in Ricky's cell.· And they found stuff that
 24· ·I honestly don't fully remember, but that prompted
 25· ·them to want to review the video of my latest visit

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 84 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 84

 ·1· ·with him, which was on September 6th.
 ·2· · · · ·Q· · Okay.· And do you -- did you know or have
 ·3· ·any recollection that Warden Morales and his
 ·4· ·assistant located a letter indicating that someone by
 ·5· ·the name of L was going to be bringing contraband
 ·6· ·into the prison?
 ·7· · · · ·A· · I --
 ·8· · · · · · · MR. BEGNAUD:· Object to the form.               I
 ·9· · · · think it's a mischaracterization of the
 10· · · · letter.
 11· · · · · · · MS. MCGOVERN:· I was just asking if
 12· · · · she knew that or not.
 13· · · · · · · MR. BEGNAUD:· You can answer.
 14· · · · ·A· · Okay.· I've seen that in the discovery.
 15· ·BY MS. MCGOVERN:
 16· · · · ·Q· · Okay.· And you don't personally have any
 17· ·knowledge of anyone else with the initial L who was
 18· ·conducting visits with Ricky Dubose during that time
 19· ·period, do you?
 20· · · · ·A· · No.· The only people doing visits with
 21· ·him were his defense team.
 22· · · · ·Q· · Right.
 23· · · · · · · You don't have any personal knowledge
 24· ·of -- well, strike that.· All right.
 25· · · · · · · So the visit on September 6th, 2019, I

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 85 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 85

 ·1· ·think you had -- was this your first visit with Ricky
 ·2· ·Dubose or this was -- was later on?
 ·3· · · · ·A· · I --
 ·4· · · · ·Q· · The subject visit that was recorded on
 ·5· ·September 6th, 2019, had you already had prior visits
 ·6· ·with Ricky?
 ·7· · · · ·A· · I had been visiting with him for
 ·8· ·two years.
 ·9· · · · ·Q· · Okay.· All right.· And so you were
 10· ·familiar with the setting --
 11· · · · ·A· · Yes.
 12· · · · ·Q· · -- and that there had it was a camera in
 13· ·the room?
 14· · · · ·A· · Yes.
 15· · · · ·Q· · And the dynamic of that visit, how it was
 16· ·set up, was it very different from your prior visits?
 17· · · · ·A· · No, it was very much the same.
 18· · · · ·Q· · Okay.· All right.· And I'm going to try
 19· ·to pull this up on my --
 20· · · · · · · MS. MCGOVERN:· I don't know how best
 21· · · · you want to do this with Zoom, folks,
 22· · · · anyone.· I can read out where we are.· On
 23· · · · the video.· I'm not going to go through the
 24· · · · whole thing.
 25· · · · · · · MR. GREEN:· (Inaudible) share the

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 86 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 86

 ·1· · · · screen?
 ·2· · · · · · · MS. MCGOVERN:· I have no idea if I can
 ·3· · · · share the screen.· This isn't my computer,
 ·4· · · · so I don't think I can show the witness.
 ·5· · · · I'll tell you the point markers, but I have
 ·6· · · · no idea how I can do that.
 ·7· · · · · · · MR. BEGNAUD:· Let's go off the record.
 ·8· · · · · · · THE COURT REPORTER:· Go off the
 ·9· · · · record, please.
 10· · · · · · · THE VIDEOGRAPHER:· The time is
 11· · · · 12:02 p.m.· We're now off the record.
 12· · · · · · · (Whereupon, the video camera was
 13· · · · turned off.)
 14· · · · · · · (Whereupon, a brief recess was taken.)
 15· · · · · · · (Whereupon, the video camera was
 16· · · · turned on.)
 17· · · · · · · THE VIDEOGRAPHER:· The time is
 18· · · · 12:04 p.m.· We're back on the record.
 19· ·BY MS. MCGOVERN:
 20· · · · ·Q· · We're going back on.
 21· · · · · · · We are playing the video from the visit
 22· ·from September 6th, 2009 [sic].· I am at time marker
 23· ·3:47:30.· And I'm going to hit play, and I'm going to
 24· ·stop it periodically.
 25· · · · · · · ·(A video was played during the

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 87 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 87

 ·1· · · · ·deposition.)
 ·2· ·BY MS. MCGOVERN:
 ·3· · · · ·Q· · We see Mr. Dubose looking down here.
 ·4· · · · · · · Do you have a recollection of what
 ·5· ·you-all may have been discussing at this point this
 ·6· ·time?· We're at 3:47:51.
 ·7· · · · · · · MR. BEGNAUD:· Obviously without --
 ·8· · · · · · · THE WITNESS:· Yeah.
 ·9· · · · · · · MR. BEGNAUD:· -- telling us
 10· · · · (inaudible).
 11· · · · · · · THE WITNESS:· (Inaudible).
 12· · · · · · · MS. MCGOVERN:· I'm not (inaudible).
 13· · · · ·A· · I -- I under- -- I have a memory of kind
 14· ·of the trajectory of this hour and a half long visit.
 15· ·I mean, I can't say exactly what we were talking
 16· ·about at that time.· But I do have a memory of kind
 17· ·of, you know, the visit in general.
 18· ·BY MS. MCGOVERN:
 19· · · · ·Q· · Okay.· And I've stopped it at 3:47:58 for
 20· ·a second.· And we have -- Mr. Dubose is sort of
 21· ·positioned, so his back is squarely against the
 22· ·camera.· So it kind of obliterates the view of the
 23· ·front of his body.· Is that accurate?
 24· · · · ·A· · Yes.
 25· · · · ·Q· · Okay.· I'm going to stop it.· We're at

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 88 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 88

 ·1· ·3:48:05.
 ·2· · · · ·A· · Uh-huh.
 ·3· · · · ·Q· · And you -- you are bending your head to
 ·4· ·look under the table.
 ·5· · · · · · · What is occurring at that point in time?
 ·6· ·I'm not asking for communications.· I'm asking for,
 ·7· ·why are you putting your head under the table at that
 ·8· ·point?
 ·9· · · · · · · MR. BEGNAUD:· First, I object to the
 10· · · · (inaudible).
 11· ·BY MS. MCGOVERN:
 12· · · · ·Q· · Adjacent to the table at that point?
 13· · · · ·A· · I don't think I know how to answer that
 14· ·question without --
 15· · · · ·Q· · I'm not asking for communications.
 16· ·Why -- why were you --
 17· · · · ·A· · We were -- we were looking at the tattoos
 18· ·on his feet.
 19· · · · ·Q· · Okay.· Because my understanding of this,
 20· ·if we can go back, is that he still has his socks and
 21· ·shoes on.· We can go back to reiterate that.
 22· · · · ·A· · I mean, I don't -- there's that one shoe
 23· ·right there that I can see.· But we -- we were --
 24· ·what I remember about this visit is that the
 25· ·beginning started off very heavy.· And if you watch

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 89 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 89

 ·1· ·the entire visit, you'll see that.· The beginning, it
 ·2· ·was a very heavy visit.· Ricky was not doing well
 ·3· ·emotionally, and we talked about that for quite a
 ·4· ·long time at the beginning of the visit.
 ·5· · · · · · · I remember being concerned because I had
 ·6· ·gone in with an agenda.· You know, I had certain
 ·7· ·things I needed to talk to my clients about when I
 ·8· ·would visit them.· And I knew that what I needed to
 ·9· ·talk to him about was also pretty heavy.· So I was a
 10· ·little bit concerned to, like, show up.· And he
 11· ·was -- he was not doing well because I didn't want to
 12· ·put him into, like, a worse place.
 13· · · · · · · And I remember being very mindful in this
 14· ·visit of, like, how do I control how this goes.· And
 15· ·so we kind of discussed what he wanted to discuss,
 16· ·you know, during the first part.· And then I tried to
 17· ·kind of, like, bring him up mood-wise.· We started
 18· ·talking about his tattoos.· He has a lot, you know.
 19· ·He has a lot of them.
 20· · · · · · · And I had learned from previous visits
 21· ·that getting him to talk about his tattoos was a way
 22· ·that he could kind of boost his mood because he had
 23· ·stories that went along with them.· You know, he had
 24· ·some, like, cartoon character ones that he liked to
 25· ·talk about.· And so it was very strategic attempt on

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 90 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 90

 ·1· ·my part to get him to get his mind off of what we had
 ·2· ·been discussing and kind of have a breather where he
 ·3· ·could kind of, you know, have his mood boosted, talk
 ·4· ·about something a little bit more light-hearted so
 ·5· ·that then I could go into what I needed to talk to
 ·6· ·him about, which you see if you continue watching the
 ·7· ·video.· Kind of as it gets closer to the end, you'll
 ·8· ·see it gets more serious again.
 ·9· · · · · · · I remember walking away from this video
 10· ·thinking like, Good job, Lily.· You handled that well
 11· ·as a social worker, really read that well.· And so it
 12· ·was, again, kind of shocking when I got arrested
 13· ·because of this visit.· You know, I remember we --
 14· ·you know, we were talking about tattoos on his head.
 15· ·We were talking about tattoos on different parts of
 16· ·his body.· You know, I don't remember exactly what
 17· ·all areas we kind of talked about.· But it was -- it
 18· ·was a conversation that went on for a while.
 19· · · · ·Q· · Well, yeah, obviously, we're more than
 20· ·halfway --
 21· · · · ·A· · Uh-huh.
 22· · · · ·Q· · -- through at this point.· But he clearly
 23· ·has tattoos all over his arms --
 24· · · · ·A· · Yes.
 25· · · · ·Q· · -- all over his body.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 91 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 91

 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · But he doesn't -- let me just get the
 ·3· ·whole --
 ·4· · · · ·A· · Okay.
 ·5· · · · ·Q· · She'll get mad at us for talking over
 ·6· ·each other.
 ·7· · · · · · · But he didn't show you anything on his
 ·8· ·arms, hands, neck, anything local during the course
 ·9· ·of this.· And we can replay it, but that's not -- you
 10· ·didn't choose to go into anything readily visible in
 11· ·terms of tattoos?
 12· · · · ·A· · I -- I don't remember.· I remember asking
 13· ·him, What tattoos did you get that hurt the most,
 14· ·like what was the most painful, you know, tattoo that
 15· ·you got.· I think that that's why he started showing
 16· ·me the ones on his feet, if I remember correctly.
 17· · · · ·Q· · Okay.· And so he obviously came into the
 18· ·room with his socks and his state-issued like --
 19· · · · ·A· · Slide.
 20· · · · ·Q· · -- slide shoes, right?
 21· · · · · · · Okay.· And so I've backed it up a little
 22· ·to play it because he's taken no action as of yet to
 23· ·remove them.· So, you know, I'm not trying to
 24· ·mislead, but he's still got the socks and the shoes
 25· ·on.· This was earlier in your conversation at

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 92 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 92

 ·1· ·3:45:35.· Now you're smiling at 3:45, so clearly,
 ·2· ·whatever has lighten up --
 ·3· · · · ·A· · Uh-huh.
 ·4· · · · ·Q· · -- has lightened up a little.· The
 ·5· ·heaviness has lifted?
 ·6· · · · ·A· · I -- I assume so.
 ·7· · · · ·Q· · Okay.· And this is prior to anything with
 ·8· ·the -- with the showing the tattoos on the feet.· And
 ·9· ·now he seems to be looking up towards the camera
 10· ·there.
 11· · · · · · · Do you know what that might have been
 12· ·about?
 13· · · · ·A· · He was just twisting his neck.· He'd been
 14· ·sitting in the position for a while.
 15· · · · ·Q· · You're smiling again.· So it seems like
 16· ·you've gotten through some of the heaviness and it's
 17· ·in a lighter place.
 18· · · · · · · Does that seem fair?
 19· · · · ·A· · Yes, I would assume so.
 20· · · · ·Q· · And now it almost looks like you're
 21· ·laughing here at 3:47.
 22· · · · ·A· · Uh-huh.
 23· · · · ·Q· · You don't recall what -- okay.· Now he
 24· ·bends over.· He bends over the table, 3:47:11.· And
 25· ·you don't recall what caused you to laugh right

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 93 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 93

 ·1· ·before then?
 ·2· · · · ·A· · I don't remember.
 ·3· · · · ·Q· · So he -- Nichols has -- I'm sorry, Dubose
 ·4· ·has his bed under the table, and he's leaning over,
 ·5· ·looking up at you, and you're laughing.
 ·6· · · · ·A· · Uh-huh.
 ·7· · · · ·Q· · Do you know what that's regarding at all?
 ·8· · · · ·A· · No.
 ·9· · · · ·Q· · And he's taken no action that I can see
 10· ·to remove socks or shoes as of yet, correct?· You
 11· ·haven't seen anything different, have you?
 12· · · · ·A· · I mean, his body is in the way.· Not that
 13· ·I can tell with his body in the way.
 14· · · · ·Q· · It doesn't look like his arms are moving
 15· ·to remove anything at that juncture yet, does it?
 16· · · · ·A· · No.
 17· · · · ·Q· · At 3:47:58, he's leaning over again and
 18· ·not all the way under the table, just leaning on the
 19· ·table, correct?· And then here at 3:48 --
 20· · · · ·A· · Uh-huh.
 21· · · · ·Q· · So he had just leaned over, but there did
 22· ·not appear to be any action by his arms to remove
 23· ·socks and shoes at that point in time when you --
 24· ·when you looked down.· Your head is not totally under
 25· ·the table, but it's adjacent to the table at 3:48:05.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 94 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 94

 ·1· · · · · · · So why did you put your head under there
 ·2· ·while he had the shoes and sock on?
 ·3· · · · · · · MR. BEGNAUD:· Object to the form.
 ·4· · · · · · · You can answer.
 ·5· · · · ·A· · Okay.· I mean, I don't know.· We looked
 ·6· ·under the table a lot.· Like, this happened for other
 ·7· ·visits.· We would look at his shoes.· He's a big shoe
 ·8· ·guy.· He wanted to always notice my shoes.· Sometimes
 ·9· ·he would come in with Nikes.· We would talk about his
 10· ·Nikes.· I don't know.· I don't remember.· This is
 11· ·three and a half years ago.· But it was not unusual
 12· ·for me to look under the table for all of my clients
 13· ·and talk about, you know, shoes, talk about different
 14· ·things.· That was not remotely unusual.
 15· ·BY MS. MCGOVERN:
 16· · · · ·Q· · Well, let me go back.
 17· · · · · · · He was wearing Nikes --
 18· · · · ·A· · Not this time.
 19· · · · ·Q· · -- while he was in high max?
 20· · · · ·A· · Yeah.
 21· · · · ·Q· · So he was allowed to have -- are you
 22· ·aware that would have been contraband for him to have
 23· ·Nikes?
 24· · · · ·A· · He had them.· He would walk around in
 25· ·them.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 95 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 95

 ·1· · · · ·Q· · Okay.· You don't know how he came to get
 ·2· ·those?
 ·3· · · · ·A· · I don't know.
 ·4· · · · ·Q· · You're aware that would not be standard
 ·5· ·issue?
 ·6· · · · ·A· · That was -- that was always my
 ·7· ·impression, but he -- he had them, he wore them, he
 ·8· ·walked around in them.
 ·9· · · · ·Q· · Okay.· And then you said he would like to
 10· ·look at your shoes?
 11· · · · ·A· · He was a big shoe guy.· And there were --
 12· ·I specifically remember a pair of Adidas that I had
 13· ·that he -- they were -- they were pretty (inaudible)
 14· ·Adidas, and I would wear them sometimes because, like
 15· ·I said, I always wanted to dress fairly casually.
 16· ·And I -- I do remember him commenting -- you know,
 17· ·he'd be like, Oh, I like those shoes.· And then if I
 18· ·wore them again a few months later, he'd be like, Oh,
 19· ·you're wearing those Adidas that I like, you know,
 20· ·things like that.
 21· · · · ·Q· · So you testified previously you had --
 22· ·you'd been provided with information --
 23· · · · ·A· · Uh-huh.
 24· · · · ·Q· · -- about his prior instances of
 25· ·contraband.· You were well aware of his disciplinary

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 96 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 96

 ·1· ·reports.· You were aware that he previously escaped.
 ·2· ·You were aware these issues have come to light in
 ·3· ·terms of other contraband issues, and yet you felt it
 ·4· ·was regular and customary to put a head under the
 ·5· ·table in a high max prison during a visit?
 ·6· · · · ·A· · Yes.
 ·7· · · · · · · MR. BEGNAUD:· Object to the form.
 ·8· ·BY MS. MCGOVERN:
 ·9· · · · ·Q· · Okay.· I need your answer, though,
 10· ·because I don't think the Court Reporter got it.
 11· · · · ·A· · Yes.
 12· · · · ·Q· · Did you have any understanding why that
 13· ·might be concerning to security and people within the
 14· ·high max prison environment?
 15· · · · · · · MR. BEGNAUD:· Object to the form.
 16· · · · · · · You can answer.
 17· · · · ·A· · Okay.· I don't think it's any of their
 18· ·business.· I don't.· I think that I'm there as a
 19· ·member of his defense team, and I need to have the
 20· ·interactions with my client that I need to have to
 21· ·get the information from him that I need to have the
 22· ·best defense case for him that we can build.· And
 23· ·it's, frankly, I don't think any of the prison
 24· ·people's concern what -- how a defense team is
 25· ·conducting their business with their client.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 97 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 97

 ·1· ·BY MS. MCGOVERN:
 ·2· · · · ·Q· · So if individuals are blocking cameras
 ·3· ·with the back and going under the table where they
 ·4· ·can't be seen and you have an inmate with frequent
 ·5· ·contraband issues, it's none of the prison's business
 ·6· ·whether or not contraband can be passed to an inmate
 ·7· ·that's previously escaped?
 ·8· · · · ·A· · Well, I knew I wasn't giving him
 ·9· ·contraband.· So no, that was not something I ever --
 10· · · · ·Q· · How are they --
 11· · · · ·A· · -- thought about.
 12· · · · ·Q· · How are they going to know that, that
 13· ·you're not doing that?
 14· · · · ·A· · Because I had --
 15· · · · · · · MR. BEGNAUD:· Object to the form.
 16· · · · ·A· · I had no idea the camera was on.· Had no
 17· ·idea the camera was on.· Ricky was handcuffed.· He
 18· ·was in leg irons.· And there was an officer sitting
 19· ·outside.· So I knew I wasn't giving him anything.                  I
 20· ·knew no one in the team was giving him anything.
 21· ·That was never a concern.· What was a concern was
 22· ·coming here and making sure that we were able to, you
 23· ·know, have the best defense that we could have and
 24· ·have the interactions with our clients that we needed
 25· ·to have.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 98 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 98

 ·1· ·BY MS. MCGOVERN:
 ·2· · · · ·Q· · The concern for the prison was to make
 ·3· ·sure that Ricky Dubose didn't get contraband, harm
 ·4· ·someone or escape, correct?
 ·5· · · · · · · MR. BEGNAUD:· Object to the form.
 ·6· · · · ·A· · Yes.
 ·7· ·BY MS. MCGOVERN:
 ·8· · · · ·Q· · And they didn't know you personally, know
 ·9· ·what you were up to or not.· They had to go on based
 10· ·on their protocols and procedures to ensure there was
 11· ·no contraband, correct?
 12· · · · · · · MR. BEGNAUD:· Object to the form.
 13· · · · · · · Ms. McGovern, do you mind giving my
 14· · · · client a little more space?· Thank you.
 15· · · · ·A· · That is the prison's concern.· Our
 16· ·concern as the defense team is to have -- went off
 17· ·again.· Our concern as the defense team, which I'm
 18· ·sure you know as an attorney yourself, is to be able
 19· ·to have the conversations you need to have with your
 20· ·client, the interactions you need to have with your
 21· ·client.· I'm -- I'm not there to be thinking about
 22· ·what the prison officials are thinking about.· I'm
 23· ·there to do my job.
 24· · · · · · · MS. MCGOVERN:· Okay.· I'm going to
 25· · · · move to strike as nonresponsive.

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 99 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 99

 ·1· ·BY MS. MCGOVERN:
 ·2· · · · ·Q· · I'm going to try to go about this at a
 ·3· ·different angle.
 ·4· · · · · · · You had your job to do, right?
 ·5· · · · ·A· · Uh-huh.
 ·6· · · · ·Q· · And the correctional officers and the
 ·7· ·warden and the security at this high max prison had
 ·8· ·their job to do --
 ·9· · · · · · · MR. BEGNAUD:· Object to the form.
 10· ·BY MS. MCGOVERN:
 11· · · · ·Q· · -- correct?
 12· · · · · · · MS. MCGOVERN:· What's the basis for
 13· · · · that objection?
 14· · · · · · · MR. BEGNAUD:· It's all argumentative.
 15· · · · I mean --
 16· · · · · · · MS. MCGOVERN:· It's not.· It's not.
 17· · · · · · · MR. BEGNAUD:· We can agree to
 18· · · · disagree.
 19· · · · · · · MS. MCGOVERN:· Okay.
 20· · · · ·A· · Yes, that's correct.
 21· ·BY MS. MCGOVERN:
 22· · · · ·Q· · Okay.· And you don't have a knowledge or
 23· ·understanding of what goes into that job, correct?
 24· · · · ·A· · No, I don't.
 25· · · · ·Q· · Okay.· And you've already agreed, I

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 100 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 100

 ·1· ·believe, that those are legitimate concerns in a high
 ·2· ·max prison with someone who's escaped to be concerned
 ·3· ·about security risks?
 ·4· · · · ·A· · Yes.
 ·5· · · · ·Q· · And with someone who's previously had
 ·6· ·issues with contraband with individuals going to a
 ·7· ·table where they can't be observed by the officer
 ·8· ·outside the room or anyone else, it's fair to say
 ·9· ·that no one knows what can happen under that table
 10· ·except for you?
 11· · · · ·A· · That's correct, because it's no one
 12· ·else's business what happens in a legal team meeting.
 13· ·Like a legal meeting with a client, it's no one
 14· ·else's business.
 15· · · · ·Q· · Are you aware that, historically, there
 16· ·have been cases of defense teams -- I'm not even
 17· ·saying yours -- providing contraband to inmates?
 18· ·This is something that does, at time, occur?
 19· · · · ·A· · It does, at time, occur, but, you know --
 20· ·yes, that does, at time, occur.
 21· · · · ·Q· · And the risk if something like that
 22· ·happens can result in harm to people working in the
 23· ·prison, people outside the prison or other inmates.
 24· ·If contraband gets in there can be a danger to
 25· ·others.· Isn't that fair?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 101 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 101

 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · And those risks can include and have
 ·3· ·included with Mr. Dubose before injury and death to
 ·4· ·others including correctional officers, correct?
 ·5· · · · ·A· · With contraband?· I'm confused.
 ·6· · · · · · · Could you please restate that?
 ·7· · · · ·Q· · The contraband can include many things
 ·8· ·including shanks and items that can be made into
 ·9· ·shanks.· There's a lot of different kinds of
 10· ·contraband.
 11· · · · · · · Isn't it fair to say with the risk of
 12· ·contraband getting to someone like Ricky Dubose,
 13· ·there is a risk of serious injury or death to
 14· ·individuals, including the individuals that have to
 15· ·work inside that prison every day?
 16· · · · ·A· · Sure.
 17· · · · · · · MR. BEGNAUD:· Object to the form.
 18· ·BY MS. MCGOVERN:
 19· · · · ·Q· · And that's a significant concern for the
 20· ·individuals at the prison that they might be injured
 21· ·or harmed in the course of their work --
 22· · · · ·A· · Sure.
 23· · · · ·Q· · -- on a daily basis in a high max prison,
 24· ·correct?
 25· · · · ·A· · Yes.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 102 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 102

 ·1· · · · ·Q· · And I'm sure, sitting here today, you
 ·2· ·would not be someone who would want someone within a
 ·3· ·high max prison that works there every day to be at
 ·4· ·risk of injury or death?
 ·5· · · · ·A· · Of course not.
 ·6· · · · ·Q· · Okay.· And, in fact, as a result of
 ·7· ·Mr. Dubose, two correctional officers had already
 ·8· ·died --
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · -- correct?
 11· · · · ·A· · Yes.
 12· · · · · · · MS. MCGOVERN:· I'm trying to show the
 13· · · · video is the only thing.· Let me get
 14· · · · through the video, and I can totally scoot
 15· · · · out of the way.
 16· ·BY MS. MCGOVERN:
 17· · · · ·Q· · Do you know anything about the family
 18· ·members that were related to the individuals that
 19· ·died?
 20· · · · ·A· · I know a little bit.
 21· · · · ·Q· · They suffered greatly, didn't they?
 22· · · · ·A· · Yes.
 23· · · · ·Q· · We're at 3:48:05.· And you are at this
 24· ·point looking under the table.· Continuing to look
 25· ·under the table.· And then your head's back up at

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 103 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 103

 ·1· ·3:48:19.· Then your head went back down about
 ·2· ·3:48:21.· You're still looking under the table, and
 ·3· ·your head's back up 3:48:30.
 ·4· · · · · · · Now, during that time period, are you
 ·5· ·able to tell me what you were looking at?
 ·6· · · · ·A· · I don't know.· I don't remember.
 ·7· · · · ·Q· · Okay.· And I haven't -- and tell me if
 ·8· ·I've missed it.· I haven't noticed him doing anything
 ·9· ·with shoes or socks to remove his socks as of yet.
 10· · · · · · · Did I miss something there or --
 11· · · · ·A· · I don't feel like I can see that.· I feel
 12· ·like I just see a little bit of his foot on the left.
 13· ·I can't see the other foot.· I don't -- I don't feel
 14· ·like I can make a statement based on how you can't
 15· ·see anything to do with his feet, really.
 16· · · · ·Q· · I haven't seen any arm movement that
 17· ·looked like it was removing a sock on the right-hand
 18· ·side, have you?
 19· · · · · · · MR. BEGNAUD:· Object to the form.
 20· · · · · · · MS. MCGOVERN:· Well, we're going
 21· · · · through the video, so she can give me her
 22· · · · impressions of the video.
 23· · · · ·A· · I don't know.· I don't think so, but I
 24· ·don't know.· I don't think it's very clear.
 25· ·BY MS. MCGOVERN:

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 104 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 104

 ·1· · · · ·Q· · Yeah, if -- if you do tell me.
 ·2· · · · ·A· · Okay.
 ·3· · · · ·Q· · And we'll stop and replay it.
 ·4· · · · · · · On the left, it looks like you can still
 ·5· ·see that there's a sock and a shoe on that left foot.
 ·6· · · · · · · Am I correct in that?
 ·7· · · · ·A· · That's what it looks like, yes.
 ·8· · · · ·Q· · Yeah.
 ·9· · · · · · · So it wouldn't be on the left foot that
 10· ·you would be looking at any tattoos, right?
 11· · · · ·A· · Yes, I would agree with that.
 12· · · · ·Q· · Okay.· And at 3:48:36, I think your head
 13· ·went adjacent, look under the table again.· You don't
 14· ·know what that's about?· And then again at 3:48:45,
 15· ·and then you're back up at 3:48:50.· Do you recall
 16· ·what that was about?
 17· · · · ·A· · Not specifically, no.
 18· · · · ·Q· · No, okay.
 19· · · · ·A· · Uh-huh.
 20· · · · ·Q· · That's pretty clear.
 21· · · · · · · He picks up a sock foot at 3:49:04, and
 22· ·it looks like he's removing his sock.
 23· · · · · · · Do you see that?· And I can go back if
 24· ·you want me to play it again.· Do you want me to go
 25· ·back a minute?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 105 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 105

 ·1· · · · ·A· · Sure.
 ·2· · · · ·Q· · Try not to go back too much.· Stop.
 ·3· · · · · · · MR. BEGNAUD:· Use the ten-second-back
 ·4· · · · thing.
 ·5· · · · · · · MS. MCGOVERN:· Use that?
 ·6· · · · · · · THE WITNESS:· No, no, but to the left
 ·7· · · · of the pause line.
 ·8· · · · · · · MR. BEGNAUD:· There's a ten on it.
 ·9· · · · · · · MS. MCGOVERN:· Okay.· I messed that
 10· · · · up, sorry.
 11· · · · · · · Which one?
 12· · · · · · · THE WITNESS:· It's the --
 13· · · · · · · MS. MCGOVERN:· Oh, ten.
 14· · · · · · · MR. BEGNAUD:· Ten, yeah.· Supposed to
 15· · · · roll back ten seconds.
 16· · · · · · · MS. MCGOVERN:· You think that's good,
 17· · · · or should I do one more?
 18· · · · · · · THE WITNESS:· Do one more.
 19· ·BY MS. MCGOVERN:
 20· · · · ·Q· · Okay.· We went back at 3:49:02.
 21· · · · · · · Okay.· And there is his left sock on it,
 22· ·looks to me, and he is taking it off.
 23· · · · · · · Does that look like that to you, and your
 24· ·head goes down?
 25· · · · ·A· · Yes.· Yes, maybe -- yes, maybe it's...

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 106 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 106

 ·1· · · · ·Q· · Okay.· And then 3:49:23, he appears to be
 ·2· ·rolling his sock up?
 ·3· · · · ·A· · Uh-huh.· Yeah, he's putting his socks
 ·4· ·back on.
 ·5· · · · ·Q· · And then his left foot at 3:49:30, he's
 ·6· ·taking that sock off?
 ·7· · · · ·A· · Uh-huh.
 ·8· · · · ·Q· · And your head is pretty much under the
 ·9· ·table completely at that point and one arm is under
 10· ·the table?
 11· · · · ·A· · Well, it's on my chest.
 12· · · · · · · MR. BEGNAUD:· I disagree.
 13· · · · ·A· · My arm is on my chest.
 14· ·BY MS. MCGOVERN:
 15· · · · ·Q· · Well, it's certainly not visible.· Your
 16· ·arm is below the surface level of the table, correct?
 17· · · · ·A· · That's correct, because my body was.
 18· · · · ·Q· · Right.
 19· · · · · · · Your whole body and head were, at that
 20· ·point --
 21· · · · ·A· · Yes.
 22· · · · ·Q· · -- under the table.
 23· · · · · · · And that's not visible to the officer
 24· ·outside or to the camera what's happening, correct?
 25· · · · ·A· · Yes.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 107 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 107

 ·1· · · · ·Q· · So security has no way to verify what's
 ·2· ·happening at that point because it's not visible on
 ·3· ·here, right?
 ·4· · · · ·A· · Yes.· That's correct.
 ·5· · · · ·Q· · Okay.· And so go back to 3:49:46, and
 ·6· ·then he is rolling up his sock on his left-hand side,
 ·7· ·correct?
 ·8· · · · ·A· · Uh-huh, yes.
 ·9· · · · ·Q· · And he would -- seemed to be taking a
 10· ·minute to do that.
 11· · · · · · · And so what is your recollection of what
 12· ·was going on during those frames we show with him
 13· ·taking off each sock and then rolling them back up
 14· ·his foot?
 15· · · · ·A· · I mean, I don't remember the complete ins
 16· ·and outs of this conversation three and a half years
 17· ·ago, but I remember that we were talking about
 18· ·tattoos.· We were talking about tattoos on his feet.
 19· ·That's -- that is the general sense of my
 20· ·recollection of this.
 21· · · · ·Q· · And instead of him lifting his foot up to
 22· ·show you or doing something that would have been line
 23· ·of sight, why -- why was it done under the table with
 24· ·you leaning with your arm and head below the surface
 25· ·of the table?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 108 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 108

 ·1· · · · ·A· · His -- he was in ankle irons, so he
 ·2· ·couldn't -- I mean, he would have had to have, like,
 ·3· ·you know --
 ·4· · · · ·Q· · He could have lifted both feet up?
 ·5· · · · ·A· · That would have taken significantly more
 ·6· ·effort and not -- not a natural movement compared to
 ·7· ·just looking under the table.
 ·8· · · · ·Q· · That may be all I need to -- well, at
 ·9· ·3:50, he is doing something with his sock again, it
 10· ·looks like.
 11· · · · ·A· · Uh-huh.
 12· · · · ·Q· · Do you recall what he was doing there?
 13· ·It's somewhat blocked by the camera.
 14· · · · ·A· · I don't know.
 15· · · · ·Q· · Now he raises his left arm, and it's just
 16· ·showing at 3:50, it's clear he has a whole lot of
 17· ·different tattoos on arms and hands.· But he didn't
 18· ·choose to show you those tattoos during the course of
 19· ·the interview.· It was just the ones on his feet?
 20· · · · ·A· · I don't remember.· I don't remember.
 21· · · · ·Q· · How many tattoos did he have on his feet?
 22· · · · ·A· · I don't remember.
 23· · · · ·Q· · And why was that germane to your case?
 24· · · · ·A· · Again, what I remember what -- the
 25· ·question I remember asking him that prompted talking

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 109 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 109

 ·1· ·about his feet was me asking about, you know, what
 ·2· ·tattoo had he gotten that, like, hurt the most.
 ·3· · · · ·Q· · Okay.· I can scoot away now because we're
 ·4· ·on the video.
 ·5· · · · · · · All right.· Is there anything else that
 ·6· ·reviewing that video brings to mind in regards to
 ·7· ·looking at his feet, the socks and so on and so
 ·8· ·forth, other than what we went through?· Did I miss
 ·9· ·anything?
 10· · · · ·A· · No.
 11· · · · ·Q· · Okay.· And you never considered during
 12· ·the course of that visit that it might not be a good
 13· ·idea in a high max prison to put your head under the
 14· ·table and have a convicted murderer take off articles
 15· ·of clothing to show you his feet?
 16· · · · ·A· · No, I -- that was not unusual for any of
 17· ·my clients.· That was very standard.
 18· · · · ·Q· · But -- never mind.
 19· · · · · · · Okay.· Now, there was a subsequent voice
 20· ·recording that's been produced in this case.· I don't
 21· ·know if you've heard it or not by Ricky Dubose
 22· ·indicating that it was necessary to get some -- some
 23· ·information to lawyers who were going to get him some
 24· ·stuff that was taken in code.
 25· · · · · · · Have you ever listened to any audio

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 110 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 110

 ·1· ·recordings of Ricky Dubose in relation to this
 ·2· ·particular investigation of the interactions that
 ·3· ·you-all had?· If you don't know anything about it,
 ·4· ·it's fine.
 ·5· · · · ·A· · I -- I don't know.· I've listened to,
 ·6· ·like, a very short amount of an audio recording that
 ·7· ·I think Nathan Adkerson did with Ricky --
 ·8· · · · ·Q· · Right.
 ·9· · · · ·A· · -- about -- my understanding is Ricky had
 10· ·gone to Warden Morales and had said that he had
 11· ·information as to, like, a contraband drop, and he
 12· ·wanted to tell Warden Morales about this.· In
 13· ·exchange, he was hoping to get a visitation approved
 14· ·with his girlfriend.
 15· · · · · · · To be honest, I know that there's an
 16· ·audio recording.· I think I listened to, like, seven
 17· ·minutes of it, and it's very hard to hear Ricky.· And
 18· ·I was just like, This is why I have an attorney to do
 19· ·this for me.· It was just very hard to hear him, and
 20· ·I didn't listen to all of it.
 21· · · · ·Q· · I might need a Wi-Fi here to get to this.
 22· ·The conference doesn't require a -- okay -- security
 23· ·key?· Well, guys, I'm going to take a break.· I had
 24· ·it pulled up yesterday.· I'm going to come back to
 25· ·that.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 111 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 111

 ·1· · · · · · · But you're not recalling a video -- or
 ·2· ·I'm sorry, an audio recording Ricky Dubose made
 ·3· ·himself on a telephone?
 ·4· · · · ·A· · Oh, no.
 ·5· · · · ·Q· · Yeah, okay.
 ·6· · · · · · · So as part of your investigation, you
 ·7· ·went to see Ricky's family, and you went out of state
 ·8· ·a couple of times, right?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · Tell me about that.
 11· · · · ·A· · I'm sorry.· I made multiple trips to
 12· ·Texas.· He had family in Texas.· I also had two other
 13· ·cases at the time in which there were family members
 14· ·in Texas.· So I would go to Texas.· For a while, I
 15· ·was going to Texas somewhat regularly and kind of,
 16· ·like, doing work on all the cases.
 17· · · · · · · He had family in North Carolina.· I went
 18· ·to North Carolina once.· His sister was in Alaska,
 19· ·and the lead attorney on the case and I went to
 20· ·Alaska once to see her.
 21· · · · ·Q· · Who funded the trip to Alaska?
 22· · · · ·A· · It was all funded by the capital
 23· ·defenders office.
 24· · · · ·Q· · So what did you learn in the course of
 25· ·those meetings?· Oh, well, I'm not trying to get into

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 112 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 112

 ·1· ·any attorney/client privilege there.· I mean, were
 ·2· ·there mitigation issues --
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · -- that weren't privileged that --
 ·5· · · · ·A· · I can say in kind of general.
 ·6· · · · ·Q· · Yeah, yeah.
 ·7· · · · ·A· · When talking with -- when meeting with
 ·8· ·family, you know -- you know, I'm exploring kind of
 ·9· ·cognitive deficits, exploring -- like I said,
 10· ·intellectual functioning is always something that
 11· ·we're exploring in every capital case, and that was
 12· ·something that we explored a lot with -- with Ricky.
 13· ·So it was a lot of conversations with family members
 14· ·about how -- how well he could -- he could function,
 15· ·communication skills, you know, we talked to family
 16· ·about -- a lot of clients have histories of abuse and
 17· ·neglect and growing up in poverty and, you know,
 18· ·talking to family collaterals can be extremely
 19· ·important to uncovering information about that.
 20· · · · ·Q· · How much time did you spend with, say,
 21· ·his mother?
 22· · · · ·A· · Hardly any.· None.
 23· · · · ·Q· · Hardly any or none?
 24· · · · ·A· · I -- I showed up -- so at one point, I
 25· ·knew (inaudible), who, as I said, is the director of

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 113 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 113

 ·1· ·mitigation who worked on this case as well.· She and
 ·2· ·Amber Pittman, who's a lead attorney, met with
 ·3· ·Ricky's mother.· And for various reasons, Ricky's mom
 ·4· ·did not want to engage with us as a defense team for
 ·5· ·many years.· So I would attempt to contact her.               I
 ·6· ·would attempt to call her or, you know, knock on her
 ·7· ·door, and, you know, she would tell me that she
 ·8· ·didn't want to speak with me.· So I had very little
 ·9· ·contact with her.
 10· · · · ·Q· · Okay.· So you're aware that after the --
 11· ·after the arrest and when the media published that
 12· ·there were a variety of Facebook posts --
 13· · · · ·A· · Uh-huh.
 14· · · · ·Q· · -- that went up including -- I assume
 15· ·you're aware there were Facebook posts by family
 16· ·members that --
 17· · · · ·A· · Uh-huh.
 18· · · · ·Q· · -- had comments about they thought you
 19· ·were in love with him.
 20· · · · · · · Do you have any understanding as to why
 21· ·they would make such comments based on what
 22· ·interactions you did or did not have with them?
 23· · · · ·A· · I can give you my guess.
 24· · · · ·Q· · Sure.· Of course.
 25· · · · ·A· · You know, I don't know for sure what they

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 114 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 114

 ·1· ·were thinking.· The young woman who made that
 ·2· ·comment, if I remember correctly, she was Ricky's
 ·3· ·cousin.· She lived in Texas.· And when she was --
 ·4· ·when she was younger, she had lived in Georgia and
 ·5· ·had lived near the Dubose family in Georgia when
 ·6· ·Ricky was very young.· And so, you know, I spent a
 ·7· ·lot of time on this case really wanting to talk to
 ·8· ·cousins, aunts, uncles, other people because his
 ·9· ·mother was not a source of information.· So I spent a
 10· ·lot of time looking elsewhere.· And his father was
 11· ·also not a very strong source of information for
 12· ·various reasons.· So I spent a lot of time with more
 13· ·extended relatives.
 14· · · · · · · I remember going out to Texas -- and I
 15· ·was persistent.· I was very persistent.· That is --
 16· ·that is part of the job.· And we were -- we were
 17· ·trained, and, you know, if people tell you no, you
 18· ·come back around later and you try again.
 19· · · · · · · I went to Texas once for a trip.· Like I
 20· ·said, I was doing work on multiple cases on that
 21· ·trip.· I wanted to speak with this cousin
 22· ·particularly because I had this sense that she seemed
 23· ·a little bit more stable than some of the other
 24· ·family members.· I knew that she was around Ricky
 25· ·when he was young, and I was hoping that she could

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 115 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 115

 ·1· ·give me some information as to what the home life was
 ·2· ·like.
 ·3· · · · · · · And I remember she had agreed to an
 ·4· ·appointment with me.· We had set, like, a time and
 ·5· ·place, and, you know, everything was good, and then
 ·6· ·she just kind of ghosted me.· And, you know, I was --
 ·7· ·she would -- just kind of stopped responding to my
 ·8· ·calls and my texts, and, you know, I would try to
 ·9· ·say, Okay, see you tomorrow, and there was just
 10· ·nothing.
 11· · · · · · · So I was like, All right, well, I'll just
 12· ·try again another day.· And the next time I went out
 13· ·to Texas, you know, a couple of months later, perhaps
 14· ·I attempted to meet with her again.· And we did meet.
 15· ·You know, I had to really be persistent, but we -- I
 16· ·remember we met at a -- like, a public park.· And we
 17· ·had -- you know, she was -- she was open, and she
 18· ·was -- she was -- you know, it was a good interview.
 19· · · · · · · My experience with a lot of criminal
 20· ·defendants and especially capital defendants is that
 21· ·their families are very defensive.· Their families
 22· ·really feel like their person has -- you know, their
 23· ·family member, the -- you know, my client has often
 24· ·been very demonized in the news rightfully so
 25· ·potentially.· You know, they, themselves, have

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 116 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 116

 ·1· ·potentially had backlash themselves in their
 ·2· ·community about, you know, being a family member to
 ·3· ·this person.· And so they can be -- they can be very
 ·4· ·defensive.· And I try to make it very clear from the
 ·5· ·get-go, I'm on your -- you know, your brother, your
 ·6· ·husband, your father, your sister, your mother,
 ·7· ·whoever my client is, I'm on their side.· I'm helping
 ·8· ·them.· I understand that they're facing these
 ·9· ·allegations.· You know, I don't -- I don't think that
 10· ·they're a horrible person the way that they've been
 11· ·shown, perhaps.· And, you know, you have great
 12· ·memories of them.· I want to hear those memories, and
 13· ·I believe in those memories.· You know, someone can
 14· ·have killed people and yet also be a loving brother.
 15· · · · · · · And so I always try to make that very
 16· ·clear with them people, like you have positive
 17· ·memories of this person, I believe that.· I believe
 18· ·that.· And I want to hear these memories.· I'm not
 19· ·here to attack your loved one.· I'm not here to
 20· ·disparage them.
 21· · · · · · · So my impression with his cousin, my
 22· ·guess -- like I said, I don't know what was going on
 23· ·in her head but perhaps the fact that I was so
 24· ·persistent in trying to meet with her over several
 25· ·months.· And I think that she just -- you know, she

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 117 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 117

 ·1· ·didn't understand a whole lot of how defense teams
 ·2· ·work.· And maybe she just -- you know, I made it very
 ·3· ·clear, I'm here on behalf of, you know, your cousin,
 ·4· ·and we're -- we're going to do everything we can to
 ·5· ·help him.· And, you know, I'm a young woman, and
 ·6· ·people just think inappropriate things about young
 ·7· ·professional women sometimes.· That is my guess, but
 ·8· ·I don't know for sure.
 ·9· · · · ·Q· · So when you were communicating with
 10· ·Ricky, I know there was a court order that allowed
 11· ·you-all visitation.· I assume you used work e-mail to
 12· ·communicate with him.
 13· · · · · · · Was that one way that you communicated
 14· ·with Ricky directly?
 15· · · · ·A· · No.
 16· · · · ·Q· · Okay.
 17· · · · ·A· · He didn't -- he didn't have any e-mail
 18· ·access.
 19· · · · ·Q· · Okay.· Telephone calls, did you have any
 20· ·telephone calls?
 21· · · · ·A· · We would occasionally set up phone calls,
 22· ·yes.
 23· · · · ·Q· · Did he ever utilize a cell phone which is
 24· ·contraband, but did he ever utilize one to -- he
 25· ·obviously had access to one at certain points in

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 118 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 118

 ·1· ·time -- to contact you in that manner, by text or
 ·2· ·phone?
 ·3· · · · ·A· · Not that I remember remotely, no.
 ·4· · · · ·Q· · So it's my understanding that you got a
 ·5· ·JPay account --
 ·6· · · · ·A· · Uh-huh.
 ·7· · · · ·Q· · -- to communicate with him.
 ·8· · · · · · · Why was that done?
 ·9· · · · ·A· · That was done because there were a few
 10· ·instances in which we had a court meeting set up,
 11· ·like a court hearing set up or someone on the team --
 12· ·we all kind of rotated, so there was someone from the
 13· ·team going out to see him pretty regularly -- was
 14· ·supposed to see him, and he knew that.· He knew --
 15· ·maybe he knew when someone was supposed to come, or
 16· ·he knew that there was supposed to be a court hearing
 17· ·on, you know, July 27th, for example, and it would
 18· ·get cancelled last minute for whatever reason.
 19· · · · · · · He would have a lot of anxiety as to not
 20· ·knowing what was going on.· Why is it cancelled,
 21· ·someone was supposed to be out here to see me today
 22· ·and no one's here today, what's going on.· And so I
 23· ·set up the JPay account at the direction of Amber
 24· ·Pittman, the lead attorney, so that we could have
 25· ·kind of a quicker way to just message him and say,

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 119 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 119

 ·1· ·you know, Court's cancelled, or so-and-so will be out
 ·2· ·there to see you next week on this day.· So someone's
 ·3· ·coming, you know, don't stress.
 ·4· · · · ·Q· · Were any of the attorneys using JPay?
 ·5· · · · ·A· · I think it was just -- I think I just did
 ·6· ·all the communication for everybody, is my memory.
 ·7· · · · ·Q· · Okay.· You were the one who set up the
 ·8· ·JPay account?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · And you're aware that JPay is not just
 11· ·for e-mail but also for payments to inmates?
 12· · · · ·A· · Yes.
 13· · · · ·Q· · Okay.· Did you ever make any payments on
 14· ·his behalf or commissary or anything along those
 15· ·lines?
 16· · · · ·A· · I don't remember.· I don't think so.               I
 17· ·don't think so.· I don't remember.
 18· · · · ·Q· · It's possible that you did and you don't
 19· ·recall?
 20· · · · ·A· · It's possible I did once or twice.· The
 21· ·capital defenders office, the practice was if, for
 22· ·some reason, we felt the need to put money on an
 23· ·inmate's books, I wasn't -- we were not being paid
 24· ·very much and, you know, neither were the attorneys,
 25· ·but they were certainly being paid more than the

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 120 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 120

 ·1· ·investigators.
 ·2· · · · · · · And so kind of the practice there was if
 ·3· ·something was going on and we felt the need to put
 ·4· ·money on an inmate's books, usually, the attorney
 ·5· ·would do that.· I frankly don't remember ever putting
 ·6· ·money on an attorney's books the whole time I was at
 ·7· ·the capital defenders office, but I can't promise
 ·8· ·that I never did.· I do know attorneys in my cases
 ·9· ·that would do that.
 10· · · · ·Q· · Okay.· And if you have a JPay account,
 11· ·you can utilize it either way for e-mail or money?
 12· · · · ·A· · Right.
 13· · · · ·Q· · Okay.· With other -- in other cases that
 14· ·you handled, did you put that money on the books for
 15· ·the inmates?
 16· · · · ·A· · Then I don't remember that at all.
 17· · · · ·Q· · Okay.
 18· · · · ·A· · I don't remember that, no.
 19· · · · ·Q· · Sure.
 20· · · · · · · Okay.· We talked for a moment about the
 21· ·media issue and the Facebook and everything that came
 22· ·out after that.
 23· · · · · · · Now, sitting here today, you don't have
 24· ·any knowledge or information indicating that Nathan
 25· ·Adkerson had anything to do with the media being

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 121 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 121

 ·1· ·present at the time you were arrested, do you?
 ·2· · · · ·A· · I don't know who had -- who set that up.
 ·3· ·I don't know.
 ·4· · · · ·Q· · Okay.· You don't have any evidence or
 ·5· ·knowledge.· I mean, someone did, but you don't know
 ·6· ·who it is.· Is that fair?
 ·7· · · · ·A· · Correct.
 ·8· · · · ·Q· · Okay.· And there was subsequent coverage
 ·9· ·indicating the charges were dropped as well, correct?
 10· · · · ·A· · Correct.
 11· · · · ·Q· · So to the extent it was in the media you
 12· ·were arrested, it was also in the media when the
 13· ·charges were dropped?
 14· · · · ·A· · That's correct.
 15· · · · ·Q· · Okay.
 16· · · · · · · MS. MCGOVERN:· So are you doing okay?
 17· · · · Need a break?· Want to take a five-minute
 18· · · · break?
 19· · · · · · · THE WITNESS:· Thanks for asking.· I'm
 20· · · · okay.· I do definitely need some lunch at
 21· · · · some point in my life, but not -- it
 22· · · · doesn't have to be for -- you know,
 23· · · · 1:00 o'clock, maybe.
 24· · · · · · · MS. MCGOVERN:· Let's go off the record
 25· · · · real quick.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 122 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 122

 ·1· · · · · · · THE VIDEOGRAPHER:· This is the end of
 ·2· · · · Media 1.· The time is 12:46 p.m.· We're now
 ·3· · · · off the record.
 ·4· · · · · · · (Whereupon, the video camera was
 ·5· · · · turned off.)
 ·6· · · · · · · (Whereupon, a brief recess was taken.)
 ·7· · · · · · · (Whereupon, the video camera was
 ·8· · · · turned on.)
 ·9· · · · · · · THE VIDEOGRAPHER:· This is the
 10· · · · beginning of Media 2.· The time is
 11· · · · 12:53 p.m.· We're back on record.
 12· · · · · · · ·(Whereupon, Exhibit No. 1 was marked for
 13· · · · ·identification by the court reporter.)
 14· ·BY MS. MCGOVERN:
 15· · · · ·Q· · All right.· We're going to try to finish
 16· ·up here.· As a matter of housekeeping, I'm going to
 17· ·go ahead and mark but retain the copy of the video
 18· ·that was utilized as Defendant's Exhibit 1.
 19· · · · · · · ·(Whereupon, Exhibit No. 2 was marked for
 20· · · · ·identification by the court reporter.)
 21· ·BY MS. MCGOVERN:
 22· · · · ·Q· · And then I am now going to show you, as
 23· ·we finish up discussing JPay, what I've marked as
 24· ·Defense Exhibit 2.· Sorry, I don't have an extra
 25· ·copy, but if you and your attorney want to look that

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 123 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 123

 ·1· ·over, just the text of that real quick, and I'm just
 ·2· ·going to ask you a quick question.
 ·3· · · · ·A· · Okay.
 ·4· · · · ·Q· · And so do you remember receiving this
 ·5· ·communication by JPay e-mail from Ricky Dubose?
 ·6· · · · ·A· · Yes.
 ·7· · · · ·Q· · And I'll read it since we've got a lot of
 ·8· ·people online.· And I don't think I have a Bates
 ·9· ·number for you guys on Zoom, but essentially, he's
 10· ·writing to you and asking about your trip to visit
 11· ·(inaudible), how was your trip.· And says, Oh, I have
 12· ·a ring for you too, smiley face, smiley face.· Let me
 13· ·know if you get this, please.
 14· · · · ·A· · Uh-huh.
 15· · · · ·Q· · So what ring was he talking about?
 16· · · · ·A· · So Ricky had -- I don't know who did
 17· ·this.· Another inmate at that facility would make
 18· ·little, I don't know, jewelry pieces accessories and
 19· ·give them to the other inmates there.· And he had
 20· ·made several, is my understanding, little jewelry
 21· ·items for Ricky.· You know, it's like facilities have
 22· ·their underground marketplaces, so to speak, I guess.
 23· ·And Ricky gave me one of these.
 24· · · · ·Q· · Ricky gave you a ring?
 25· · · · ·A· · Yes.· It's -- it was, like, made of, I

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 124 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 124

 ·1· ·don't know, some, like, fabric, almost, like beaded
 ·2· ·fabric, maybe.· I don't -- I don't know exactly what
 ·3· ·the material was.· It was pretty -- what's the word
 ·4· ·I'm looking for?· You know, it's not like a
 ·5· ·sophisticated piece of, you know, making.
 ·6· · · · ·Q· · It wasn't metal?
 ·7· · · · ·A· · No.
 ·8· · · · ·Q· · Do you still have it?
 ·9· · · · ·A· · I do.
 10· · · · ·Q· · Can you provide at least a photograph of
 11· ·it to your counsel if not the actual item for
 12· ·examination?
 13· · · · ·A· · Sure.
 14· · · · ·Q· · What was your understanding of why Ricky
 15· ·was giving you a piece of jewelry?
 16· · · · ·A· · You know, I think that it was not
 17· ·uncommon, it still is not for many of my clients to
 18· ·send, you know, pictures to members of their defense
 19· ·team that they draw and, you know, try to give us
 20· ·little gifts and mementoes of their appreciation.
 21· ·You know, we -- Ricky had a team of like five people,
 22· ·I think.· And we were the only people who he really
 23· ·interacted with for many years.· You know, we were
 24· ·doing a lot of work for him for free, meaning no cost
 25· ·to him, and he was aware of that.· And he was

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 125 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                  Page 125

 ·1· ·honestly one of the more polite and respectful
 ·2· ·clients I've had.· He was very appreciative.
 ·3· · · · · · · And I think that he just -- he wanted
 ·4· ·to -- you know, he wanted to give me something that
 ·5· ·was a token of his appreciation for what we were
 ·6· ·doing for him.
 ·7· · · · ·Q· · A ring appears to have a little bit more
 ·8· ·significance than just your standard piece of art or
 ·9· ·something along those lines.
 10· · · · · · · Did it seem in any way inappropriate to
 11· ·be accepting a ring from someone you were working for
 12· ·professionally in this capacity?
 13· · · · ·A· · You know, it was unusual.· It was
 14· ·unusual, but, you know, I think he didn't make it
 15· ·himself.· My impression was he told this other inmate
 16· ·who was making different items like, Make
 17· ·something -- can you make something for Lily?· I know
 18· ·that he talked about all of us to other people
 19· ·because he would kind of tell us that he would, you
 20· ·know, talk about all of us to other people.· And I
 21· ·don't know if it was Ricky's idea for it to be a ring
 22· ·or if that's just what this other person made.               I
 23· ·don't know.
 24· · · · ·Q· · But he chose to give you a ring, not a
 25· ·friendship bracelet, not a piece of art.· He chose to

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 126 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 126

 ·1· ·give you a ring and noted it in an e-mail that he
 ·2· ·was --
 ·3· · · · ·A· · Uh-huh.
 ·4· · · · ·Q· · -- with smiley faces about giving it to
 ·5· ·you, right?
 ·6· · · · ·A· · That's correct.· He did -- and he did
 ·7· ·give me art as well at other times like, you know...
 ·8· · · · ·Q· · Has any other client that you've worked
 ·9· ·with given you a ring?
 10· · · · ·A· · No.
 11· · · · ·Q· · And this didn't cause any concern or
 12· ·suspicion with you?
 13· · · · ·A· · No.· No.
 14· · · · ·Q· · So I want to go ahead and move on to
 15· ·November 6, 2019, and the visit that then led to the
 16· ·arrest.· So why don't you walk me through that day as
 17· ·you went to go visit Ricky, and we'll move through
 18· ·that.
 19· · · · ·A· · Uh-huh.
 20· · · · · · · I had a morning visit, so I would usually
 21· ·schedule mornings visits for 9:00 o'clock.· It was
 22· ·always a while before I could get back there to see
 23· ·him, so I probably wasn't back there to see him until
 24· ·like 9:30.· I don't remember one whole -- I -- I'm
 25· ·trying to think of, like, the content of that visit.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 127 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 127

 ·1· ·I don't remember a whole lot.· I remember some.· And,
 ·2· ·you know, it was a standard run of the mill visit,
 ·3· ·like -- like, all of the ones I had with him.
 ·4· · · · · · · And when I was leaving, I went out to
 ·5· ·kind of that lobby area that I mentioned to you in
 ·6· ·the main facility, and there's a door that's, you
 ·7· ·know, obviously locked.· And it's like a -- mostly
 ·8· ·glass, from what I remember, so you can, like, look
 ·9· ·through and see.
 10· · · · · · · And I remember standing there for a
 11· ·while.· You know, usually, I would maybe have to
 12· ·stand for a few seconds or something, and then the
 13· ·officer doing the door keys would unlock it.· And I
 14· ·remember standing there for quite a while and
 15· ·wondering, like, What's going on?· Maybe they're in
 16· ·the bathroom.· Like, make -- maybe, you know, they're
 17· ·having -- something came up, and they're just not
 18· ·paying attention that, you know, they need to unlock
 19· ·this door.
 20· · · · · · · And so I was standing there for a while,
 21· ·and then I noticed some people -- and I'm sorry --
 22· ·you know, outside from that standalone security area
 23· ·coming up the path to come into the main facility
 24· ·where I was.· Now I know it was Nathan Adkerson with
 25· ·two other officers with him.· And I thought, Oh, this

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 128 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 128

 ·1· ·is -- this is good.· When they come in, the door will
 ·2· ·open, and I'll be able to go out.
 ·3· · · · · · · But when they -- when they got there,
 ·4· ·Nathan Adkerson said, Step aside, Ms. Engleman.· And
 ·5· ·I remember being very shocked that he knew my name.
 ·6· ·I'd never seen him before, had no idea who he was.
 ·7· ·And so I kind of moved aside with them, and he told
 ·8· ·me that he had an arrest warrant for contraband,
 ·9· ·which, I'm sorry, I just still think it's so
 10· ·ludicrous.
 11· · · · · · · And so we -- we talked there in the
 12· ·facility for 20 minutes, maybe.· We talked in the
 13· ·facility.· We went outside.· He handcuffed me there.
 14· · · · ·Q· · Outside or inside?
 15· · · · ·A· · Inside.
 16· · · · · · · He handcuffed me inside, and I was very
 17· ·concerned about my case notebook and, you know,
 18· ·retaining possession of that.· I was very concerned
 19· ·about all of this being utilized in a way for prison
 20· ·officials or other people to, like, learn privileged
 21· ·information about Ricky.
 22· · · · · · · So, you know, he handcuffed me there.                I
 23· ·was able to still kind of retain possession of my
 24· ·case notebook.· We went outside to the parking lot.
 25· ·I was in an agency vehicle.· They searched the

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 129 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 129

 ·1· ·vehicle.· And he explained to me that we had to wait
 ·2· ·there for a while because an officer from the Butts
 ·3· ·County Sheriff's Department had to come, and that was
 ·4· ·quite a ways away.· Like, it was the town of Jackson
 ·5· ·is, I don't know, 15 minutes away from the facility,
 ·6· ·I think.
 ·7· · · · · · · So we had to wait a while for a sheriff's
 ·8· ·officer to come.· Mr. Adkerson explained, you know,
 ·9· ·that I would be going to -- you know, being booked in
 10· ·the sheriff's department and such.· And yeah, that's
 11· ·what happened.· The sheriff's officer came and got in
 12· ·the car, and we went to the sheriff's department.
 13· ·And there it was when I saw the media at the
 14· ·sheriff's department.
 15· · · · ·Q· · Okay.· So let me back up for just a
 16· ·minute.
 17· · · · · · · You say you talked with Nathan for about
 18· ·20 minutes.
 19· · · · · · · What was discussed during that
 20· ·20 minutes?
 21· · · · ·A· · So he -- you know, he explained that he
 22· ·had this arrest warrant.· He explained that he had
 23· ·been recording -- they had been recording and
 24· ·watching legal visits.· So I was shocked and frankly
 25· ·scared because I thought that's not supposed to be

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 130 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 130

 ·1· ·happening, like what are these people doing here.
 ·2· ·That is -- that is not supposed to be happening.· And
 ·3· ·it felt like they were playing -- it felt like they
 ·4· ·were playing a game, that I wasn't really sure what
 ·5· ·the rules were, because I was like, that's not
 ·6· ·supposed to be happening.· And I know I did not give
 ·7· ·my client contraband.· I also knew that Ricky was
 ·8· ·strip searched after every single legal visit.
 ·9· · · · · · · So it felt like they were -- I was just
 10· ·very scared about what they were doing.· And, you
 11· ·know, he told me that he watched this video in which
 12· ·I gave something -- I passed something blue to Ricky.
 13· · · · · · · And I remember just being, like, so
 14· ·dumbfounded and saying something like, Was I picking,
 15· ·like, lint off my shirt and maybe just, like, you
 16· ·know, on the table or on the ground, like getting
 17· ·lint off my shirt?· Like, what are you talking about?
 18· · · · · · · And he's like, No, it's not lint.· And,
 19· ·you know, he said several times, You're going to be
 20· ·booked into the Butts County Sheriff's Department,
 21· ·and then I want to sit down and talk to you about
 22· ·what happened.
 23· · · · · · · And that, of course -- I was like, Do you
 24· ·think -- it felt to me at the moment like they were
 25· ·just, like, manufacturing -- I'm not saying that

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 131 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 131

 ·1· ·that's -- you know, I don't know what their motives
 ·2· ·were.· But it felt to me in the moment that they were
 ·3· ·manufacturing this arrest and the attempt to scare me
 ·4· ·so that they could get me in a room alone and get me
 ·5· ·to tell them privileged information about my client.
 ·6· ·And I was, like, offended that he thought I would
 ·7· ·maybe do that.
 ·8· · · · ·Q· · Did he ever ask you for privileged
 ·9· ·communications?
 10· · · · ·A· · Well, he said, I want to sit down and
 11· ·talk to you about what's going on with Ricky, yeah.
 12· · · · · · · And I kept telling him, I'm not going
 13· ·to -- I'm not going to talk to you about my client.
 14· · · · ·Q· · When he was talking to you about
 15· ·contraband and saying he wanted to talk to you about
 16· ·what was going on, did he ever say, I want your
 17· ·privileged communications about your case with Ricky?
 18· · · · ·A· · No, but any of my communications with my
 19· ·client are privileged, any of my -- so, you know, I
 20· ·don't know how he could talk to me about my client
 21· ·without me divulging privileged information.
 22· · · · ·Q· · Even though he was talking to you about
 23· ·this contraband issue and what he saw on a video that
 24· ·had nothing to do with verbal communications?· You
 25· ·were assuming he wanted your --

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 132 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 132

 ·1· · · · ·A· · I --
 ·2· · · · ·Q· · -- privileged information?
 ·3· · · · ·A· · I don't -- I don't think that there's any
 ·4· ·way for me to talk about my meetings with my client
 ·5· ·without talking about what would be privileged
 ·6· ·information.· At that moment, I did not see how that
 ·7· ·was possible.· And it would be --
 ·8· · · · ·Q· · That was your assumption, though?
 ·9· · · · ·A· · Yes.· And it would be incredibly
 10· ·inappropriate of me to talk to anybody about Ricky
 11· ·Dubose without his lead attorney being there.· So,
 12· ·you know, he said that many times.· And I kept saying
 13· ·as politely as I could, I'm not going to talk to you
 14· ·without Ricky's attorney there, without someone
 15· ·representing me there.· Like, why would I -- why
 16· ·would I ever do that?
 17· · · · · · · So that was mostly it.· I remember one of
 18· ·the female officers, I think, kind of patted me down.
 19· ·That's mostly what I remember talking to him about.
 20· · · · ·Q· · Okay.· So you said that you knew for a
 21· ·fact that Dubose was strip searched after every
 22· ·visit.
 23· · · · · · · What documents have you reviewed, and
 24· ·what witnesses have you gathered that information
 25· ·from?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 133 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 133

 ·1· · · · ·A· · I feel -- I just want to be careful with
 ·2· ·my answer because I feel like that's information I
 ·3· ·know about that was received pursuant to a protective
 ·4· ·order.· So I just want to be careful about that.
 ·5· · · · · · · MR. BEGNAUD:· Do you want to --
 ·6· ·BY MS. MCGOVERN:
 ·7· · · · ·Q· · My question, though, was very carefully
 ·8· ·put.
 ·9· · · · ·A· · Okay.
 10· · · · ·Q· · What documents did you review that
 11· ·demonstrate there was a strip search after every time
 12· ·he saw you?· I don't mean court documents.· I mean
 13· ·prison documents demonstrating there was --
 14· · · · ·A· · Yeah.
 15· · · · ·Q· · -- a strip search.
 16· · · · ·A· · Yes, but we received those documents
 17· ·pursuant to a protective order.
 18· · · · · · · MR. BEGNAUD:· I think we should
 19· · · · probably go off the record.· There's a
 20· · · · protective order you're not aware of.
 21· · · · · · · MS. MCGOVERN:· Okay.· That would
 22· · · · encompass that?
 23· · · · · · · THE WITNESS:· Yes.
 24· · · · · · · MR. BEGNAUD:· Do you want to go off
 25· · · · the record?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 134 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 134

 ·1· · · · · · · MS. MCGOVERN:· Yeah.
 ·2· · · · · · · THE VIDEOGRAPHER:· The time is
 ·3· · · · 1:07 p.m.· We're now off the record.
 ·4· · · · · · · (Whereupon, the video camera was
 ·5· · · · turned off.)
 ·6· · · · · · · (Whereupon, a brief recess was taken.)
 ·7· · · · · · · (Whereupon, the video camera was
 ·8· · · · turned on.)
 ·9· · · · · · · THE VIDEOGRAPHER:· The time is
 10· · · · 1:10 p.m.· We're back on the record.
 11· ·BY MS. MCGOVERN:
 12· · · · ·Q· · You didn't personally observe Ricky
 13· ·Dubose being strip searched after each visit, did
 14· ·you?
 15· · · · ·A· · No.
 16· · · · ·Q· · You weren't personally present to have
 17· ·firsthand knowledge about whether or not that
 18· ·occurred, correct?
 19· · · · ·A· · That's correct.
 20· · · · ·Q· · Okay.· In terms of the videos of the
 21· ·communications, we talked about that earlier in your
 22· ·testimony.· But you knew there was a video camera in
 23· ·the room, and you did not ask if it was recording or
 24· ·not, correct?
 25· · · · ·A· · That's correct.· It never occurred to me

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 135 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 135

 ·1· ·that it would be recording.
 ·2· · · · ·Q· · So there's a video camera in a room in a
 ·3· ·prison, and it never occurred to you that the video
 ·4· ·camera in a prison would be recording?
 ·5· · · · ·A· · Not for a legal visit, no.
 ·6· · · · ·Q· · Okay.· And you don't have knowledge who
 ·7· ·was in charge of that video camera working there,
 ·8· ·whether it had to do with Warden Morales and the
 ·9· ·people at Jackson State Prison versus anyone at OPS.
 10· ·I think we talked about that earlier.
 11· · · · ·A· · Yes, I don't have knowledge.
 12· · · · ·Q· · All right.· And so you said that you had
 13· ·this conversation with Mr. Adkerson, and he said he
 14· ·wanted to talk to you, but he was -- wasn't he
 15· ·referencing the contraband issue and what he believed
 16· ·to be an exchange of contraband that he wanted to
 17· ·talk to you about?
 18· · · · ·A· · Yes.
 19· · · · ·Q· · Okay.· Now, they went and searched
 20· ·your -- it was him and you said there were two
 21· ·officers with him?
 22· · · · ·A· · Two -- yes, two female officers.· I think
 23· ·that there were also OPS agents with him.· And I'm so
 24· ·sorry, but I don't quite remember their names.
 25· · · · ·Q· · Sure.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 136 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 136

 ·1· · · · · · · And I think one might have been Ms. Moss?
 ·2· · · · ·A· · Yes.
 ·3· · · · ·Q· · Okay.· All right.· But they were not the
 ·4· ·Butts County sheriff officers?
 ·5· · · · ·A· · That's correct.
 ·6· · · · ·Q· · Correct.
 ·7· · · · · · · And they went and searched your vehicle,
 ·8· ·and then there was discussion about your phone as
 ·9· ·well and what to do with that because of privileged
 10· ·information, wasn't there?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · Can you tell me about that?
 13· · · · ·A· · Yes.
 14· · · · · · · The capital defenders office did not give
 15· ·us agency cell phones.· You know, we had obviously
 16· ·desk phones, but we had to use our personal cell
 17· ·phones for a lot of team communications.· You know,
 18· ·my work e-mail, like I had Outlook app on there, you
 19· ·know, that had all my work e-mail was to there and
 20· ·tons of text messages with not just the Dubose team
 21· ·but, you know, members from all the other teams I was
 22· ·on.
 23· · · · ·Q· · So ultimately, what happened that day in
 24· ·terms of your phone?
 25· · · · ·A· · They took it.· They said that they were

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 137 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 137

 ·1· ·going to get a search -- a search warrant for it.                  I
 ·2· ·explained many times over that I was very concerned
 ·3· ·because there was a lot of privileged information on
 ·4· ·the phone.· Mr. Adkerson assured me that he would get
 ·5· ·a search warrant, everything would be fine, and I
 ·6· ·would get the phone back in about three days.
 ·7· · · · · · · And I remember thinking in my head,
 ·8· ·That's -- that's not going to happen.· I mean, I work
 ·9· ·in this field.· It's like I knew that what was going
 10· ·to happen was my agency was going to litigate that.
 11· ·They were going to try to get a special master to
 12· ·look at the phone.· You know, it wasn't just going to
 13· ·be a thing of, Let's just get a search warrant and
 14· ·look at the phone and give the phone back to her.· So
 15· ·I knew that it was going to get tied up in
 16· ·litigation.· And it was.· So I -- I -- you know, I
 17· ·think the phone was released to me like a year later
 18· ·or something.
 19· · · · ·Q· · You're aware that Mr. Adkerson is not an
 20· ·attorney, correct?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · And it was returned to you, and it was
 23· ·ultimately decided not to -- not to search your
 24· ·phone?
 25· · · · ·A· · Yes.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 138 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 138

 ·1· · · · ·Q· · In communications with your office, the
 ·2· ·DA's office and others, correct?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · The lawyers decided, correct?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · You don't have any knowledge about
 ·7· ·Mr. Adkerson's training, experience, background,
 ·8· ·expertise or anything along those lines, correct?
 ·9· · · · ·A· · Well, I know that he's a law enforcement
 10· ·officer.
 11· · · · ·Q· · Right.
 12· · · · · · · But beyond that general statement, you
 13· ·don't have any further knowledge about him, correct?
 14· · · · ·A· · That's correct.
 15· · · · ·Q· · So when the Butts County sheriffs came,
 16· ·they picked you up and took you to the courthouse.
 17· ·Mr. Adkerson was not with you, correct?
 18· · · · ·A· · Yeah, that's correct.
 19· · · · ·Q· · Okay.· Was that the last contact that you
 20· ·had with Mr. Adkerson?
 21· · · · ·A· · Yes.
 22· · · · ·Q· · Okay.· Was there -- was there subsequent
 23· ·communications that you're aware of -- and I'm not
 24· ·asking what they were -- between your attorney, Don
 25· ·Samuel, and Nathan Adkerson, to your knowledge?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 139 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 139

 ·1· · · · ·A· · Yes.· I think -- I think Don had a phone
 ·2· ·conversation with him, you know, within the next week
 ·3· ·or so, maybe.· I don't know if they talked multiple
 ·4· ·times.
 ·5· · · · ·Q· · Okay.· So you went.
 ·6· · · · · · · Where were the media when you arrived at
 ·7· ·the Butts County courthouse?
 ·8· · · · ·A· · They were -- so we -- we pulled into the
 ·9· ·backside of the sheriff's department.· I'm sorry, I
 10· ·don't know the terminology for these kinds of
 11· ·buildings, but the -- I don't know, like, their
 12· ·garage-looking thing.· And they were -- they were
 13· ·right there, like right as I got out of the car.
 14· · · · ·Q· · Okay.· And have you done any
 15· ·investigation to try to determine who notified the
 16· ·media?
 17· · · · ·A· · Yes.
 18· · · · ·Q· · And what has your investigation yielded?
 19· · · · ·A· · I can't figure it out.
 20· · · · ·Q· · Oh.
 21· · · · ·A· · I don't know.
 22· · · · ·Q· · Was your investigation just like looking
 23· ·online or talking to people or -- and I'm not asking
 24· ·what your attorney did.· I'm asking what you did.
 25· · · · ·A· · I mean, we -- the -- we, as a Dubose

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 140 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 140

 ·1· ·team, I mean, we pulled everybody up on the stand
 ·2· ·that we could to ask them.
 ·3· · · · ·Q· · Okay.· And so you were booked.· And then
 ·4· ·tell me what happened after that.
 ·5· · · · ·A· · I was booked.· Mark Winne with Channel 2
 ·6· ·news was there to film the whole thing and kind of
 ·7· ·pepper me with questions when I wasn't, you know,
 ·8· ·actively answering questions of the people.· I was --
 ·9· ·I was booked in.· I was placed in a holding cell.                  I
 10· ·was told that the next, like, bond hearing was, like,
 11· ·at 2:00 o'clock or something and that I was just
 12· ·going to have to wait until then.
 13· · · · · · · At the bond hearing, they took me in, you
 14· ·know, fully -- fully shackled with the waist chains
 15· ·and everything, which seemed very excessive to me.
 16· ·Mark Winne was set up in there as well, filmed it
 17· ·all.· I remember that there were two other defendants
 18· ·in there as well who seemed, you know, very confused
 19· ·as to what was going on.
 20· · · · · · · I was granted bond.· After the hearing,
 21· ·that was when I was told I could call someone.· I was
 22· ·told I could not call anyone until after the hearing.
 23· ·It was very strange, in my opinion.· I was also told
 24· ·that I could not bond myself out because I said
 25· ·that's -- I'll pay the $5,000, and I was told I

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 141 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 141

 ·1· ·couldn't -- I couldn't do that.· Someone else had to
 ·2· ·pay -- I don't know if that's normal or not.· To me,
 ·3· ·it was just -- seemed really weird.
 ·4· · · · · · · So I had to call a bail bondsman, and I
 ·5· ·called Amber Pittman, who is the lead attorney on the
 ·6· ·Dubose team.· She had already found out what had
 ·7· ·happened because I learned later Mark Winne had
 ·8· ·called, like, the media rep or whatever for the
 ·9· ·public defender council to ask them what was going
 10· ·on.· They had no idea.· But because of that phone
 11· ·call, you know, it kind of went down the chain of
 12· ·command within my agency until the capital defenders
 13· ·office found out what was going on.· So Amber was
 14· ·already on her way.
 15· · · · · · · So she got me.· And there was another
 16· ·member of the Dubose team there with her, and we
 17· ·drove back to the prison to pick up the agency
 18· ·vehicle that was still there.· And then she -- you
 19· ·know, I had multiple phone conversations on her cell
 20· ·phone since I didn't have mine with the director of
 21· ·the capital defenders office, who, you know, they had
 22· ·no idea what was going on.· And he just said, We have
 23· ·no idea what's going on.· Come into the office
 24· ·tomorrow.· We'll talk about this, you know.· And she
 25· ·drove me to a MARTA station, and I took MARTA home.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 142 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 142

 ·1· · · · ·Q· · All right.· And then subsequently, there
 ·2· ·was an arraignment, and then after that, there were
 ·3· ·discussions with your criminal attorney and DA Adams,
 ·4· ·and the charges were ultimately dropped; is that
 ·5· ·correct?
 ·6· · · · ·A· · That's correct, about a year and a half
 ·7· ·later.
 ·8· · · · ·Q· · Okay.· And if some of the other folks who
 ·9· ·want to ask questions more about that, I'll pass the
 10· ·buck to them.
 11· · · · ·A· · Sure.
 12· · · · ·Q· · So in terms of damages you've
 13· ·experienced -- we've talked a lot about your work
 14· ·history and how that went and progressed.· And your
 15· ·attorney is going to get me the financials so we
 16· ·can -- we don't need to go further into that.
 17· · · · · · · You have made claim about mental health
 18· ·issues as a result.· So first, I want to ask about
 19· ·what -- who you're treating with, if you're still
 20· ·treating with them, and what you're treating for.
 21· · · · ·A· · No, I'm not currently seeing a mental
 22· ·health provider.· I saw LPC Lauren Alexander in
 23· ·2020 -- 2020, I think it was.· Yes, 2020.
 24· · · · ·Q· · For how long?
 25· · · · ·A· · I actually didn't see her for too long.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 143 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 143

 ·1· ·It was a few months.· I don't remember exactly how --
 ·2· ·how long that was, yes.
 ·3· · · · ·Q· · Okay.· And did she prescribe any
 ·4· ·medications?
 ·5· · · · ·A· · No.· She can't -- I mean, she's an LPC.
 ·6· · · · ·Q· · Okay.
 ·7· · · · ·A· · So she can't prescribe meds.· She
 ·8· ·recommended that I consult a psychiatrist, I go to a
 ·9· ·psychiatrist.· She thought that anxiety medication
 10· ·would be really beneficial.· For various personal
 11· ·reasons, I -- I didn't really want to do that.· So I
 12· ·didn't do that.
 13· · · · ·Q· · Okay.· You said you see a psychiatrist.
 14· · · · · · · Who's that?
 15· · · · ·A· · No, I don't.
 16· · · · ·Q· · Oh, you don't, okay.
 17· · · · ·A· · I said that she recommended --
 18· · · · ·Q· · Okay.
 19· · · · ·A· · -- I see a psychiatrist --
 20· · · · ·Q· · Okay.
 21· · · · ·A· · -- to get on antianxiety meds, but I
 22· ·didn't want to do that.
 23· · · · ·Q· · Have you, at any point in your life, been
 24· ·on any mental health medications?
 25· · · · ·A· · No, which is why I didn't really want to.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 144 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 144

 ·1· · · · ·Q· · Okay.· Sure.
 ·2· · · · · · · And so you had essentially therapy
 ·3· ·with --
 ·4· · · · ·A· · Yes.
 ·5· · · · ·Q· · -- with Lauren Alexander for a few
 ·6· ·months?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · And did she give you any diagnoses?
 ·9· · · · ·A· · I don't know what diagnoses is on, like,
 10· ·her -- her billing paperwork because that's kind of,
 11· ·like, diagnoses, primarily, is for, a lot of times,
 12· ·the mental health world is so you can bill -- you
 13· ·have to have a diagnosis to bill.· So I don't know
 14· ·what she put down.· She told me informally, you know,
 15· ·in a session, she said it -- you know, This is
 16· ·obvious- -- obviously like very high anxiety, and
 17· ·you're displaying a lot of PTSD symptoms.· I don't
 18· ·know if that's a formal diagnosis that she put down
 19· ·for billing purposes.· I haven't seen the records.
 20· · · · ·Q· · Okay.· So you don't have a formal
 21· ·diagnosis that you know of for PTSD?
 22· · · · ·A· · That's correct.
 23· · · · ·Q· · Okay.· And any other diagnosis that she
 24· ·gave you that you're aware of?
 25· · · · ·A· · Right.· I actually never saw paperwork.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 145 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 145

 ·1· · · · ·Q· · Okay.· All right.· Any other mental
 ·2· ·health ramifications, issues, problems that you
 ·3· ·experienced as a result of this incident for which
 ·4· ·you're claiming damages in this case?· For example, I
 ·5· ·think you mentioned insomnia in your discovery
 ·6· ·responses.
 ·7· · · · ·A· · Yeah, I'm just trying to think of how to
 ·8· ·answer this because it feels very broad.
 ·9· · · · ·Q· · It is.· It's kind of to give you your
 10· ·chance to -- to tell me what's not just in the
 11· ·medical records --
 12· · · · ·A· · Right.· Right.
 13· · · · ·Q· · -- and the financial documents.
 14· · · · ·A· · Yeah.· You know, I -- for a long period
 15· ·of time, there is very -- what I would call, like,
 16· ·very acute and longstanding depression, because, you
 17· ·know, at the time, this was -- it was incredibly
 18· ·destabilizing, and it just came out of nowhere.· It
 19· ·was completely not something I could have predicted
 20· ·would have happened to me.· And, you know, to
 21· ·immediately be placed -- I was immediately placed on
 22· ·administrative leave, which I understand, you know,
 23· ·why that happened, but I -- I've never been under
 24· ·criminal prosecution before.· And I think I did not
 25· ·have a proper understanding of how horrifically

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 146 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 146

 ·1· ·stressful it is to be under a criminal prosecution
 ·2· ·when you're innocent and you haven't -- and you feel
 ·3· ·like these people are coming after me and I haven't
 ·4· ·done anything.· And it really kind of takes away so
 ·5· ·much that you have worked hard for in your life.
 ·6· · · · · · · It was very -- it was very hard to -- you
 ·7· ·know, I'm thinking about in the immediate aftermath
 ·8· ·when I was on administrative leave for those
 ·9· ·three months.· It was -- it was very challenging to
 10· ·wake up every day because I didn't have -- I don't
 11· ·want to say, like, I didn't have anything to do, but
 12· ·it's, like, I would wake up and be, like, I'm not
 13· ·doing what I'm supposed to be doing, which is going
 14· ·into my work and my job because of this situation and
 15· ·not knowing how it was going to turn out was -- it
 16· ·was frankly terrifying.· And especially because I
 17· ·understand that this is just my perception -- and I'm
 18· ·not saying that this is reality, per se, but my
 19· ·perception was that I had been targeted as a member
 20· ·of his defense team.
 21· · · · · · · You know, I had serious doubts that they
 22· ·actually thought I had really done this.· I thought
 23· ·that this was very kind of manufactured at the time.
 24· ·And so it seemed it was very scary for me because I
 25· ·felt like -- it felt like these, like, forces larger

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 147 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 147

 ·1· ·than me were coming in and ripping my life apart.
 ·2· ·You know, which is why I said I started working at
 ·3· ·the Wing Factory just to kind of give myself
 ·4· ·something to preoccupy myself with.
 ·5· · · · · · · When I started going back to work in
 ·6· ·mid-February, I remember when I first got that call
 ·7· ·that they were bringing me back, I was elated, of
 ·8· ·course.· And then the next day just terrified and,
 ·9· ·like, overwhelming anxiety because it was -- it was,
 10· ·like, suddenly, I realized I'm going back into this
 11· ·environment, like my -- my -- my position is a
 12· ·mitigation specialist with this agency working on
 13· ·capital defense, like, could not keep me safe.· And
 14· ·now I'm voluntarily going back?· Like, what if this
 15· ·happens again?
 16· · · · · · · It was very -- that's when the more to,
 17· ·like, PTSD-type symptoms started occurring, was at
 18· ·that point.· I did not go out into the field for a
 19· ·few weeks.· I would just kind of go to the office and
 20· ·do office work, and I struggled with that.· It felt
 21· ·like this -- this job that I loved so deeply suddenly
 22· ·felt extremely unsafe to me.· But I also felt like I
 23· ·hadn't been working my cases for three months, like
 24· ·there's been no mitigation specialist on my case.                  I
 25· ·had other cases, you know, outside of Ricky's case,

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 148 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 148

 ·1· ·and those cases were just -- there was no mitigation
 ·2· ·doing -- you know, specialist doing any work on those
 ·3· ·cases.· I felt a lot of internal pressure to get back
 ·4· ·out there and try to -- try to do my job.
 ·5· · · · · · · So I remember I started going to -- I had
 ·6· ·a client based out of Augusta.· He was incarcerated
 ·7· ·in the county jail in Augusta.· I wouldn't go there.
 ·8· ·I did not feel comfortable going to correctional
 ·9· ·facilities.· But there were, you know, just
 10· ·collateral witnesses to interview in the Augusta
 11· ·area.· And I remember thinking, Okay, I could maybe
 12· ·go and do that.· I won't go to a correctional
 13· ·facility.· I think that I can handle, you know,
 14· ·talking to some school teachers in Augusta.· Excuse
 15· ·me.
 16· · · · · · · And that was -- that did not go well.
 17· ·And I remember just, like, paralyzing anxiety and
 18· ·fear just about being out doing this job, and -- and
 19· ·that was when I decided that I needed to get help.
 20· ·That was when I -- like, I called my employee
 21· ·assistance program, you know, from that hotel room in
 22· ·Augusta, and they hooked me up with Lauren Alexander.
 23· · · · · · · So she was great.· She was really good.
 24· ·It was -- I think that she -- I think she did a
 25· ·really good job of, you know, teaching me, like,

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 149 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 149

 ·1· ·anxiety-coping skills.· And that was also around the
 ·2· ·time that the pandemic was happening.
 ·3· · · · · · · So the -- what am I trying to say,
 ·4· ·everything kind of shut down.· And I wasn't going out
 ·5· ·into the field anymore because of COVID.· We were
 ·6· ·working remotely because of -- because of COVID.· And
 ·7· ·during that summer, this was the summer of 2020, I
 ·8· ·started feeling a little bit more stable in terms of
 ·9· ·what was going on with the anxiety issues.· But there
 10· ·was in terms of, like, my job being able to go out
 11· ·into the field, being able to go to correctional
 12· ·facilities because I just wasn't.· And so if you're
 13· ·not doing something, you know, that's a nice way to
 14· ·feel okay about it, I guess.
 15· · · · · · · But it was really terrifying knowing that
 16· ·this criminal prosecution was still going on.· In
 17· ·November, I found out that I was -- had been
 18· ·indicted.· It was an absolute shock to me.· I didn't
 19· ·understand how a grand jury can indict me on a video
 20· ·that I knew didn't show anything.· And I think that
 21· ·it kind of, for me -- at least, again, my perception
 22· ·reinforced this idea that it -- it just felt like it
 23· ·was a shady process.· And that was, again, scary for
 24· ·me to be in.
 25· · · · · · · You know, immediately following the

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 150 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 150

 ·1· ·indictment, my -- my huge concern suddenly became my
 ·2· ·job security.· And Omotayo Alli made it very clear
 ·3· ·that, you know, even though she moved me to that
 ·4· ·other agency, the office of the mental health
 ·5· ·advocate, that she -- she made it very clear that she
 ·6· ·did not like the situation and that she, you know,
 ·7· ·would be happy with me just not there at all.· And
 ·8· ·that is, of course, eventually what happened
 ·9· ·two months later.
 10· · · · · · · It's very scary to be under a felony
 11· ·indictment because of work that you do for an agency
 12· ·and then have that agency terminate you because I
 13· ·knew no one else was going to hire me, which is what
 14· ·I was saying earlier when I said I felt very betrayed
 15· ·by them.· They knew that.· They knew that.· And it
 16· ·was -- you know, I have bills to pay.· It was -- it
 17· ·was very scary, and it was very depressing.
 18· · · · · · · It was a very hard place to be in until I
 19· ·got the job I'm currently in, which happened a year
 20· ·ago.· It felt like, you know, I went into significant
 21· ·debt.· It felt like -- it's hard to explain, but it
 22· ·felt like I was on this train, and I wasn't the
 23· ·conductor.· It was, like, my own life.· And these
 24· ·other people who didn't care about me who had no
 25· ·concern for my well-being were, like, driving the

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 151 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 151

 ·1· ·train, and I couldn't get off.· And it was just -- it
 ·2· ·was just going.· And I was doing everything I could
 ·3· ·to try to, like, make money for myself and have a
 ·4· ·professional life and, you know, move forward with
 ·5· ·these.· And I just -- it was -- it was very hard.· It
 ·6· ·was very hard.
 ·7· · · · · · · MS. MCGOVERN:· I'm not going to have
 ·8· · · · any further questions, but do you want to
 ·9· · · · break before we have the other counsel to
 10· · · · the extent they have any?
 11· · · · · · · MR. BEGNAUD:· Thanks.
 12· · · · · · · MS. MCGOVERN:· And thank you.· But
 13· · · · yeah, please feel free to take a
 14· · · · five-minute break.
 15· · · · · · · THE VIDEOGRAPHER:· The time is
 16· · · · 1:33 p.m.· We're now off the record.
 17· · · · · · · (Whereupon, the video camera was
 18· · · · turned off.)
 19· · · · · · · (Whereupon, a brief recess was taken.)
 20· · · · · · · (Whereupon, the video camera was
 21· · · · turned on.)
 22· · · · · · · THE VIDEOGRAPHER:· The time is
 23· · · · 1:40 p.m.· We're back on the record.
 24· · · · · · · · · · · EXAMINATION
 25· ·BY MR. COLE:

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 152 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 152

 ·1· · · · ·Q· · Ms. Engleman, my name is Chuck Cole.
 ·2· ·There are a number of defendants in this case, and my
 ·3· ·client is Mike Riley.
 ·4· · · · · · · Do you know who Mike Riley is?
 ·5· · · · ·A· · No.· I definitely never met him --
 ·6· · · · ·Q· · Okay.
 ·7· · · · ·A· · -- to my knowledge.
 ·8· · · · ·Q· · All right.· I'll be very brief.· But I
 ·9· ·want to talk to you about the conference room where
 10· ·this meeting occurred that was videotaped on
 11· ·September 6th of 2019, this meeting between you and
 12· ·Mr. Dubose.
 13· · · · · · · Did I understand you to say that there
 14· ·was a security guard or officer of some sort outside
 15· ·of the meeting room?
 16· · · · ·A· · Yes.
 17· · · · ·Q· · And this meeting room had glass walls,
 18· ·correct?
 19· · · · ·A· · To be honest, I don't remember if the
 20· ·wall was completely glass or if it was a mix.              I
 21· ·think it was a mix.· But it was -- it was more
 22· ·visible than some other correctional facilities I've
 23· ·been to in terms of how much glass was there.· I do
 24· ·remember that.
 25· · · · ·Q· · During -- during that meeting on

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 153 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 153

 ·1· ·September 6th of 2019 with Mr. Dubose, do you recall
 ·2· ·being able to see the security officer or the
 ·3· ·security guard?
 ·4· · · · ·A· · I -- I don't remember particularly, but I
 ·5· ·do remember that when I would be there -- you know, I
 ·6· ·could just kind of move my chair, kind of look at
 ·7· ·them, because sometimes they might indicate to us if
 ·8· ·there were, like, another officer coming to relieve
 ·9· ·them or something like that.· You know, I would
 10· ·motion to them if we were finished or things like
 11· ·that.· So I could kind of lean back and see them, but
 12· ·I don't remember sitting, like, right there, if I
 13· ·could just -- I don't remember.
 14· · · · ·Q· · Okay.
 15· · · · ·A· · Yeah.
 16· · · · ·Q· · But on -- on September 6th of 2019, you
 17· ·remember making eye contact with the security guard
 18· ·or the security officer during your meeting with
 19· ·Mr. Dubose?
 20· · · · ·A· · I don't remember.
 21· · · · ·Q· · I'll ask it more generally.
 22· · · · · · · Generally, when you met with Mr. Dubose,
 23· ·do you recall that you would make eye contact with
 24· ·the security guard or the security officer who was, I
 25· ·guess, outside the door?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 154 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 154

 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · Okay.· Did it ever bother you that a
 ·3· ·security guard or security officer was sitting
 ·4· ·outside within -- with the ability to see the inside
 ·5· ·of the room?
 ·6· · · · ·A· · Yes.
 ·7· · · · ·Q· · And did you ever raise that issue with
 ·8· ·anybody?
 ·9· · · · ·A· · No.· No, because I understood that, you
 10· ·know, what may be most comfortable to me in a legal
 11· ·visit with a client, you know, has to be balanced by
 12· ·facility security.· And it was not uncommon at other
 13· ·facilities for guards to sit, you know, outside the
 14· ·door.· You know, you always worry about if they could
 15· ·accidentally overhear something that you're saying or
 16· ·something like that.· But I understood that that was
 17· ·just -- that was a security measure that needed to
 18· ·happen.
 19· · · · ·Q· · Okay.· In your mind, is there any
 20· ·difference between a security guard being able to see
 21· ·what's going on in your meeting with Mr. Dubose and
 22· ·that meeting being recorded?
 23· · · · ·A· · Yes.
 24· · · · ·Q· · Okay.· Explain that for me.
 25· · · · ·A· · This is, you know, my perception.              A

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 155 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 155

 ·1· ·meeting being recorded concerns me more because I
 ·2· ·worry about the ability to zoom in.
 ·3· · · · ·Q· · I'm sorry, you can -- you're worried
 ·4· ·about that?
 ·5· · · · ·A· · The ability to zoom in --
 ·6· · · · ·Q· · Okay.
 ·7· · · · ·A· · -- and see written documents.· You know,
 ·8· ·I was often there for -- you know, with my case
 ·9· ·notebook and to talk to him about mitigation things,
 10· ·but the other people on the team would often go there
 11· ·with large quantities of discovery documents.· You
 12· ·know, that concerns me.· It concerns me -- the
 13· ·position of that camera is not such that you could
 14· ·really see our mouths very well, but it concerns me
 15· ·just in general having a recorded visit that could
 16· ·then be shown to, you know, someone who could read
 17· ·lips or something like that to try to figure out
 18· ·what's going on.
 19· · · · · · · The security officer outside the door was
 20· ·there for security reasons and not to try to figure
 21· ·out, you know, what we were talking about.· And
 22· ·the -- the concern with recorded visit is that it
 23· ·could be misutilized and used to that -- to that aim
 24· ·of trying to figure out what we were talking about.
 25· · · · ·Q· · Uh-huh.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 156 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 156

 ·1· · · · · · · And do you know whether during any of
 ·2· ·your meetings with Mr. Dubose any sort of zoom-in
 ·3· ·feature was used so people could see the contents of
 ·4· ·documents?
 ·5· · · · ·A· · I -- I don't -- I don't know.
 ·6· · · · · · · MR. COLE:· Okay.· That's all I have.
 ·7· · · · · · · · · · · EXAMINATION
 ·8· ·BY MR. COX:
 ·9· · · · ·Q· · I have just a few questions.· My name is
 10· ·Charlie Cox.· I represent Mr. Nix and Mr. Richey.
 11· · · · · · · Have you met either one of those
 12· ·gentlemen?
 13· · · · ·A· · No, I don't think so.
 14· · · · ·Q· · Other than you and other members of the
 15· ·defense team, do you know if anyone else was able to
 16· ·have had contact visits with Mr. Dubose between June
 17· ·and November of 2019?
 18· · · · ·A· · No, they weren't.
 19· · · · ·Q· · I want to follow up just a few more
 20· ·questions about the visits in the room and the guard
 21· ·outside that you were just asked about.
 22· · · · · · · As we looked at the video of you speaking
 23· ·to Mr. Dubose, you were sitting on either side of a
 24· ·long table.· And to your right was a wall that had a
 25· ·lot of windows if not almost all glass, correct?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 157 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 157

 ·1· · · · ·A· · Yes.
 ·2· · · · ·Q· · Mr. Dubose was in front of you, correct?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · And then where was the guard situated in
 ·5· ·relation to you and Mr. Dubose and the glass windows
 ·6· ·on the right?
 ·7· · · · ·A· · So the guard was to my left.· Those glass
 ·8· ·windows were to my right.· What that was, was the
 ·9· ·kind of visitation views where you have the phones.
 10· ·So -- so that's what that was from my -- from my
 11· ·memory.· And so the hallway to come into the room
 12· ·was -- was on my left.· And that's where the officer
 13· ·sat.
 14· · · · ·Q· · And when we looked at the video earlier,
 15· ·you couldn't see the left side of the room that was
 16· ·to your left.
 17· · · · · · · Is that -- do you recall that?
 18· · · · ·A· · The hallway.· It was a hallway.
 19· · · · ·Q· · Okay.
 20· · · · ·A· · Yeah.
 21· · · · ·Q· · And was there a wall between you and the
 22· ·guard or just a hallway?· Give me a little better
 23· ·description of it.
 24· · · · ·A· · Yes.· So it was a hallway, a wall and
 25· ·there was the door.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 158 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 158

 ·1· · · · ·Q· · Okay.
 ·2· · · · ·A· · So you come into the room with the door.
 ·3· ·The door had a lot of glass in it.· My memory that
 ·4· ·I'm -- my memory is that yes, the hallway had glass
 ·5· ·too because I remember being able to walk down the
 ·6· ·hallway, and I could see him sitting in the room up
 ·7· ·there.· So it was pretty visible.
 ·8· · · · ·Q· · So when you are talking into the room
 ·9· ·where you would meet with Mr. Dubose, you would walk
 10· ·down a hallway and you could look to your right
 11· ·through windows in the wall and see the room that you
 12· ·would be meeting --
 13· · · · ·A· · It was to the --
 14· · · · ·Q· · -- with Mr. Dubose, correct?
 15· · · · ·A· · To the (inaudible) coming down the
 16· ·hallway, yes.· So --
 17· · · · ·Q· · Okay.· All right.
 18· · · · ·A· · Yeah, come down the hallway.· And I'm not
 19· ·supposed to gesture, but come down the hall -- you're
 20· ·walking down the hallway, the room would be here.
 21· · · · ·Q· · Okay.
 22· · · · ·A· · So we would turn in and then turn -- turn
 23· ·this way.· And I would be sitting, facing this
 24· ·direction.· And then those other visitation booths
 25· ·were to my right.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 159 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 159

 ·1· · · · ·Q· · Okay.· The result was you had glass
 ·2· ·windows on either side of where you were meeting with
 ·3· ·Mr. Dubose, correct?
 ·4· · · · ·A· · That's my memory, yes.
 ·5· · · · ·Q· · And then the guard would be on the
 ·6· ·outside of the room to your left either looking
 ·7· ·through a window or a door?
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · The window and the door while you were
 10· ·meeting?
 11· · · · ·A· · Yes.
 12· · · · ·Q· · Okay.· And about how far away was the
 13· ·guard when he was outside the other side of the door
 14· ·while you were meeting with Mr. Dubose?
 15· · · · ·A· · You know, it was a narrow hallway.· It
 16· ·was a narrow hallway, so, you know, if -- if the door
 17· ·is, like, right here, you know, they would be
 18· ·maybe -- they would be sitting on the other side of
 19· ·the hallway to allow any traffic to go through, you
 20· ·know, sitting there in a chair, usually.
 21· · · · ·Q· · Okay.· And --
 22· · · · ·A· · Three feet -- three or four feet, maybe,
 23· ·if I had to --
 24· · · · ·Q· · Okay.· You testified earlier about
 25· ·Mr. Dubose giving you a fabric-type ring that he had

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 160 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 160

 ·1· ·created or somebody in the prison had created that he
 ·2· ·gave you, correct?
 ·3· · · · ·A· · Yes.
 ·4· · · · ·Q· · And I think you said that he also gave
 ·5· ·you some art; is that correct?
 ·6· · · · ·A· · Like, on notebook paper.· He would -- he
 ·7· ·would mail me -- you know, I would ask him sometimes
 ·8· ·to write out certain things for me, you know, tell me
 ·9· ·the names of all your cousins, kind of deal and mail
 10· ·it in, things like that.· And he would sometimes
 11· ·include just on notebook paper, you know, drawings
 12· ·that he had done.
 13· · · · ·Q· · And do you still have that art that he
 14· ·gave you?
 15· · · · ·A· · I -- I do.
 16· · · · ·Q· · Okay.· That was separate than what may be
 17· ·or was in his file with the defenders office?
 18· · · · ·A· · It was in the file with the defenders
 19· ·office.· And after he died this past June, I asked if
 20· ·I could receive -- if I could -- if I could get the
 21· ·things that -- like, that -- that he had made for me,
 22· ·and they said that that was fine.
 23· · · · ·Q· · Other than that art that he made, was
 24· ·there anything else that you were able to take out of
 25· ·what had been in his file at the defenders office

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 161 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 161

 ·1· ·that you now have in your possession?
 ·2· · · · ·A· · I have -- I have the letters -- the
 ·3· ·letters that he sent me.· Most of them were, you
 ·4· ·know, case -- very case specific.· But basically, the
 ·5· ·capital defenders office gave me all the letters that
 ·6· ·were addressed to me.· My understanding is everyone
 ·7· ·on the team was allowed to keep -- because he would
 ·8· ·write different people on the team different letters,
 ·9· ·and we were able to keep the letters that he had
 10· ·written us and the different things that he had sent
 11· ·us individually.
 12· · · · ·Q· · Were all of the letters that you kept
 13· ·from him case specific, or were some of the letters
 14· ·personal that do not discuss the case?
 15· · · · ·A· · They all -- they all discussed
 16· ·mitigation.· It was -- it was -- you know, the
 17· ·letters that he would write to me, it would be me
 18· ·saying things like, Please write down -- you know,
 19· ·because memory -- in a meeting at the time, you know,
 20· ·maybe he couldn't remember certain things, and I'd
 21· ·say, Okay, please write down, you know, maybe your
 22· ·earliest memory of your dad, or he had a lot of
 23· ·issues with his family.· So I would ask about
 24· ·different -- you know, Can you share with me some
 25· ·memories of your dad's, you know, alcoholism or share

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 162 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 162

 ·1· ·me some -- some happy memories with this person or
 ·2· ·things like that.
 ·3· · · · · · · So they were -- they were all -- they
 ·4· ·were mostly personal stories.· There were some
 ·5· ·letters in which he would just kind of be talking
 ·6· ·about his -- the difficulty of being in a death
 ·7· ·penalty case and how depressed he was and things like
 ·8· ·that.· You know, we kept telling him if you're
 ·9· ·writing about your feelings, if you're writing about
 10· ·the case, if you're writing about anything, write to
 11· ·us.· You know, we're your legal team.· You know,
 12· ·don't -- it's just not safe and smart to, you know,
 13· ·write that to some- -- you know, someone else.
 14· · · · ·Q· · Are there other clients that you had that
 15· ·you also kept their communications after you left the
 16· ·defenders office?
 17· · · · ·A· · Yes.· I have a couple of letters from
 18· ·some other clients.· I think the letters I've kept
 19· ·from other clients are things that they sent me once
 20· ·their case resolved.
 21· · · · ·Q· · When Mr. Dubose would write letters to
 22· ·you, what name did he use to refer to you in the
 23· ·letter?
 24· · · · ·A· · I remember this very well.· He would
 25· ·always write Lily Engleman, and he would put it in

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 163 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 163

 ·1· ·quotation marks because I don't think he knew what
 ·2· ·quotation marks were for.· So he would -- he would
 ·3· ·Lily Engleman in quotation marks.
 ·4· · · · ·Q· · Like, on the outside of the letter?
 ·5· · · · ·A· · Uh-huh.
 ·6· · · · ·Q· · And what about at the -- the salutation
 ·7· ·part of the letter, or was there a salutation part of
 ·8· ·the letter?
 ·9· · · · ·A· · I honestly don't remember.· Hi, Lily,
 10· ·maybe something like that.
 11· · · · ·Q· · What name did you use when you
 12· ·communicated with Mr. Dubose, use for him?
 13· · · · ·A· · Ricky.· We all called him Ricky.· You
 14· ·know, there are some clients who I called
 15· ·Mr. So-and-So or Mrs. So-and-So.· There are some that
 16· ·I think it's better to use their first name.
 17· · · · · · · MR. COX:· Just one moment.· I don't
 18· · · · have any other questions.· Thank you.
 19· · · · · · · MR. GREEN:· Is there anyone else in
 20· · · · the room that has questions?
 21· · · · · · · MR. COX:· That's it for the room.
 22· · · · · · · · · · · EXAMINATION
 23· ·BY MR. GREEN:
 24· · · · ·Q· · Okay.· I just have a few questions for
 25· ·you, Ms. Engleman.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 164 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 164

 ·1· · · · · · · MR. BEGNAUD:· Mr. Green.
 ·2· ·BY MR. GREEN:
 ·3· · · · ·Q· · I represent Ms. Moss.
 ·4· · · · · · · You testified earlier that Ms. Moss was
 ·5· ·present on the day you were arrested; is that
 ·6· ·correct?
 ·7· · · · ·A· · Yes.
 ·8· · · · ·Q· · Prior to that, had you had any
 ·9· ·interaction or contact with Ms. Moss?
 10· · · · ·A· · No.
 11· · · · ·Q· · Did she say anything to you the day she
 12· ·was -- you were arrested?
 13· · · · ·A· · I honestly don't remember very well.               I
 14· ·remember talking to Mr. Adkerson a lot.· I remember
 15· ·one of either Ms. Moss or one of the other women
 16· ·patting me down, and maybe there was -- you know,
 17· ·there would have been some communication about that.
 18· ·I remember Mr. Adkerson doing most of the talking.                 I
 19· ·was -- I was very stressed, and I honestly don't
 20· ·remember specifically.
 21· · · · ·Q· · Okay.· Since then, have you had any
 22· ·contact with Ms. Moss?
 23· · · · ·A· · No.
 24· · · · ·Q· · The testimony about the fabric ring that
 25· ·was given to you, were there any items of jewelry or

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 165 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 165

 ·1· ·anything else made for any other members of the legal
 ·2· ·team?
 ·3· · · · ·A· · I -- I'm honestly not sure.· I just -- I
 ·4· ·don't remember.· I don't remember if he gave them --
 ·5· ·if he gave other people things when they visited.
 ·6· · · · ·Q· · And you may have already been asked this.
 ·7· ·I apologize if you have been.
 ·8· · · · · · · Can you describe the tattoos on his feet,
 ·9· ·Mr. Dubose's feet?
 10· · · · ·A· · No.· He had so -- he had so many.· He had
 11· ·so many.· You know, I -- I remember ones on his head
 12· ·a little bit better because those were ones I saw
 13· ·every time I saw him.· I don't specifically remember
 14· ·what was on his feet.
 15· · · · · · · MR. GREEN:· That's all I have.
 16· · · · · · · Does anybody else on Zoom have any
 17· · · · questions?
 18· · · · · · · ·(Whereupon, a discussion ensued off the
 19· · · · ·record.)
 20· · · · · · · MR. BEGNAUD:· And Eric O'Brien, are
 21· · · · you going to be going first?
 22· · · · · · · MR. O'BRIEN:· Yes.
 23· · · · · · · MR. BEGNAUD:· Okay.· Just identifying
 24· · · · for the Court Reporter.
 25· · · · · · · MR. O'BRIEN:· Yeah, this is Eric

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 166 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 166

 ·1· · · · O'Brien.· I represent Jonathan Adams.
 ·2· · · · · · · · · · · EXAMINATION
 ·3· ·BY MR. O'BRIEN:
 ·4· · · · ·Q· · Ms. Engleman, have you had any
 ·5· ·conversations with Jonathan Adams?
 ·6· · · · ·A· · No.
 ·7· · · · ·Q· · Now, you describe the process around the
 ·8· ·indictment as shady.
 ·9· · · · · · · Can you go into a little more specifics
 10· ·about what you mean by that?
 11· · · · ·A· · Around the indictment, specifically?
 12· · · · ·Q· · Yes.
 13· · · · ·A· · I remember -- I remember being informed
 14· ·by Don -- this is what Don told me.
 15· · · · · · · MR. BEGNAUD:· Actually, I think you
 16· · · · probably shouldn't be getting into what you
 17· · · · guys --
 18· · · · · · · THE WITNESS:· Okay.· I won't say that.
 19· · · · Sorry.
 20· · · · ·A· · It -- it seemed to come out of nowhere.
 21· ·It was a year after the arrest.· That seemed bizarre
 22· ·to me.· And I know that it was COVID time and
 23· ·everything, but the fact that it took a whole year to
 24· ·indict me, you know, seemed really unusual.· I -- I
 25· ·knew that there wasn't any evidence.· I knew I didn't

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 167 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 167

 ·1· ·give him anything.· I know that -- I knew that there
 ·2· ·was no contraband -- contraband found on him.· And so
 ·3· ·I -- I -- I just had -- I struggled to understand how
 ·4· ·it was indicted.
 ·5· ·BY MR. O'BRIEN:
 ·6· · · · ·Q· · Okay.· So there wasn't any acts or
 ·7· ·statement by anyone with the district attorney's
 ·8· ·office that you would describe as shady; is that
 ·9· ·correct?
 10· · · · ·A· · I don't know how to answer that without
 11· ·talking about conversations I had with Don Samuel.
 12· · · · · · · MR. BEGNAUD:· If you guys want to take
 13· · · · a break, I can chat with Ms. Engleman about
 14· · · · her legal options, and we can see if we
 15· · · · want to waive that.
 16· · · · · · · MR. O'BRIEN:· Yeah, that's fine.
 17· · · · · · · MR. BEGNAUD:· Okay.
 18· · · · · · · THE VIDEOGRAPHER:· The time is
 19· · · · 2:01 p.m.· We're now off the record.
 20· · · · · · · (Whereupon, the video camera was
 21· · · · turned off.)
 22· · · · · · · (Whereupon, a brief recess was taken.)
 23· · · · · · · (Whereupon, the video camera was
 24· · · · turned on.)
 25· · · · · · · THE VIDEOGRAPHER:· The time is

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 168 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 168

 ·1· · · · 2:05 p.m.· We're back on the record.
 ·2· · · · · · · MR. BEGNAUD:· And my client and I
 ·3· · · · spoke.· And as we discussed off the record,
 ·4· · · · just now my client is going to limit --
 ·5· · · · this will be a limited waiver of
 ·6· · · · attorney/client privilege where my client
 ·7· · · · will answer the question that you were
 ·8· · · · asking.
 ·9· ·BY MR. O'BRIEN:
 10· · · · ·Q· · Let me (inaudible) this first.
 11· · · · · · · In terms of the district attorney's
 12· ·office, did you only deal with Don Samuel?
 13· · · · ·A· · I'm sorry, you were breaking up a little
 14· ·bit.
 15· · · · · · · Can you say that again?
 16· · · · ·Q· · Was Don Samuel the only individual that
 17· ·you dealt with at the district attorney's office?
 18· · · · ·A· · Don Samuel was my attorney.
 19· · · · · · · You mean Jonathan Adams?
 20· · · · ·Q· · No, I'm sorry.· There's another Samuels
 21· ·in the district attorney's office, so I got
 22· ·(inaudible).
 23· · · · ·A· · Okay.
 24· · · · ·Q· · Sorry about that.
 25· · · · · · · Okay.· What conversations did you have

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 169 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 169

 ·1· ·with Don Samuel that -- that you relate back to the
 ·2· ·district attorney's office as being inappropriate or
 ·3· ·shady?
 ·4· · · · ·A· · So Don -- Don Samuel, my attorney, Don
 ·5· ·Samuel, called me in November of 2021 to tell me that
 ·6· ·I had been indicted about three weeks prior.· He said
 ·7· ·he was very surprised by this himself because he had
 ·8· ·conversations with Jonathan Adams in which he had
 ·9· ·asked Jonathan Adams, If you think that you want to
 10· ·move forward with an indictment, will you let me know
 11· ·on the front end?
 12· · · · · · · And Jonathan Adams had told him, Yes, I
 13· ·will.
 14· · · · · · · And so then when I was indicted and then
 15· ·we weren't notified for three weeks later, Don was --
 16· ·Don was very surprised and confused by that.· So he
 17· ·-- he relayed that to me during that phone
 18· ·conversation.
 19· · · · ·Q· · Okay.· Was -- did Jonathan Adams ever
 20· ·give an explanation for the lack of notification?
 21· · · · ·A· · I don't know.· If so, that was not
 22· ·communicated to me.
 23· · · · ·Q· · Okay.· So that was the only statement
 24· ·that -- that seemed inappropriate or not by procedure
 25· ·from the district attorney's office?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 170 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 170

 ·1· · · · · · · MR. BEGNAUD:· You mean with regard to
 ·2· · · · this -- the indicting, specifically?
 ·3· · · · · · · MR. O'BRIEN:· Yes.
 ·4· · · · ·A· · Yes.
 ·5· ·BY MR. O'BRIEN:
 ·6· · · · ·Q· · Okay.· Were there any other comments from
 ·7· ·the district attorney's office outside of the
 ·8· ·indictment that you seemed -- that were shady in your
 ·9· ·terms?
 10· · · · ·A· · So there was -- there was an assistant DA
 11· ·at the Butts County office who was primarily
 12· ·responsible for prosecuting my case under direction
 13· ·of Jonathan Adams.· I don't remember that
 14· ·individual's name right now, unfortunately.· But I
 15· ·remember once I was indicted and then we finally
 16· ·obtained discovery was, you know, a year -- over a
 17· ·year after my arrest before we got any -- any
 18· ·discovery before we saw this video ourselves.
 19· · · · · · · And Don set up an appointment with
 20· ·Jonathan Adams to talk about the fact that there's
 21· ·nothing on the video.· And he -- he told me that he
 22· ·went down there to Butts County to meet with Jonathan
 23· ·Adams, and when Jonathan Adams realized he wanted to
 24· ·talk to him about the fact the video doesn't show
 25· ·anything and he was trying to talk to him about

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 171 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 171

 ·1· ·dropping the charges, Jonathan Adams got kind of
 ·2· ·upset and, like, walked out of the room and was --
 ·3· ·said something to the effect of, you know, This is --
 ·4· ·this is a waste of my time.· I don't want to -- I
 ·5· ·don't want to meet with you anymore.· And so from
 ·6· ·then on, my understanding is Don dealt with and met
 ·7· ·with the ADA whose name I don't remember.
 ·8· · · · · · · But Don kind of communicated all of that
 ·9· ·to me in the -- the sense -- he just seemed very
 10· ·confused by it all.· He said that he's never really
 11· ·had a district attorney react in that way.· Jonathan
 12· ·Adams was amenable to setting up the meeting, was
 13· ·there for the meeting.· And then when he found out
 14· ·what Don wanted to talk about, he just, you know,
 15· ·shut the meeting down and left.
 16· · · · ·Q· · And that's when he was frustrated, was
 17· ·just based on the -- just the outset of the
 18· ·conversation trying to get the charges dismissed?
 19· · · · ·A· · I'm so sorry.· Could you say that again?
 20· · · · ·Q· · So that was just at the outset of the
 21· ·meeting?· It was just about the topic of trying to
 22· ·get the charges dismissed?
 23· · · · ·A· · Yes.· He wanted Jonathan Adams to sit
 24· ·down and watch this video with him and go through it
 25· ·frame by frame talking about it.· And he refused.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 172 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 172

 ·1· · · · ·Q· · Okay.· And this is after the indictment?
 ·2· · · · ·A· · Yes.· I want to say that this was like
 ·3· ·February or March of 2021.
 ·4· · · · ·Q· · Okay.· And just in terms of the
 ·5· ·indictment and the timing of it and the length of
 ·6· ·time that it took, you were still aware that your
 ·7· ·charges were going to be presented to the grand jury,
 ·8· ·you just weren't aware of the timing; is that
 ·9· ·correct?
 10· · · · ·A· · That's -- that's correct.· I mean, I
 11· ·assumed after I was arrested in November 6, 2019, I
 12· ·assumed that the case would be presented to the grand
 13· ·jury, you know, that next -- what is it called? --
 14· ·the next jury seating.· And it wasn't.· I -- we never
 15· ·really got an explanation as to why it wasn't.
 16· · · · · · · And, you know, when it then wasn't for
 17· ·months and months and months, I thought, Well,
 18· ·surely, they realize that there's nothing here in
 19· ·this case, and they're just, I don't know, eventually
 20· ·going to drop it.· I don't know why they're not doing
 21· ·that yet.· So it -- by the time it was actually
 22· ·indicted, it was a shock to me that it was actually
 23· ·indicted.
 24· · · · ·Q· · Okay.· And you -- you found out
 25· ·three weeks later, so you weren't at the grand jury

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 173 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 173

 ·1· ·presentment.· That's correct?
 ·2· · · · ·A· · Correct.
 ·3· · · · ·Q· · Okay.
 ·4· · · · · · · MR. O'BRIEN:· Okay.· I don't have any
 ·5· · · · other questions.
 ·6· · · · · · · · · · · EXAMINATION
 ·7· ·BY MR. BINGHAM:
 ·8· · · · ·Q· · Ms. Engleman, my name is Derrick Bingham.
 ·9· ·I represent testimony Tomeika Jordan, and I just have
 10· ·a -- just very briefly -- just very brief follow-up
 11· ·for you.
 12· · · · · · · Do you know who Tomeika Jordan is?
 13· · · · ·A· · Yes.
 14· · · · ·Q· · And who do you understand Tomeika Jordan
 15· ·is?
 16· · · · ·A· · I understand that she's an agent with
 17· ·OPS, I believe, or she's --
 18· · · · ·Q· · (Inaudible).
 19· · · · ·A· · I'm sorry, go ahead.
 20· · · · ·Q· · No, I interrupted you.· I apologize.· Go
 21· ·ahead.
 22· · · · ·A· · I know that she did a lot of -- of kind
 23· ·of gathering records together.· I know that we --
 24· ·"we," meaning the Dubose team, she -- she would -- I
 25· ·know that she got initial discovery together in

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 174 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 174

 ·1· ·the -- the murders of the correctional officers.                I
 ·2· ·know that she had a hand in getting all of that
 ·3· ·together.· I know that she dealt with a lot of, like,
 ·4· ·records stuff there.
 ·5· · · · ·Q· · Okay.· And that was -- was that before
 ·6· ·you were arrested that she was involved in getting
 ·7· ·the records together in the discovery --
 ·8· · · · ·A· · Yes.
 ·9· · · · ·Q· · -- and in that area?
 10· · · · ·A· · Yes.
 11· · · · ·Q· · After you were arrested, did you -- well,
 12· ·first of all, have you ever spoken to her directly?
 13· · · · ·A· · No.
 14· · · · ·Q· · Was she present the day you were
 15· ·arrested?
 16· · · · ·A· · I don't think so.
 17· · · · ·Q· · Do you have any personal knowledge of any
 18· ·involvement or what involvement, if any, she may have
 19· ·had in the decision to seek a warrant for your
 20· ·arrest?
 21· · · · ·A· · I think she saw the video and listened
 22· ·(inaudible) about the video, but I'm not 100 percent
 23· ·sure.
 24· · · · ·Q· · Okay.· And what -- what do you base that
 25· ·belief on?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 175 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 175

 ·1· · · · ·A· · I know that several people at SMU were
 ·2· ·seeing the video, were shown the video, and I know
 ·3· ·that there were discussions about arresting me and
 ·4· ·such.· And I have a memory that she was maybe part of
 ·5· ·that, but I'm -- I'm not 100 percent sure.
 ·6· · · · ·Q· · And this memory that you have, would this
 ·7· ·be based on documents you reviewed, or is that -- is
 ·8· ·it based on documents you reviewed?
 ·9· · · · ·A· · Yes.
 10· · · · ·Q· · Not based on anything you know personally
 11· ·from your own personal knowledge, correct?
 12· · · · ·A· · That's -- that's correct.· I'm basing
 13· ·this on -- I know in the discovery documents for my
 14· ·case that I received with all the case reports and
 15· ·everything that Nathan Adkerson wrote, there's --
 16· ·there's just different names mentioned as to who --
 17· ·I've seen different things.· I'm honestly -- I
 18· ·honestly just don't remember all the different names.
 19· · · · ·Q· · The -- with regard to the media -- I know
 20· ·you've answered this question about other defendants.
 21· ·I just want to just be clear.
 22· · · · · · · You have no reason to believe that
 23· ·Ms. Jordan had any role in contacting the media about
 24· ·your arrest; is that correct?
 25· · · · ·A· · I have no idea who contacted the media.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 176 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 176

 ·1· · · · ·Q· · And as far as the recording of your
 ·2· ·meetings with Mr. Dubose, you don't have any reason
 ·3· ·to believe that Ms. Jordan personally had any role in
 ·4· ·recording those and recording these meetings or the
 ·5· ·decision to have a camera in that room or anything
 ·6· ·related to those recordings, do you?
 ·7· · · · ·A· · I -- I just don't know.
 ·8· · · · · · · MR. BINGHAM:· That's all the questions
 ·9· · · · I have.· Thank you.
 10· · · · · · · · · · · EXAMINATION
 11· ·BY MR. BALLINGER:
 12· · · · ·Q· · Good afternoon, Ms. Engleman.· My name is
 13· ·Eric Ballinger.· You commented on my picture earlier.
 14· · · · ·A· · I do like your bow tie.
 15· · · · ·Q· · You're too kind.· It's an old picture
 16· ·and --
 17· · · · ·A· · I didn't know that you could hear me at
 18· ·the time.· I didn't know that you could hear me at
 19· ·the time.· I think -- I thought I was on -- it was on
 20· ·mute.
 21· · · · ·Q· · Okay.· I represent Jose Morales.
 22· · · · · · · Do you know who he is?
 23· · · · ·A· · Yes.
 24· · · · ·Q· · And who is he?
 25· · · · ·A· · He's the warden.· I assume he still is.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 177 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 177

 ·1· ·At the time, he was the warden at special management
 ·2· ·unit.
 ·3· · · · ·Q· · Okay.· And did you have any interaction
 ·4· ·with Mr. Morales?
 ·5· · · · ·A· · Yes.· I interacted with him a few times.
 ·6· · · · ·Q· · Okay.· What were those interactions?
 ·7· · · · ·A· · The majority of them -- like I said, when
 ·8· ·I would come to visit Ricky, I would have to wait in
 ·9· ·that lobby area for a while.· And there would be, you
 10· ·know, employees walking back and forth at different
 11· ·times.· Mr. Morales would often walk by.· You know,
 12· ·he knew who I was.· You know, I was a member of
 13· ·Ricky's defense team.· He would stop.· He would say
 14· ·hi.· Sometimes he would say things like -- you know,
 15· ·asked me how long I had been waiting and kind of
 16· ·indicate that he would tell officers to hurry up and
 17· ·get Ricky.
 18· · · · · · · I remember more prolonged conversation
 19· ·with him one time.· I was there visiting Ricky with
 20· ·another member of the Dubose team.· It was the two of
 21· ·us together, and we were waiting in the lobby area.
 22· ·And Warden Morales came up and started talking to us.
 23· ·And he was just -- from what I remember, this was,
 24· ·you know, maybe four years ago at this point, he was
 25· ·just kind of talking about, like, ins and outs of

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 178 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 178

 ·1· ·managing a correctional facility and, you know,
 ·2· ·difficult inmates and just kind of telling, you know,
 ·3· ·stories about what it's like to -- to run a
 ·4· ·correctional facility.
 ·5· · · · · · · You know, that was the most prolonged
 ·6· ·interaction that I had with him.· We chatted with him
 ·7· ·for maybe 15 minutes, I think.
 ·8· · · · ·Q· · Did you have any negative interactions
 ·9· ·with Mr. Morales?
 10· · · · ·A· · No.
 11· · · · ·Q· · Any unpleasant interactions with
 12· ·Mr. Morales?
 13· · · · ·A· · No.
 14· · · · ·Q· · Okay.· Now, you have been -- in your
 15· ·earlier testimony, you've been visiting inmates at
 16· ·various correctional and institutions throughout your
 17· ·entire career; is that correct?
 18· · · · ·A· · Yes.
 19· · · · ·Q· · And this was your first case where you
 20· ·had -- were visiting inmates at the MTU?
 21· · · · ·A· · SMU, special management unit, yes.
 22· · · · ·Q· · SMU, sorry.
 23· · · · · · · And how many -- how many inmates did you
 24· ·have at the -- how many inmates did you have total on
 25· ·your caseload at the time you started working on the

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 179 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 179

 ·1· ·Dubose case?
 ·2· · · · ·A· · At the time I started working on the
 ·3· ·Dubose case was right when I first was hired.· And I
 ·4· ·was put on three cases initially immediately.· If I
 ·5· ·remember correctly, I'm actually worried that I'm
 ·6· ·forgetting someone.· And I remember I received
 ·7· ·another case -- no, I was put on -- yeah, I was put
 ·8· ·on three, I think.· I received another case maybe
 ·9· ·six months in, and I received another case maybe
 10· ·six months after that.
 11· · · · ·Q· · And all of these were capital cases?
 12· · · · ·A· · Yes.· Every case that that office handles
 13· ·is a capital case.
 14· · · · ·Q· · And how many people total were on the
 15· ·Dubose team?
 16· · · · ·A· · So the team grew as time went on.· There
 17· ·were two main attorneys.· I know as they were gearing
 18· ·up to trial, they -- they added two more.· But for
 19· ·the -- yeah, they added -- they added two more.               I
 20· ·would say three, four, five, six, like seven-ish.
 21· ·And again, it -- you know, it grew a little bit.
 22· ·When we had team meetings, there were usually about
 23· ·seven people there.
 24· · · · ·Q· · And do you remember the names of the
 25· ·people who were on the team?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 180 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 180

 ·1· · · · ·A· · Sure.· Yeah.
 ·2· · · · ·Q· · Who are they?
 ·3· · · · ·A· · Amber Pittman was the lead attorney.· She
 ·4· ·was the first chair attorney at the Macon office.
 ·5· ·Ms. Anna Szatkowski was the second chair attorney.
 ·6· ·Jerry Ward, who was the director of the capital --
 ·7· ·the capital defenders office, was also on the team.
 ·8· ·He kind of did more consulting-type stuff, though he
 ·9· ·participated heavily in the trial.· He wasn't quite
 10· ·as involved in, like, the day to day, so to speak.
 11· · · · · · · I was the mitigation specialist.· Ani
 12· ·Szatkowski, who I mentioned earlier, she also was
 13· ·part of the team officially, but she didn't have as
 14· ·much to do with the day to day.
 15· · · · · · · Deriana Doss was another mitigation
 16· ·specialist.· She was the person who went on maternity
 17· ·leave, who I -- who I kind of replaced when she was
 18· ·on maternity leave.· When she came back from
 19· ·maternity leave, she was still a member of the team.
 20· ·She -- she handled certain aspects of the case but
 21· ·wasn't quite as involved in certain other aspects.
 22· · · · · · · Vivia Harris was the fact investigator.
 23· ·And then there was another attorney named Shayla
 24· ·Galloway who got pulled into the team maybe the last
 25· ·year and a half leading up to trial.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 181 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 181

 ·1· · · · ·Q· · And how many times did you -- I'm sure
 ·2· ·you don't know exactly -- the number exactly, but how
 ·3· ·many times did you visit Mr. Dubose?
 ·4· · · · ·A· · I would say between 20 and 25 times,
 ·5· ·maybe, because I know I started seeing him August or
 ·6· ·September of 2017.· I know I was arrested, you know,
 ·7· ·November of 2019, so it's about a little more than
 ·8· ·two years.· And I saw him -- I would visit him about
 ·9· ·every three to four weeks.· You know, there may be a
 10· ·month where it's a little bit different because I
 11· ·would see him in court or things like that.· But on
 12· ·average, it was about -- I would visit him about
 13· ·every three to four weeks.
 14· · · · ·Q· · So what came to work for the capital
 15· ·defenders office?· Was there any training on what you
 16· ·were or were not allowed to bring to -- to visit
 17· ·inmates with at correctional facilities?
 18· · · · ·A· · Well, every -- every facility is a little
 19· ·bit -- is a little bit different.· You know, if they
 20· ·got -- they all have the signs posted outside, you
 21· ·can't bring in cell phones, you know, you can't bring
 22· ·in weapons, of course, no metal, you know.· But some
 23· ·facilities were very strict about things like staples
 24· ·in your documents.· Other small town county jails,
 25· ·you know, weren't as -- didn't seem to care about

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 182 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 182

 ·1· ·stuff like that as much.
 ·2· · · · · · · You know, my memory is that SMU was
 ·3· ·obviously much more strict.· You know, I -- you know,
 ·4· ·I remember not being able to bring in, like -- now
 ·5· ·that I say that, I'm actually not sure about, like,
 ·6· ·paperclips.· I don't know if I was -- you know, if I
 ·7· ·would paperclip documents or not.· I don't remember.
 ·8· · · · · · · But, you know, there was always a lot of
 ·9· ·discussion as to I have a client in this facility,
 10· ·has anyone been to this facility before, what are
 11· ·they like.· You know, do they -- can I staple my
 12· ·papers, or should I not staple my papers and things
 13· ·like that.
 14· · · · ·Q· · And were all of your contact visits with
 15· ·all of your clients, were they all -- were all your
 16· ·visits with clients all contact visits?
 17· · · · ·A· · Yes.
 18· · · · ·Q· · At all of the institutions?
 19· · · · ·A· · Yes.
 20· · · · ·Q· · And were they ever restricted to just
 21· ·through the glass telephone visits?
 22· · · · ·A· · No.· Ricky is -- Ricky asked me -- was
 23· ·the only one that was ever restricted.
 24· · · · ·Q· · And so did you often -- did you ever have
 25· ·to meet him through the -- through the -- with the

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 183 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 183

 ·1· ·telephone and glass?
 ·2· · · · ·A· · I did.· SMU initially had a policy -- I
 ·3· ·don't know if it's still in place -- that attorneys
 ·4· ·can have contact visits with clients, but other
 ·5· ·members of the legal team can't.· They have to have
 ·6· ·visits through the glass.· So the first few times I
 ·7· ·went to see him, I mean, I was, you know, in
 ·8· ·training, still kind of learning stuff.· I always
 ·9· ·went with an attorney.· And then once I started
 10· ·visiting him one-on-one, it was the contact visits
 11· ·through the glass.· This is very difficult.· The
 12· ·phones were, like, incredibly staticky.· It was very
 13· ·hard to hear each other.· And it's not conducive to
 14· ·building the kind of rapport and relationship
 15· ·building that a mitigation specialist is supposed to
 16· ·build with their client.
 17· · · · · · · And we got a court order authorizing, you
 18· ·know, confidential contact visits for me and for
 19· ·every member of the defense team.· And that was
 20· ·standard protocol for my office.· My office had --
 21· ·has had other clients in other cases housed at SMU,
 22· ·and the standard protocol was to get a court order
 23· ·allowing confidential contact visits for every member
 24· ·of the team.
 25· · · · ·Q· · And the -- when did you first notice that

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 184 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                  Page 184

 ·1· ·there was a camera in the -- were you -- strike that.
 ·2· ·Let me go back and ask you.
 ·3· · · · · · · Were all of your visits -- contact visits
 ·4· ·in the same conference room?
 ·5· · · · ·A· · Yes.
 ·6· · · · ·Q· · Okay.· And when did you first notice the
 ·7· ·camera in the conference room?
 ·8· · · · ·A· · I -- I will -- I will maybe amend my last
 ·9· ·answer because the first several times I visited him
 10· ·one-on-one, it was in a different booth with the
 11· ·glass and the phone.· Once we moved to the contact
 12· ·visit, yes, they were all in that room.· I don't
 13· ·remember exactly when I first noticed the camera.
 14· ·Probably that first visit.
 15· · · · ·Q· · Did you ask anybody at the SMU if that
 16· ·camera was recorded?
 17· · · · ·A· · No.
 18· · · · ·Q· · Did you bring it to the attention of
 19· ·anybody at the SMU?
 20· · · · ·A· · No.
 21· · · · ·Q· · Did you bring it to the attention of
 22· ·anybody on your team?
 23· · · · ·A· · That's a good question.· I don't remember
 24· ·if we would -- if it was mentioned amongst us.               I
 25· ·honestly don't remember.· I honestly don't remember.

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 185 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 185

 ·1· ·A lot of correctional facilities I went into and
 ·2· ·others went into didn't have cameras in the
 ·3· ·visitation room.· And so I don't remember if that was
 ·4· ·something we all commented on like, Oh, that's kind
 ·5· ·of weird.· I don't remember.
 ·6· · · · ·Q· · Now, how was this camera set up in the --
 ·7· ·in the visitation room?
 ·8· · · · ·A· · To -- to my memory, it was -- it would
 ·9· ·have been behind where Ricky was sitting, like in the
 10· ·left corner.· You know, it was one of those, like,
 11· ·round -- you know, like, round things, from what I
 12· ·remember.
 13· · · · ·Q· · Was it mounted to the wall?· Was it
 14· ·mounted to the wall?
 15· · · · ·A· · It was -- I think it was in the -- just
 16· ·like in the corner, like where the wall and ceiling
 17· ·meet, I think -- I think.· I -- you know, it's not
 18· ·like I was staring at it.· I -- it was just kind of
 19· ·out of my peripheral, you know, a lot of the times.
 20· · · · ·Q· · But the camera faced Mr. Dubose's back?
 21· · · · ·A· · Yes.· Yes.
 22· · · · ·Q· · So it wouldn't have been able to see his
 23· ·face, correct?
 24· · · · ·A· · That's correct.
 25· · · · ·Q· · Unless he turned towards it?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 186 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 186

 ·1· · · · ·A· · That's correct.
 ·2· · · · ·Q· · Okay.· So --
 ·3· · · · · · · THE WITNESS:· Oh, I can't hear you.
 ·4· · · · · · · MR. BEGNAUD:· We can't hear you.
 ·5· · · · · · · THE WITNESS:· We're all frozen.
 ·6· · · · · · · THE VIDEOGRAPHER:· The time is
 ·7· · · · 2:30 p.m.· We're now off the record.
 ·8· · · · · · · (Whereupon, the video camera was
 ·9· · · · turned off.)
 10· · · · · · · (Whereupon, a brief recess was taken.)
 11· · · · · · · (Whereupon, the video camera was
 12· · · · turned on.)
 13· · · · · · · THE VIDEOGRAPHER:· The time is
 14· · · · 2:32 p.m.· We're back on the record.
 15· ·BY MR. BALLINGER:
 16· · · · ·Q· · So anyone else comment about the video
 17· ·camera?
 18· · · · ·A· · I'm sorry, say that one more time.
 19· · · · ·Q· · Did anybody else on the Dubose team
 20· ·comments about the video camera?
 21· · · · ·A· · I don't remember.· I really don't
 22· ·remember if we did or not.
 23· · · · ·Q· · And do you know if any other teams have
 24· ·encountered the same camera in the visitation room at
 25· ·the SMU?

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 187 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 187

 ·1· · · · ·A· · Yes.· I mean, at -- at the time, there
 ·2· ·was another capital client my office was representing
 ·3· ·that was at SMU.· And, you know, their team also had
 ·4· ·no idea that they were being recorded until this
 ·5· ·happened with me.· So I know that that was something
 ·6· ·that they were, of course, very concerned about
 ·7· ·themselves and, you know, worked with their judge and
 ·8· ·SMU to make sure that that didn't happen.
 ·9· · · · ·Q· · And this other inmate at SMU, was that
 10· ·Mr. Dubose's codefendant?
 11· · · · ·A· · Actually, I'm glad you mentioned that.                  I
 12· ·was thinking of someone totally different.· Yes,
 13· ·there was Mr. Dubose's codefendant.· Of course,
 14· ·because that was a codefendant case, this is why I
 15· ·don't really think about him because I just didn't
 16· ·have hardly any -- I didn't have any interaction with
 17· ·that team about him because it was a codefendant
 18· ·case, it was a conflict case.
 19· · · · · · · There was a -- there was a third inmate
 20· ·at SMU at the time.· His first name was Cesar.· His
 21· ·last name escapes me right now, but he -- he was
 22· ·there, and I know that his team was very -- very
 23· ·concerned about the -- the recording situation.               I
 24· ·assumed that Donnie Rowe, the -- Ricky's codefendant,
 25· ·I assume that his team was also very concerned.               I

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 188 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 188

 ·1· ·just -- you know, it was a complicate- -- we didn't
 ·2· ·talk about that.
 ·3· · · · ·Q· · The -- when you first started going to
 ·4· ·meet with clients at the -- at the SMU, did anybody
 ·5· ·from the Department of Corrections give you a
 ·6· ·briefing or discuss with you what -- what types of
 ·7· ·things are allowed and not allowed in for the contact
 ·8· ·visits?
 ·9· · · · ·A· · I don't remember that, no.
 10· · · · ·Q· · Was there -- were there signs there
 11· ·indicating what was allowed to -- or to be brought in
 12· ·for contact visits?
 13· · · · ·A· · You know, just the big sign out front
 14· ·like you see at every facility that says, you know,
 15· ·no cell phones, no wepers -- weapons, no lighters, no
 16· ·lighter fluid.· I don't remember receiving -- I
 17· ·certainly never received any kind of paper
 18· ·documentation or anything like that from the facility
 19· ·regarding, you know, what we could give our clients
 20· ·during contact visits or bring in or anything like
 21· ·that.
 22· · · · ·Q· · Whenever you would check in, would
 23· ·anybody ask you about if you had any contraband
 24· ·items?
 25· · · · ·A· · I honestly don't -- I don't remember.                I

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 189 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 189

 ·1· ·don't remember if there was, like, a verbal, you
 ·2· ·know, do you have any weapons on you?· I don't --
 ·3· ·frank- -- I honestly don't remember.
 ·4· · · · ·Q· · I want to go back to something earlier in
 ·5· ·your testimony.
 ·6· · · · · · · You said -- mentioned somebody that --
 ·7· ·somebody from Mr. Dubose's family said that you were
 ·8· ·in love with him.
 ·9· · · · · · · Who was that?
 10· · · · ·A· · That was a cousin.· I have a memory that
 11· ·her name was Nicki or Niquita.· I don't remember her
 12· ·last name.· She was in Texas.· I don't remember
 13· ·exactly if -- I don't remember if she was, like, a
 14· ·maternal or a paternal cousin.
 15· · · · ·Q· · And was that communication documented in
 16· ·the capital defenders file?
 17· · · · ·A· · My interview with her?
 18· · · · ·Q· · Yes.
 19· · · · ·A· · Yes.· I wrote memos --
 20· · · · ·Q· · Where she made that comment?
 21· · · · ·A· · She made that -- she made that comment --
 22· · · · ·Q· · (Inaudible).
 23· · · · ·A· · She made that comment on a Facebook post
 24· ·after I was arrested.· There were the -- the articles
 25· ·regarding my arrest were -- you know, there are

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 190 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 190

 ·1· ·articles regarding my arrest out in the media.· And
 ·2· ·it seems she or someone else in the Dubose family
 ·3· ·shared an article on Facebook.· And she made a
 ·4· ·comment about -- to that effect on Facebook that
 ·5· ·Nathan Adkerson later found and -- yeah.· That was
 ·6· ·not a comment that she made to me.
 ·7· · · · ·Q· · Do you have a copy?· Okay.· Do you have a
 ·8· ·copy of that Facebook post?
 ·9· · · · · · · MR. BEGNAUD:· It's -- if I can help,
 10· · · · it's in the case file.· It's -- it's in --
 11· · · · Mr. Adkerson's case file is in the record
 12· · · · in this lawsuit.
 13· ·BY MR. BALLINGER:
 14· · · · ·Q· · All right.· Let me ask you this:· Were
 15· ·you in love with him?
 16· · · · ·A· · No.
 17· · · · · · · THE COURT REPORTER:· I'm sorry, what?
 18· ·BY MR. BALLINGER:
 19· · · · ·Q· · Did you have feelings for him?
 20· · · · ·A· · No.
 21· · · · · · · MR. BEGNAUD:· Just a second, the Court
 22· · · · Reporter is asking -- the question was:
 23· · · · Are you in love with him?
 24· · · · · · · THE COURT REPORTER:· Thank you.
 25· ·BY MR. BALLINGER:

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     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 191 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023               Page 191

 ·1· · · · ·Q· · It was, were you in love with him, but --
 ·2· ·and the answer to that was no?
 ·3· · · · ·A· · No.
 ·4· · · · ·Q· · Did you have an emotional connection to
 ·5· ·him?
 ·6· · · · ·A· · You know, as much as I have an emotional
 ·7· ·connection with all of my clients.· Even -- even now,
 ·8· ·doing noncapital work, I have a caseload of roughly
 ·9· ·about 12 clients, and, you know, I have an emotional
 10· ·attachment with all of them.
 11· · · · ·Q· · Anything different -- anything different
 12· ·or different from the emotional connection between
 13· ·Ricky Dubose and any of your other clients?
 14· · · · ·A· · No.
 15· · · · ·Q· · Did he -- did Mr. Dubose ever give you
 16· ·any indications -- without going into any
 17· ·confidential communications -- that he had an
 18· ·emotional connection with you?
 19· · · · ·A· · You know, he had an emotional connection
 20· ·with everyone on his team.· And he was thankful.· He
 21· ·expressed his appreciation to all of us.· You know, I
 22· ·don't -- I never got any impression that he had some
 23· ·kind of attachment to me more so than he did anyone
 24· ·else on the team.
 25· · · · ·Q· · Did he give anybody else on the team a

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 192 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 192

 ·1· ·ring?
 ·2· · · · ·A· · I don't -- I don't know what all he gave
 ·3· ·other people.
 ·4· · · · · · · MR. BALLINGER:· That's all the
 ·5· · · · questions I have.
 ·6· · · · · · · MR. BEGNAUD:· And I don't have any
 ·7· · · · questions.
 ·8· · · · · · · THE VIDEOGRAPHER:· This concludes the
 ·9· · · · deposition.· The time is 2:40 p.m.· We're
 10· · · · now off the record.
 11· · · · · · · (Whereupon, the video camera was
 12· · · · turned off.)
 13· · · · · · · · · · · · ·- - -
 14· · · · · (Deposition concluded at 2:40 p.m.)
 15
 16
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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 193 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 193

 ·1· · · · · · · · E R R A T A· S H E E T

 ·2
 · · · · ·Pursuant to Rule 30(7)(e) of the Federal
 ·3· ·Rules of Civil Procedure and/or Georgia Code
 · · ·Annotated 81A-130(B)(6)(e), any changes in form
 ·4· ·or substance which you desire to make to your
 · · ·deposition testimony shall be entered upon the
 ·5· ·deposition with· a statement of the reasons given
 · · ·for making them.
 ·6
 · · · · ·To assist you in making any such corrections,
 ·7· ·please use the form below.· If supplemental or
 · · ·additional pages are necessary, please furnish
 ·8· ·same and attach them to this errata sheet.

 ·9· · · · · · · · · · · ·- - -

 10· · · ·I, the undersigned, LILY ENGLEMAN, do hereby
 · · ·certify that I have read the foregoing deposition
 11· ·and that to the best of my knowledge said
 · · ·deposition is true and accurate (with the
 12· ·exception of the following corrections listed
 · · ·below).
 13

 14

 15· ·Page_____ Line______should read:_________________

 16· ·Reason for change:_______________________________

 17

 18· ·Page_____ Line______should

 19· ·read:__________________

 20· ·Reason for change:_______________________________

 21

 22· ·Page_____ Line______should

 23· ·read:__________________

 24· ·Reason for change:_______________________________

 25


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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 194 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 194

 ·1· ·Page_____ Line______should
 ·2· ·read:__________________
 ·3· ·Reason for
 ·4· ·change:________________________________
 ·5
 ·6· ·Page_____ Line______should
 ·7· ·read:__________________
 ·8· ·Reason for
 ·9· ·change:________________________________
 10
 11· ·Page_____ Line______should
 12· ·read:__________________
 13· ·Reason for
 14· ·change:________________________________
 15
 16· ·Page_____ Line______should
 17· ·read:__________________
 18· ·Reason for
 19· ·change:________________________________
 20
 21· ·Page_____ Line_____should
 22· ·read:___________________
 23· ·Reason for
 24· ·change:________________________________
 25

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 195 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 195

 ·1· ·Page_____ Line_____should
 ·2· ·read:___________________ Reason for
 ·3· ·change:________________________________
 ·4
 ·5· ·Page_____ Line_____should
 ·6· ·read:___________________ Reason for
 ·7· ·change:________________________________
 ·8
 ·9· ·_______________________
 10· ·Signature
 11· ·Sworn to and Subscribed before me
 12· ·_____________________, Notary Public.
 13· ·This________day of _______________, 2023.
 14· ·My Commission Expires:
 15
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 21
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 23
 24
 25

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      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 196 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023                Page 196

 ·1· · · · · · · · ·C E R T I F I C A T E

 ·2· ·STATE OF GEORGIA:

 ·3· ·COUNTY OF COBB:

 ·4

 ·5· · · · ·I hereby certify that the foregoing

 ·6· ·transcript was taken down as stated in the

 ·7· ·caption and the questions and answers thereto

 ·8· ·were reduced to typewriting under my direction,

 ·9· ·that the foregoing pages 1 through 195 represent

 10· ·a true, complete and correct transcript of the

 11· ·evidence given upon said hearing, and I further

 12· ·certify that I'm not of kin or counsel to the

 13· ·parties in the case; am not in the regular employ

 14· ·of counsel of any of said parties; nor am I in

 15· ·anywise interested in the result of said case.

 16· · · · ·This 28th day of Febuary 2023.

 17

 18

 19

 20· · · · · · · · · · · · · LYNNE C. FULWOOD,
 · · · · · · · · · · · · · · Certified Court Reporter
 21· · · · · · · · · · · · · State of Georgia
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       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 197 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023   ·Index: $5,000..3:47:58
                      12:02    86:11        2009     86:22    25     181:4
      Exhibits
                      12:04    86:18        2010     13:24    27th     118:17
 EnglemanL - 2        12:46    122:2        2015  11:1        2985     10:3
     6:3                                      14:1
                      12:53    122:11                         2:00     140:11
     122:19,24
                      13th    83:21         2017  14:2        2:01     167:19
                                              45:12,16
          $           1445    9:23                            2:05     168:1
                                              71:13
 $5,000               14th    7:9             181:6           2:30     186:7
     140:25           15    17:24           2019  20:12       2:32     186:14
                          30:17,18            83:21
                                                              2:40     192:9,
          1               58:13               84:25 85:5
                                                                14
                          129:5               126:15
 1    7:6                 178:7               152:11          2nd     45:13
     122:2,12,                                153:1,16
                      18th    24:16
     18                                       156:17                   3
                      1988    9:21            172:11
 100    174:22
                                              181:7           30084     9:23
     175:5            1:00    121:23
                                            2020  10:19,      30315     10:4
 1099     28:23       1:07    134:3
                                              21 21:15        30319     10:23
 1099s    28:5,       1:10    134:10
                                              33:1            35     30:6
     18 29:1          1:33    151:16          35:18,19
 10:21     7:10                               36:9 40:19      37,000       29:23
                      1:40    151:23
                                              142:23            30:16
 10:51     37:25
                              2
                                              149:7           3:45     92:1
 10:52     38:7
                                            2021  16:21       3:45:35       92:1
 11     48:1          2    122:10,            22:6,19
                          19,24                               3:47     92:21
 11:28     66:20                              27:11,19
                          140:5               29:23           3:47:11
 11:43     67:2
                      2.13    32:1,5          30:9,10           92:24
 11th    35:18                                37:1 169:5
                      20    20:12                             3:47:30
     37:1                                     172:3
                          128:12                                86:23
 12    47:24              129:18,20         2022  24:16       3:47:51       87:6
     48:1 191:9           181:4               27:23
                                                              3:47:58
 120    15:24         2006    13:14         2023     7:9        87:19
     18:9
                                            23     18:22        93:17


www.huseby.com                 Huseby Global Litigation                800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 198 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023     ·Index: 3:48..adaptive
 3:48     93:19                               54:18              36:16
                               5
 3:48:05       88:1                         ability            acquittals
   93:25              52     18:13            13:1,6             36:15
   102:23                                     154:4            acting     26:7
                      54     18:13
 3:48:19                                      155:2,5
                      5th    9:21                              action
   103:1                                    absolute             39:21,22
 3:48:21                                      149:18             91:22
                               6
   103:2                                    absolutely           93:9,22
 3:48:30              6    126:15             61:5 80:7        actions     12:3
   103:3                  172:11            abuse  26:3        active     22:6
 3:48:36              6th    84:1,25          112:16             23:4
   104:12                 85:5 86:22        accepted             27:13,15
                          152:11              22:5
 3:48:45                  153:1,16                             actively
   104:14                                   accepting            140:8
 3:48:50                                      125:11           acts     167:6
                               7
   104:15                                   access  59:20      actual     41:23
                      706 200-2062            117:18,25
 3:49:02                                                         73:22
                          12:21
   105:20                                   accessories          74:17
                      75     30:4             123:18             77:21
 3:49:04
   104:21                                   accidentally         79:10
                               9              154:15             124:11
 3:49:23
   106:1              924    10:23          accommodate        acute     145:16

 3:49:30              9:00    126:21          53:13            ADA     171:7
   106:5              9:30    126:24        account            Adams  8:5
 3:49:46                                      118:5,23           142:3
   107:5                                      119:8              166:1,5
                               A
                                              120:10             168:19
 3:50     108:9,                                                 169:8,9,
                      A-N-U-P-A-M-A         accurate
   16                                                            12,19
                          48:25               73:13
                                              87:23              170:13,20,
          4           a.m.    7:10                               23 171:1,
                          37:25 38:7        accused              12,23
 40     30:6              66:20 67:2          51:22
                                                               adaptive
 4th    18:20         abilities             acquitees            51:12


www.huseby.com                 Huseby Global Litigation                 800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 199 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023   ·Index: added..amount
 added                33:3 35:8,            50:16               alcoholism
   179:18,19          12,23                 51:16                161:25
 additional           36:2,3                128:25              Alexander
   16:4 28:15         145:22                136:15               142:22
                      146:8                 137:10               144:5
 address                                    141:12,17
   9:22,25          admittedly                                   148:22
                      59:2                  147:12
   10:1,11,18                               150:4,11,           all-day
 addressed          advance                 12                   51:25
   161:6              72:13                                     allegations
                                          agency's
 Adidas             adverse     80:4        41:10                116:9
   95:12,14,        advised               agenda        89:6    alleged
   19                 56:24                                      75:6,9,12,
                                          agent     173:16       15
 adjacent           advocacy
                                          agents
   88:12              27:12,25                                  Alli 37:6
   93:25                                    135:23               39:7,8
                    advocate
   104:13             36:14               agree  75:13           40:4 43:2
 Adkerson             40:25                 76:11,15             150:2
   7:8,18             150:5                 99:17               allowed
   81:16                                    104:11               94:21
                    aftermath
   82:24              146:7               agreed        99:25    117:10
   110:7                                    115:3                161:7
   120:25           afternoon                                    181:16
                      176:12              ahead     66:15
   127:24                                   81:3                 188:7,11
   128:4            agencies                122:17              allowing
   129:8              43:5 44:6             126:14               183:23
   135:13             50:23                 173:19,21
   137:4,19                                                     Amber 113:2
                    agency  26:23         aim     155:23         118:23
   138:17,20,
                      36:12,14,                                  141:5,13
   25 164:14,                             air     41:15
                      20 37:9                                    180:3
   18 175:15
                      40:22               Alaska
   190:5                                                        amenable
                      42:22,24              111:18,20,
 Adkerson's           43:11,15              21                   171:12
   138:7              44:15,17,                                 amend     184:8
                                          alcohol
   190:11             20 47:22,             50:19               amount     29:14
 administrative       25 48:5,11                                 110:6


www.huseby.com               Huseby Global Litigation                    800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 200 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023     ·Index: angle..assume
 angle     99:3      appeal     47:17      arm  103:16         175:3
 Ani     180:11      appearing               106:9,13,       arrived
                       25:7                  16 107:24         139:6
 ankle  74:24                                108:15
   108:1             appears                                 art  125:8,
                       106:1               arms  90:23         25 126:7
 Anna     180:5                              91:8
                       125:7                                   160:5,13,
 Annarita                                    93:14,22          23
                     application             108:17
   7:17 8:13
                       39:14                                 article
 answering                                 arraignment
                     appointed                                 190:3
   140:8                                     142:2
                       40:18                                 articles
 antianxiety           42:10               arrest  12:18       109:14
   143:21              43:20                 22:13 36:4        189:24
                                             113:11            190:1
 Anu     49:14       appointment             126:16
 Anupama               115:4                 128:8           arts     13:21
   48:25               170:19                129:22          aspect     34:12
 anxiety             appreciation            131:3             72:17
   118:19              124:20                166:21
                                                             aspects
   143:9               125:5                 170:17
                                                               50:12
   144:16              191:21                174:20
                                                               180:20,21
   147:9                                     175:24
                     appreciative
   148:17                                    189:25          assert     80:12
                       125:2
   149:9                                     190:1           assess     54:18
                     approved
 anxiety-coping                            arrested          assessing
                       110:13
   149:1                                     12:11             52:12
                     approximately           21:9,16,
 anymore               18:7                                  assistance
                                             18,21 33:1
   149:5                                                       148:21
                     area  10:25             35:14
   171:5                                                     assistant
                       11:3,6,22             90:12
 apartment             127:5,22              121:1,12          14:9 84:4
   10:5,22             148:11                164:5,12          170:10
 apologize             174:9                 172:11          assume  92:6,
   165:7               177:9,21              174:6,11,         19 113:14
   173:20                                    15 181:6          117:11
                     areas     90:17
                                             189:24            176:25
 app     136:18      argumentative
                                           arresting           187:25
                       99:14


www.huseby.com                Huseby Global Litigation                800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 201 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023   ·Index: assumed..back
 assumed            attorney               7:11 23:20          aware 57:23
   77:19              25:24                26:15                60:10,16
   172:11,12          26:18                27:17                69:10,16,
   187:24             31:16                28:11                22 71:4
 assuming             77:22                55:24                76:18
   9:10 31:22         78:19 79:6           83:10                77:9,11
   131:25             98:18                119:4,24             79:1
                      110:18               120:8                81:15,19
 assumption           111:19               179:17               94:22
   82:9 132:8         113:2                183:3                95:4,25
 assured              118:24             audio  109:25          96:1,2
   137:4              120:4                110:6,16             100:15
                      122:25               111:2                113:10,15
 Athens     17:8,
                      132:11,14                                 119:10
   10,12                                 August
                      137:20                                    124:25
   71:22                                   45:12,13
                      138:24                                    133:20
 Atlanta              139:24               71:13                137:19
   10:4,25            141:5                181:5                138:23
   11:3,6,21          142:3,15           Augusta                144:24
   44:3 52:3          168:18               148:6,7,             172:6,8
   71:21              169:4                10,14,22
 attachment           171:11                                           B
                                         aunts  11:21
   191:10,23          180:3,4,5,
                                           114:8
                      23 183:9                                 B-R-    17:5
 attack                                  authority
   116:19           attorney's                                 B-R-A-Y     17:6
                                           79:1,14
                      120:6                                    bachelor's
 attempt                                 authorized
                      167:7                                     13:20
   89:25                                   80:14
                      168:11,17,
   113:5,6                                                     back 13:25
                      21 169:2,          authorizing
   131:3                                                        20:10
                      25 170:7             183:17
 attempted                                                      24:13
                    attorney/            autism        64:1,    32:7,17,
   115:14           client 71:1            5                    21,23,25
 attend               77:23                                     33:16
   23:19,21           78:20 79:3         Avenue        10:3
                                                                35:16
 attention            112:1              average
                                                                36:5,7,8,
   127:18             168:6                30:15                24 38:7,
   184:18,21        attorneys              181:12               14,21


www.huseby.com              Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 202 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023  ·Index: backed..benefits
   39:9,23          backed     91:21        175:7,8,10           94:3 96:7,
   45:7,21          background            basic     8:18         15 97:15
   47:3 58:10         13:10                                      98:5,12
   65:10,11                               basically              99:9,14,17
                      138:7                 43:7 82:17
   66:17 67:2                                                    101:17
   86:18,20         backlash                161:4                103:19
   87:21              116:1               basics        48:17    105:3,8,14
   88:20,21         backside                                     106:12
                                          basing
   94:16 97:3         139:9                                      133:5,18,
                                            175:12
   102:25                                                        24 151:11
                    backwoods
   103:1,3                                basis  26:13           164:1
                      56:6                  52:20 55:7
   104:15,23,                                                    165:20,23
   25 105:2,        bail     141:4          99:12                166:15
   15,20            balanced                101:23               167:12,17
   106:4              154:11              Bates     123:8        168:2
   107:5,13                                                      170:1
                    Ballinger             bathroom
   110:24                                                        186:4
                      7:22                  127:16
   114:18                                                        190:9,21
                      176:11,13           beaded        124:1
   122:11                                                        192:6
                      186:15
   126:22,23                              bed     93:4          behalf 117:3
                      190:13,18,
   129:15                                                        119:14
                      25 192:4            begin     8:16
   134:10
   137:6,14         bar  14:18            beginning             behaviors
   141:17             78:17                 7:6 88:25            61:8,10
   147:5,7,         barrier                 89:1,4              belief
   10,14              22:22 56:3            122:10               174:25
   148:3                                  Begnaud
                    barriers                                    believed
   151:23                                   7:15,16
                      56:18                                      135:15
   153:11                                   9:14 32:3
   168:1            base  8:15                                  Bell     39:1,
                                            59:5
   169:1              174:24                                     10
                                            63:10,14
   177:10           based  42:12,           66:18               bending     88:3
   180:18             16 48:4               70:17,22            bends     92:24
   184:2              69:11 98:9            78:1,22
   185:20                                                       beneficial
                      103:14                81:2,23
   186:14                                                        143:10
                      113:21                84:8,13
   189:4              148:6                 86:7 87:7,          benefits
                      171:17                9 88:9               34:11


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       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 203 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023  ·Index: betrayed..broad
 betrayed              179:21              books  119:23          18:7,15
   40:2,5              181:10,19             120:4,6,14          break 8:24
   150:14            bizarre               boost     89:22        9:1 63:11
 big  52:24            166:21              boosted       90:3     66:16
   54:16 94:7        bizarrely                                    110:23
   95:11                                   booth     184:10       121:17,18
                       26:7
   188:13                                  booths                 151:9,14
                     blah     56:12,         158:24               167:13
 biggest               13
   24:21                                   bother        154:2   breaking
                     blanket                                      168:13
 bill                                      bottom        31:2
                       33:22
   144:12,13                                                     breather
                     blanking              boundaries
 billing                                                          90:2
                       28:21                 62:2,16,
   144:10,19                                 18,22,25            Brian     40:18
                     blends     73:18
 bills     150:16                          boundary              briefing
                     blocked                                      188:6
 Bingham 8:2                                 62:4
                       108:13
   173:7,8                                 bow     176:14        briefly
   176:8             blocking                                     29:15
                       97:2                box     69:4
 biopsychosocia                                                   173:10
                     blue     130:12       boxes     48:19
 l 46:20                                                         Brill     39:20
                     board     44:11,      bracelet
 birth     9:20                                                  bring 33:12
                       23                    125:25
 bit  27:15                                                       49:16,17
                     body  78:6            brain     47:10        68:11,12,
   33:12
   34:16               87:23               brainstorm             14 78:7
   36:20               90:16,25              51:25 52:3           89:17
   44:15               93:12,13                                   181:16,21
                                           brainstorming
   54:12               106:17,19                                  182:4
                                             50:4
   63:15 67:4                                                     184:18,21
                     bond
                                           branch                 188:20
   89:10 90:4          140:10,13,
   102:20                                    71:21,23
                       20,24                                     bringing
   103:12                                  branches               84:5 147:7
                     bondsman
   114:23                                    71:18,21
                       141:4                                     brings     109:6
   125:7                                   brand-new
   149:8             booked  129:9                               broad 78:13
                                             42:5
   165:12              130:20                                     145:8
   168:14              140:3,5,9           Bray     17:3,4


www.huseby.com                Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 204 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023             ·Index: broke..care
 broke     64:15,    Butts  129:2            106:24               6 28:14,16
   17                  130:20                108:13               33:5,16
 Brookhaven            136:4                 122:4,7              36:8,10,
   10:23               138:15                134:4,7,22           11,24 39:2
                       139:7                 135:2,4,7            40:2,9
 brother               170:11,22             151:17,20            43:1 45:8,
   11:8,14                                   155:13               10,25
   116:5,14          buying       10:9
                                             167:20,23            46:8,11
 brought  36:4                               176:5                47:18
                              C
   38:10 65:9                                184:1,7,             50:15,20
   188:11            call  62:18             13,16                51:1,7
                       113:6                 185:6,20             55:23
 Brunswick
                       140:21,22             186:8,11,            57:22
   71:22
                       141:4,11              17,20,24             63:23
 buck    142:10                              192:11               71:17
                       145:15
 Buckhead              147:6               cameras                72:23
   14:18                                     76:19,24             73:19
                     called       36:13                           111:22
 build  54:6           51:12                 77:1,7
                                             80:1,8               112:11
   96:22               74:24
                                             81:21                115:20
   183:16              141:5,8
                                             82:25 97:2           119:21
 building              148:20                                     120:7
                       163:13,14             185:2
   58:18                                                          136:14
   183:14,15           169:5               campus        58:16    141:12,21
                       172:13                                     147:13
 buildings                                 cancelled
   139:11            calls  115:8            22:1                 161:5
                       117:19,20,            118:18,20            179:11,13
 built     48:4        21                                         180:6,7
                                             119:1
 business
                     camera  7:3                                  181:14
                                           capacity
   11:19               38:1,4                                     187:2
                                             45:18
   13:22               66:21,24                                   189:16
                                             60:5,10
   19:11 31:2          77:9,11                                   car 129:12
                                             125:12
   35:3                79:22                                      139:13
   96:18,25                                capital
                       80:6,10,19                                card   33:20
   97:5                                      16:12
                       81:1 85:12
   100:12,14                                 18:8,11             care 43:18
                       86:12,15
                                             24:22,23,            150:24
 busy    34:17         87:22 92:9
                                             24 25:2,3,           181:25
                       97:16,17


www.huseby.com                Huseby Global Litigation                  800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 205 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023     ·Index: career..check
 career  61:1         114:7                 120:8,13             140:14
   70:7,9             128:17,24             147:23,25           chair 153:6
   178:17             131:17                148:1,3              159:20
 careful              145:4                 179:4,11             180:4,5
   63:24              147:24,25             183:21
                      152:2                                     challenging
   133:1,4                                cash     33:12         146:9
                      155:8
 carefully            161:4,13,           casual                chance
   133:7              14 162:7,             56:14,17             145:10
 Carolina             10,20               casually              change     40:13
   111:17,18          170:12                55:25
                      172:12,19             95:15               Channel
 cartoon
                      175:14                                     140:5
   89:24                                  caused        92:25
                      178:19                                    character
 case  21:22          179:1,3,7,          ceiling                89:24
   25:24              8,9,12,13             185:16
   26:1,10,18                                                   charge     82:11
                      180:20              cell  12:18
   27:13                                                         135:7
                      187:14,18             83:23
   29:15              190:10,11             117:23              charged     30:3
   36:23                                    136:15,16            63:7,8
                    caseload
   37:14                                    140:9
                      72:4                                      charges
   46:11                                    141:19
                      178:25                                     38:20
   47:4,6                                   181:21
                      191:8                                      39:4,6
   48:20                                    188:15               121:9,13
   49:20 50:5       caseloads
                                          Center        55:15    142:4
   67:24              26:14
                                                                 171:1,18,
   68:10,11,        cases  18:2           centralized            22 172:7
   15 71:11,          24:22                 44:24
   25 72:11,                                                    Charles     7:19
                      25:2,6,11,          certification
   12,22              17 26:13                                  Charlie
                                            19:8,9
   73:12,19           28:14,16                                   156:10
                                            81:10
   83:12              46:8 47:18
                                          certifications        chat     167:13
   96:22              48:6 50:2,
   108:23                                   15:4                chatted
                      4 52:1,3,5
   109:20             73:7 74:12          Cesar     187:20       178:6
   111:19             100:16                                    check 54:14
                                          chain     141:11
   112:11             111:13,16                                  188:22
   113:1              114:20              chains        74:23


www.huseby.com               Huseby Global Litigation                    800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 206 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023  ·Index: checked..college
 checked     68:4     classroom-type          132:4                21,23
 checking               50:12                 148:6                16:17
   48:18              clean     8:23          152:3                19:10,24
                                              154:11               21:1 49:25
 chest                clear  69:14            168:2,4,6
   106:11,13            103:24                                    close 10:10
                                              182:9                74:16
 child     43:14        104:20                183:16
                        108:16                187:2               close-toed
 children               116:4,16                                   55:3,20
   12:1                                     client's
                        117:3                                     closed     53:24
                        150:2,5               54:18
 choice     24:25
                        175:21              clients  29:6         closer     90:7
 choose     32:17
                      cleared     69:4        41:19,24            closeted
   37:15
                                              46:23                52:18
   91:10              client  18:4            52:13 53:9
   108:18               26:2,5,6                                  clothing
                                              54:2
 chose                  46:21                                      109:15
                                              56:16,20
   125:24,25            47:7,9                57:15,18            code     109:24
                        49:17                 61:6,7,17,
 chosen     42:18                                                 codefendant
                        51:2,7,10,            21 62:6,7
 Chuck  7:21                                                       187:10,13,
                        12 52:17              66:9,11
   152:1                                                           14,17,24
                        56:3,19               75:5,11
                        57:7 63:6,                                cognitive
 citations                                    76:8 89:7
   12:15                8,24 67:25                                 54:18
                                              94:12
                        70:25                                      112:9
 CJA  27:16                                   97:24
                        76:20                 109:17              Cole 7:21
   28:11 29:8
                        77:24                 112:16               151:25
   30:4
                        78:20                 124:17               152:1
 claim     142:17       79:13                 125:2                156:6
 claiming               81:15                 162:14,18,          collateral
   145:4                96:20,25              19 163:14            148:10
                        98:14,20,             182:15,16
 class  51:5            21 100:13                                 collaterals
   58:9,11,                                   183:4,21
                        115:23                188:4,19             112:18
   15,24                116:7                 191:7,9,13          collect     47:1
 classes                126:8                                      48:11
   14:19                130:7               clinic        16:15
                                                                  college
   23:15                131:5,13,           clinical
                        19,20                 15:5,19,             13:17,18,


www.huseby.com                 Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 207 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: comfortable..confusing
   19                communicated          completely           concluded
 comfortable           64:2                  46:13                192:14
   44:19 54:5          117:13                106:9              concludes
   56:20               163:12                145:19               192:8
   75:14               169:22                152:20
                       171:8                                    condo     10:7
   148:8                                   complex       82:1
   154:10            communicating                              conducive
                                           complicate-
                       78:10,11                                   183:13
 command                                     188:1
   141:12              117:9                                    conduct
                                           computer
                     communication                                48:13
 comment     39:8                            68:14 86:3
   62:10               78:6,7,9,                                conducting
                       12,14               concept       42:4     84:18
   63:19
   114:2               112:15              concern                96:25
   186:16              119:6                 40:15              conductor
   189:20,21,          123:5                 74:15                150:23
   23 190:4,6          164:17                80:19
                       189:15                96:24              conference
 commented                                                        110:22
                     communications          97:21
   176:13                                    98:2,15,             152:9
   185:4               71:2 77:24
                                             16,17                184:4,7
                       78:19
 commenting            79:2,16,18            101:19             conferences
   95:16               88:6,15               126:11               23:20
 comments              131:9,17,             150:1,25             50:14,15
   41:19               18,24                 155:22
                                                                confidential
   42:17               134:21              concerned              183:18,23
   61:2,12             136:17                53:5 89:5,           191:17
   66:5,8              138:1,23              10 100:2
                                                                conflict
   113:18,21           162:15                128:17,18
                                                                  187:18
   170:6               191:17                137:2
   186:20                                    187:6,23,          confused
                     community
                                             25                   101:5
 commissary            50:21
                                                                  140:18
   119:14              116:2               concerns
                                                                  169:16
 common     55:11    compared                42:16 44:1
                                                                  171:10
                       108:6                 52:4 100:1
 communicate                                 155:1,12,          confusing
   117:12            complete                                     44:3
                                             14
   118:7               107:15


www.huseby.com                Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 208 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: Congratulations..correct
 Congratulation      contents              contraceptives        copy  70:2
 s 19:5                156:3                 12:24                 122:17,25
 connected           context               contract                190:7,8
   16:22               51:20                 28:13               corner
   50:21               63:19                                       185:10,16
                                           contracted
 connection            81:11                 27:16               Corners     11:9
   191:4,7,          continuance           control               correct
   12,18,19            26:16                 89:14                 12:16 23:9
 considered          continue                                      31:7 59:1,
                                           conversation
   80:25               16:19 35:6                                  21 60:18
                                             39:5,7,20
   81:5,8              90:6                                        62:13
                                             40:23
   109:11                                                          67:11
                     continued               41:13
 consult               33:17,23              62:5,7                69:13
   143:8                                     90:18                 73:14
                     continuing                                    77:18
 consulting-           14:24                 91:25
                                             107:16                79:10,19,
 type 180:8            20:18
                                             135:13                20,23 80:4
 contact               102:24                                      81:13,14,
                                             139:2
   113:5,9           contraband                                    17 93:10,
                                             169:18
   118:1               69:18 70:6                                  19 98:4,11
                                             171:18
   138:19              83:22 84:5                                  99:11,20,
                                             177:18
   153:17,23           94:22                                       23 100:11
   156:16                                  conversations           101:4,24
                       95:25 96:3
   164:9,22            97:5,6,9              40:23 43:7            102:10
   182:14,16           98:3,11               61:17                 104:6
   183:4,10,           100:6,17,             98:19                 106:16,17,
   18,23               24 101:5,             112:13                24 107:4,7
   184:3,11            7,10,12               141:19                121:7,9,
   188:7,12,           110:11                166:5                 10,14
   20                  117:24                167:11                126:6
                       128:8                 168:25                134:18,19,
 contacted
                       130:7                 169:8                 24,25
   175:25
                       131:15,23           convicted               136:5,6
 contacting
                       135:15,16             23:2                  137:20
   175:23
                       167:2                 109:14                138:2,4,8,
 content               188:23                                      13,14,17,
                                           conviction
   126:25                                                          18 142:5,6
                                             69:13

www.huseby.com                Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 209 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: correctional..customary
   144:22            correctly             coursework             156:8,10
   152:18              27:19                 16:4 60:4            163:17,21
   156:25              61:19               court  7:13          create     56:14
   157:2               91:16                 8:19 9:23
   158:14              114:2                                    created
                                             37:22 86:8           40:15
   159:3               179:5                 96:10
   160:2,5                                                        160:1
                     cost     124:24         117:10
   164:6                                     118:10,11,         credentials
   167:9             council
                                             16 122:13,           19:18
   172:9,10            36:13 37:7
                       40:4 44:14            20 133:12          credibility
   173:1,2                                   165:24
                       141:9                                      19:20
   175:11,12,                                181:11
   24 178:17         counsel     41:5                           credit     33:20
                                             183:17,22
   185:23,24           124:11                190:17,21,         crime     26:4
   186:1               151:9                 24                 crimes     59:3
 correctional        country     44:8                             62:12
                                           Court's
   23:8 46:23          75:9                  119:1              criminal
   52:25
                     counts     11:5       courthouse             13:21
   53:2,4
                     county  13:13           138:16               21:22
   55:12,18
                       55:16 57:3            139:7                34:15
   56:5 58:14
                       129:3                                      36:23
   60:6,8,12,                              courts        25:8
                       130:20                                     37:14 46:1
   14 70:7,9
                                           cousin                 58:9 61:5
   71:15               136:4
                       138:15                114:3,21             62:8,11
   74:4,18
                       139:7                 116:21               83:12
   80:18 99:6
                       148:7                 117:3                115:19
   101:4
                       170:11,22             189:10,14            142:3
   102:7
                       181:24              cousins                145:24
   148:8,12
                                             11:21                146:1
   149:11            couple     8:18
                                             114:8                149:16
   152:22              26:17
   174:1               33:10 39:5            160:9              cuffs     74:24
   178:1,4,16          111:8               coverage             current 9:22
   181:17              115:13                121:8                10:11,18
   185:1               162:17                                     45:1
                                           COVID  149:5,
 Corrections         courses                 6 166:22           customary
   188:5               23:16                                      55:7 96:4
                                           Cox     7:19


www.huseby.com                Huseby Global Litigation                   800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 210 of 254

                     LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                              Lily Engleman on 02/14/2023             ·Index: cut..defense
 cut     55:2,3           146:10              debt  33:20            16:12
                          147:8                 150:21               18:9,11
          D               164:5,11            December               23:14
                          174:14                13:23                24:23
 DA  142:3                180:10,14                                  27:10,21
   170:10                                     decide        36:24    33:5,16
                        day-to-day
 DA's     138:2           43:5                decided                36:8,10,
                                                137:23               11,25 39:3
 dad     161:22         days  39:5                                   40:3 43:1
                                                138:4
 dad's     161:25         137:6                 148:19               55:23
 Dahlonega              deal  25:21                                  71:18
                                              deciding
   11:5,6                 53:14 54:1                                 72:23
                                                46:15
   13:13,15               55:22                                      111:23
                          65:14               decision               119:21
 daily     101:23         160:9                 42:11                120:7
 damages                  168:12                174:19               136:14
   142:12                                       176:5                141:12,21
                        dealing
   145:4                                      deeply                 160:17,18,
                          51:18,20
                                                147:21               25 161:5
 danger                   53:4,23
   100:24                                                            162:16
                          54:25               defendant
                                                                     180:7
 data     60:21           56:19                 12:5
                                                                     181:15
                          62:23
 date  7:9                                    Defendant's            189:16
                          75:14
   9:20                                         122:18
                                                                    defending
                        dealt  61:1
 dating       64:9                            defendants             63:7
                          168:17
                                                115:20
 David     7:23           171:6                                     defense
                                                140:17
                          174:3                                      36:13 37:7
 day  19:1                                      152:2
                                                                     40:3 41:21
   35:13,17             death  46:16            175:20
                                                                     42:8 44:13
   46:22                  51:9 58:22
                                              defender               50:20 51:3
   47:12                  73:11 74:9
                                                24:15,19             55:16
   53:12,13               75:8
                                                28:7 41:18           57:17
   101:15                 101:3,13
                                                43:22                60:22
   102:3                  102:4
                                                44:2,5               62:1,20
   115:12                 162:6
                                                45:8,11,25           69:24
   119:2                Deborah                 141:9                70:25
   126:16                 11:11
                                              defenders              73:13
   136:23


www.huseby.com                   Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 211 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: defensive..discovery
   78:4,5              37:12,14           destabilizing          170:12
   84:21               42:24                145:18              directly
   96:19,22,           47:22              details                26:20
   24 97:23            48:24 51:3           47:19                117:14
   98:16,17            129:3,10,                                 174:12
   100:16              12,14              detector
   113:4               130:20               68:9,24             director
   117:1               139:9              determine              16:14
   122:24              188:5                139:15               26:22 37:6
   124:18                                                        39:2 40:11
                    depo    29:3          develop       50:5     42:12,22,
   146:20
   147:13           deposed     8:7,      diagnoses              25 43:3,15
   156:15              16                   144:8,9,11           44:16
   177:13           deposition                                   47:23 72:5
                                          diagnosis
   183:19              7:6 71:4                                  112:25
                                            144:13,18,
                       87:1                                      141:20
 defensive                                  21,23
                       192:9,14                                  180:6
   64:3                                   Diagnostic
   115:21                                                       directors
                    depressed               58:16,22
   116:4               33:6 162:7                                43:3
                                          died  102:8,           44:11,23
 deficits           depressing              19 160:19
   112:9                                                        disability
                       35:1
                                          difference             51:6
 degree  13:21         150:17
                                            15:10
   15:14 16:2                                                   disabled
                    depression              24:21
   34:23               145:16                                    47:8 51:8
                                            154:20
   45:15 80:2                                                   disagree
                    Deriana               difficult
 demonized             180:15                                    99:18
                                            34:9 178:2
   115:24                                                        106:12
                    Derrick                 183:11
 demonstrate                                                    disciplinary
                       173:8              difficulty
   133:11                                                        69:17
                    describe                162:6
                                                                 70:1,8
 demonstrates          41:2 165:8         digest        47:3     95:25
   82:4                166:7
                                          direct        26:21   discovery
 demonstrating         167:8
                                          direction              41:5,6
   133:13           description                                  83:12
                                            43:10
 Dennis     11:11      157:23                                    84:14
                                            118:23
 department         desk    136:16          158:24               145:5


www.huseby.com               Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 212 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023  ·Index: discuss..Dubose
   155:11             144:17                166:14          dress 53:23
   170:16,18        dispute                 167:11           95:15
   173:25             73:24 74:2            168:12,16,      dressed
   174:7                                    18 169:1,        55:25
   175:13           district                4,15,16
                      24:15                 170:19          driving
 discuss              25:8,16               171:6,8,14       150:25
   89:15              44:9 167:7
   161:14                                 Donnie            drop 110:11
                      168:11,17,                             172:20
   188:6              21 169:2,             187:24
 discussed            25 170:7            door  53:24       dropped
   65:12              171:11                57:6,8           38:21
   70:15                                    59:12,15         39:4,6
                    divulging
   77:16                                    75:23            121:9,13
                      131:21                                 142:4
   89:15                                    113:7
   129:19           DOC   82:10             127:6,13,       dropping
   161:15           documentation           19 128:1         171:1
   168:3              22:5,24               153:25
                                                            drove
 discussing           23:1,5                154:14
                                                             141:17,25
   87:5 90:2          48:10                 155:19
                      188:18                157:25          drugs     52:11
   122:23
                                            158:2,3         Dubose     58:6
 discussion         documented
                                            159:7,9,         66:13
   53:2,20            48:9
                                            13,16            67:6,16
   56:1 136:8         189:15
                                          doors     52:23    69:10
   165:18           documents                                70:23
   182:9              21:20               Doss     180:15
                                                             71:3,11
 discussions          132:23              double-check       80:2,23
   53:14              133:10,12,            49:21            83:1,8
   55:10 61:3         13,16                                  84:18 85:2
                                          doubled
   142:3              145:13                                 87:3,20
                      155:7,11              13:21
   175:3                                                     93:3 98:3
                      156:4               doubts             101:3,12
 dismissed            175:7,8,13            146:21           102:7
   171:18,22          181:24              draw     124:19    109:21
 disparage            182:7                                  110:1
   116:20                                 drawings
                    Don  138:24             160:11           111:2
 displaying           139:1                                  114:5


www.huseby.com               Huseby Global Litigation                800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 213 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: Dubose's..ensued
   123:5              117:11,17              108:6               encouraged
   132:11,21          119:11               elated        147:7    51:16
   134:13             120:11                                     end 30:10
   136:20             123:5                element       34:5
                                                                  90:7 122:1
   139:25             126:1                eligible               169:11
   141:6,16           136:18,19              15:25 51:8
   152:12                                                        ended     16:19
                     earlier               else's
   153:1,19,          91:25                                      ends     14:12
                                             100:12,14
   22 154:21          134:21                                     enforcement
   156:2,16,                               embarrassed
                      135:10                                      52:9 138:9
   23 157:2,5                                64:20,24
                      150:14
   158:9,14                                emotional             engage     113:4
                      157:14
   159:3,14,          159:24                 191:4,6,9,          engaging
   25 162:21          164:4                  12,18,19             56:17
   163:12             176:13               emotionally           Engleman
   173:24             178:15                 33:12 89:3           7:7,8,16
   176:2              180:12
                                           employed               8:6,11
   177:20             189:4
                                             81:17                9:19
   179:1,3,15
                     earliest                                     11:11,13,
   181:3                                   employee
                      161:22                                      15 71:2
   186:19                                    40:21                128:4
   190:2             earned     29:23        42:23                152:1
   191:13,15          31:2                   148:20               162:25
 Dubose's            earnings              employees              163:3,25
   165:9              29:21                  42:9                 166:4
   185:20                                    177:10               167:13
                     easier     24:11
   187:10,13                                                      173:8
                     education             employment
   189:7                                                          176:12
                      14:25                  16:19,24
 duly     8:7                                20:5 22:22          English
                      20:19
 dumbfounded                                 24:10                13:22
                     educational
   130:14                                    42:25               enjoy     44:25
                      13:10
                                             45:10
 dynamic      56:2    14:22                                      enrollment
   85:15                                   encompass              13:14
                     effect     171:3
                                             133:22
                      190:4                                      ensued
          E                                encountered
                     effort                                       165:18
                                             186:24
 e-mail               73:14,15


www.huseby.com                Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 214 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023     ·Index: ensure..fabric
 ensure     98:10       17:17               Exhibit              explanation
 ensuring               41:12                 122:12,18,          37:4
   76:12                123:9                 19,24               169:20
                        144:2               exit     69:3         172:15
 entail     49:13
                      et al     7:8         expect        62:6   explore      64:4
 entering
   67:15              Eugenia     9:19      expecting            explored
                      evaluate                32:24               112:12
 entire  42:25
   72:23 89:1           47:11               experience           exploring
   178:17             event     80:4          43:21               58:10
                                              57:20 67:5          112:8,9,11
 environment          eventually
   34:18                38:20                 115:19             expressed
   53:24                150:8                 138:7               44:1
   56:15                172:19              experienced           191:21
   96:14              everybody's             142:13             extended
   147:11               54:3                  145:3               114:13
 equipped             evidence              experiences          extent       34:20
   75:18                121:4                 48:8                73:19
 Eric     7:22          166:25              expert        47:8    121:11
   8:4                                                            151:10
                      examination           expertise
   165:20,25            8:9 124:12            138:8              external
   176:13               151:24                                    51:16
                                            experts       47:5
 escape     98:4        156:7                 51:13              extra 33:12,
 escaped                163:22                                    14,19 34:4
                        166:2               explain               122:24
   71:14                                      15:10
   73:25                173:6                                    extremely
                        176:10                61:24
   74:17                                      150:21              112:18
   76:11              examined     8:8        154:24              147:22
   80:17 96:1         excessive                                  eye     153:17,
   97:7 100:2                               explained
                        140:15                129:1,8,            23
 escapes              exchange                21,22
   187:21               110:13                137:2                       F
 essentially            135:16              explaining           fabric
   15:20              Excuse                  22:23,24            124:1,2
   16:25                148:14                                    164:24

www.huseby.com                 Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 215 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023 ·Index: fabric-type..felony
 fabric-type           81:12                 95:15              28:8,9,12
   159:25              82:10               fall     14:1        43:22
 face  123:12          123:17                                   44:2,5,6,
                       127:6,23            familiar             10
   185:23                                    25:16
                       128:12,13                               feedback
 Facebook              129:5                 85:10
   113:12,15                                                    27:5
                       148:13              families
   120:21              154:12                46:24             feel 56:20,
   189:23              178:1,4               115:21             21 75:18
   190:3,4,8           181:18                                   76:2
                                           family  11:2,        103:11,13
 faced    185:20       182:9,10
                                             20 51:11           115:22
                       188:14,18
 faces    126:4                              66:8               133:1,2
                     facing     75:7         102:17             146:2
 facilitate
                       116:8                 111:7,12,          148:8
   71:19
                       158:23                13,17              149:14
 facilities                                  112:8,13,
                     fact  34:15                                151:13
   52:25                                     15,18
                       73:22,25                                feeling
   53:3,17                                   113:15
                       102:6                                    40:15 42:1
   55:18                                     114:5,24
                       116:23                                   149:8
   57:2,5                                    115:23
                       132:21
   58:13,14,                                 116:2             feelings
                       166:23
   23 123:21                                 161:23             162:9
                       170:20,24
   148:9                                     189:7              190:19
                       180:22
   149:12                                    190:2
   152:22            Factory                                   feels 64:24
   154:13              14:16               father               145:8
   181:17,23           29:24                 114:10            feet 76:7
   185:1               31:20                 116:6              88:18
                       147:3               fear     148:18      91:16 92:8
 facility
   46:23 53:9        fair  42:15           feature              103:15
   55:12 56:5          43:9 44:25            156:3              107:18
   67:14,25            92:18                                    108:4,19,
                                           February      7:9    21 109:1,
   69:5,9              100:8,25
                                             35:18              7,15
   74:21               101:11
                                             172:3              159:22
   75:20               121:6
   76:2,3,4,                               federal              165:8,9,14
                     fairly     50:21
   19,25 80:3                                24:15             felony
                       78:13
                                             27:10,21           150:10

www.huseby.com                Huseby Global Litigation                  800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 216 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023             ·Index: felt..frames
 felt  33:7,         figuring              firsthand             forces
   21 40:1,4,          48:21                 134:17               146:25
   5 41:2            file  29:16           five-minute           forensic
   44:19               30:20                 121:17               28:16,19
   47:6,7              68:13                 151:14
   51:15                                                         foreseeable
                       72:13,17            fixated       66:2     45:4
   53:18               160:17,18,
   57:14,15,           25 189:16           flight        69:11   forgetting
   18,19 64:2          190:10,11                                  179:6
                                           flip     68:16,
   74:21,22
                     fill     72:2           17                  form 9:12
   75:5,19,
                                           flirtation             59:5 78:1,
   21,24,25          filling     7:22
                                             66:4                 22 81:2,23
   76:8 96:3
                     film     140:6                               84:8 94:3
   119:22                                  flirtatious
                     filmed                                       96:7,15
   120:3                                     61:2 66:8
                       140:16                                     97:15
   130:3,9,24
                                           floor     55:13,       98:5,12
   131:2             finally     22:4        21                   99:9
   146:25              170:15                                     101:17
   147:20,22                               Florida       29:9
                     financial                                    103:19
   148:3                                     50:23
                       145:13                                    formal
   149:22                                  fluid     188:16
   150:14,20,        financials                                   23:14,15
   21,22               142:15              focus     56:16        24:3 39:14
                                           focuses                144:18,20
 female              find     19:1
   132:18                                    73:21,22            forward
                     fine  71:6
   135:22                                  folks  85:21           151:4
                       82:22
                                             142:8                169:10
 fetal    50:18        110:4
                       137:5               follow  29:3          found 18:24
 field  19:19
                       160:22                156:19               83:23
   52:22 53:7
                       167:16                                     141:6,13
   61:5 137:9                              follow-up
                                                                  149:17
   147:18            finish  63:13           39:17
                                                                  167:2
   149:5,11            122:15,23             173:10
                                                                  171:13
 figure  26:9        finished              foot                   172:24
   139:19              153:10                103:12,13            190:5
   155:17,20,        fired  22:20            104:5,9,21
                                                                 frame     171:25
   24                  72:22                 106:5
                                             107:14,21           frames


www.huseby.com                Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 217 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023        ·Index: frank-..give
   107:12           full-time             gathering         24:16 25:8
 frank-     189:3     26:11                 47:15           29:12
                      27:20                 173:23          36:13 37:7
 frankly              28:13                                 44:9 56:7
   96:23                                  gauge     73:2
                    fully  25:5                             58:7,16,22
   120:5                                  gave  14:13       75:8 78:17
   129:24             83:24                 22:16,18
                      140:14                                114:4,5
   146:16                                   123:23,24
                                                           Georgia's
 free  16:24        Fulton       55:16      130:12
                                            144:24          32:4
   124:24           function
   151:13             112:14                160:2,4,14     germane
                                            161:5           108:23
 frequent           functioning             165:4,5
   97:4               51:12                                gesture     8:20
                                            192:2           158:19
 freshman             112:10
                                          gearing          gestures
   13:17,18         funded  44:10           179:17
                      111:21,22                             8:22
 friend     10:15                         general
   16:22            funding                                get-go     116:5
                                            32:22 50:7
 friendship           44:21                 82:9,10        ghosted
   125:25           funny  63:22,           87:17           115:6
                      23 65:16              107:19         gifts     124:20
 friendships
                                            112:5
   64:8             future  33:7                           girl 64:13
                                            138:12
 front  87:23         45:3,4                                65:3,4
                                            155:15
   157:2                                                   girlfriend
                             G            generally
   169:11                                                   64:14
                                            11:3 59:7
   188:13                                                   110:14
                    Galloway                153:21,22
 frozen     186:5     180:24                               give 21:23
                                          generated
 frustrated                                                 22:4 23:1
                    game     130:4          69:25
   171:16                                                   34:1 35:7
                    garage-looking        gentlemen         82:17
 full  9:17           139:12                156:12          103:21
   14:19,21                                                 113:23
                    Gary     8:2          Georgia 9:23
   26:13,14                                                 115:1
                    gate     68:7           10:4,23
   30:11,14                                                 123:19
                                            13:15,19,
   36:5,7,8         gathered                                124:19
                                            25 14:4,23
   72:4               132:24                                125:4,24
                                            21:13


www.huseby.com               Huseby Global Litigation               800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 218 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023   ·Index: giving..halfway
   126:1,7              105:16                140:20            117:7
   130:6                109:12              great  27:6,8       123:22
   136:14               115:5,18              43:2,24           149:14
   137:14               128:1                 116:11            153:25
   144:8                148:23,25             148:23          guesstimate
   145:9                176:12                                  30:19
   147:3                184:23              greatly
   157:22                                     102:21          guest     52:6
                      gosh    63:21
   167:1                                    Green  7:25       guidance
   169:20             government              85:25             53:22
   188:5,19             28:8,12               163:19,23
                        43:13,16,                             guide     48:12
   191:15,25                                  164:1,2
                        20 44:5,7,            165:15          guidelines
 giving    97:8,        11,15                                   47:13
   19,20                                    grew
   98:13              governor                                guilt-
                                              179:16,21
   124:15               42:13                                 innocence
                        43:20               gross     55:13     46:13
   126:4
   159:25             governor-             ground  8:18      guy  53:12
                      appointed               130:16            94:8 95:11
 glad     187:11
                        42:10               group  17:15,
 glass  127:8                                                 guys  110:23
                      governs                 21 34:12          123:9
   152:17,20,
   23 156:25            47:18               growing             166:17
   157:5,7            GPDC    41:5            112:17            167:12
   158:3,4            graduate              guard  55:5
   159:1                                      152:14                   H
                        14:9 45:15
   182:21                                     153:3,17,
                      graduated                               habeas       25:3
   183:1,6,11                                 24 154:3,
   184:11               13:12,23                              habit     8:20
                                              20 156:20
                        14:2 45:16
 good  8:11,                                  157:4,7,22      half  18:12,
   12 20:21,          graduating              159:5,13          16 57:9
   24 21:4              15:9                                    87:14
                                            guards
   42:1,13            grand  149:19           154:13            94:11
   44:20                172:7,12,                               107:16
                                            guess  24:11        142:6
   50:17                25
                                              65:15             180:25
   66:18              grant     44:10         113:23
   74:22                                                      halfway
                      granted                 116:22
   90:10

www.huseby.com                 Huseby Global Litigation                800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 219 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023                ·Index: hall..high
   90:20                137:8,10             100:22             hear
 hall     158:19        154:18             harmed                110:17,19
                        187:8                101:21              116:12,18
 hallway 77:6                                                    176:17,18
                      happened
   157:11,18,                              Harris                183:13
   22,24                19:4 22:23           180:22
                        26:4 34:1                                186:3,4
   158:4,6,                                head  48:23
   10,16,18,            44:13                                   heard 39:3,5
                        65:13                66:3 88:3,          79:8 82:6
   20 159:15,                                7 90:14
   16,19                71:16 73:5                               109:21
                        94:6                 93:24 94:1
                                                                hearing
 hand     174:2         129:11               96:4 103:1
                                             104:12              118:11,16
 handbook               130:22                                   140:10,13,
   49:2                 136:23               105:24
                                             106:8,19            20,22
                        140:4
 handcuffed                                  107:24             heartbreaking
                        141:7
   74:23 76:6                                109:13              40:8
                        145:20,23
   97:17                                     116:23
                        150:8,19                                heavily
   128:13,16,                                137:7
                        187:5                                    180:9
   22                                        165:11
                      happening                                 heaviness
 handful    44:7                           head's
                        33:21 80:4                               92:5,16
 handle     26:15       106:24               102:25
   75:17                                     103:3              heavy 88:25
                        107:2
   148:13                                                        89:2,9
                        130:1,2,6          headed        40:4
 handled                149:2                                   held      51:24
                                           heading
   90:10              happy  43:10,          44:18              helpful
   120:14               14 150:7                                 33:24
   180:20                                  health        26:3
                        162:1                                   helping
                                             36:14
 handles              hard  30:16            40:25               33:20
   179:12               35:2 62:4            46:19               41:24
 hands  91:8            110:17,19            142:17,22           116:7
   108:17               146:5,6              143:24             helps      19:22
                        150:18,21            144:12
 happen     26:19                                               high 13:11,
                        151:5,6              145:2
   33:13                                                         12,13,16
                        183:13               150:4
   61:14                                                         53:24
   76:12              harm  60:6           healthy               57:24
   100:9                98:3                 33:11               58:6,25


www.huseby.com                Huseby Global Litigation                     800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 220 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: higher..importance
   59:7               home  53:7            hours  15:24          23 149:22
   64:13,14             115:1                 18:6 30:8,          175:25
   67:15                141:25                13,17               187:4
   76:13,16           honest  59:22           49:25              ideas     50:4
   94:19                110:15              house  10:5,
   96:5,14                                                       identification
                        152:19                6,8,12,13           122:13,20
   99:7 100:1
   101:23             honestly              housed               identified
   102:3                66:7 82:12            183:21              26:2
   109:13               83:24               housekeeping
                        125:1                                    identify
   144:16                                     122:16
                        163:9                                     46:19,20
 higher     59:2        164:13,19           huge  51:6            47:5
 highest                165:3                 150:1               51:10,13
   19:18                175:17,18           Human     55:15       63:25
 hire  16:25            184:25                                   identifying
                                            hurry     177:16
   150:13               188:25                                    165:23
                        189:3               hurt  91:13
 hired  39:9                                                     illicit
                                              109:2
                      honesty                                     52:11
   179:3
                        42:17               husband
 hiring     47:8,                             116:6              illness     13:5
                      hooked
   11                                                            immediately
                        148:22              hustle        17:2
 historically                                                     15:17
                      hoping                hypothetically        18:21
   100:15
                        110:13                62:23               73:7,8
 histories              114:25                                    145:21
   112:16                                             I           149:25
                      horrible
 history                116:10                                    179:4
   24:11 26:5                               idea  33:21
                      horrifically            39:13              impair     13:1,
   41:17 64:9                                                     6
   142:14               145:25                44:14
                      hosted     50:18        77:12              impaired
 hit     86:23                                82:12,21            54:10
 hitting              hotel     148:21        86:2,6
                                                                 implementing
   48:15 56:6         hour  30:4,7            97:16,17
                                                                  37:8
                        87:14                 109:13
 holding
                                              125:21             importance
   140:9              hourly     17:14                            76:16
                                              128:6
                        30:2
                                              141:10,22,

www.huseby.com                 Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 221 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: important..initially
 important             158:15             indict                101:14,20
   41:10               168:10,22            149:19              102:18
   112:19              173:18               166:24            informally
 impression            174:22             indicted              144:14
   95:7                189:22               21:23             information
   116:21           incarcerated            40:20               22:13
   125:15              148:6                149:18              25:17
   191:22           incident                167:4               31:14
 impressions           145:3                169:6,14            47:16
   103:22                                   170:15              48:21
                    include                 172:22,23
 inactive              101:2,7                                  54:7,20
   22:8                160:11             indicting             56:23
                                            170:2               67:14 82:4
 inappropriate      included                                    83:7 95:22
                                          indictment
   41:20,25            101:3                                    96:21
   61:1,11,                                 36:11
                    including               37:10               109:23
   12,25               11:20 34:4                               110:11
   62:10                                    38:11
                       70:10 78:4           40:22 43:8          112:19
   63:20 66:5          101:4,8,14                               114:9,11
   117:6                                    150:1,11
                       113:14               166:8,11            115:1
   125:10                                                       120:24
   132:10           incredibly              169:10
                                            170:8               128:21
   169:2,24            40:2 132:9
                                            172:1,5             131:5,21
                       145:17
 inaudible                                                      132:2,6,24
                       183:12             indigent
   20:8 30:13                                                   133:2
   31:16            independently           41:24 42:8          136:10
   39:20               44:12              individual            137:3
   45:21 49:9          81:17                43:5 74:16        informed
   57:11            indicating              168:16              166:13
   74:14               84:4               individual's        infractions
   82:1,13             109:22               170:14
   85:25                                                        70:8
                       120:24
   87:10,11,                              individually        initial
                       121:9
   12 88:10            188:11               161:11              84:17
   95:13                                  individuals           173:25
                    indications
   112:25                                   54:9 97:2         initially
                       191:16
   123:11                                   100:6               48:2 71:10


www.huseby.com               Huseby Global Litigation                  800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 222 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023  ·Index: injured..involved
   72:10            ins  107:15             78:10            interruption
   179:4              177:25              interaction          37:21
   183:2            insanity                42:21            interview
 injured              36:15                 56:18,22           51:11
   101:20           inside  68:19           164:9              52:17
 injuries             101:15                177:3              108:19
   60:6               128:14,15,            178:6              115:18
                      16 154:4              187:16             148:10
 injury  47:10                                                 189:17
                                          interactions
   101:3,13         insomnia
   102:4              145:5                 40:20 64:7       interviewing
                                            79:13 83:8         47:1 54:1
 inmate  60:11      instances               96:20            interviews
   97:4,6             95:24                 97:24
   123:17             118:10                                   48:14
                                            98:20              49:16
   125:15           institutions            110:2
   187:9,19           178:16                113:22           introduce
 inmate's             182:18                177:6              7:12
   119:23                                   178:8,11         invested
                    instructed
   120:4              55:2                interactive          42:7,9
 inmates                                    50:9               44:17
                    intellectual
   53:23              51:6                interchangeabl     investigates
   54:25 59:3         112:10              y 46:4               46:9
   60:7,15,25                                                investigation
                    intellectually        interest
   100:17,23                                                   83:8 110:2
                      47:7 51:8             41:23
   119:11                                                      111:6
   120:15           intend     45:3       interested
                                                               139:15,18,
   123:19                                   19:16,17
                    interact                                   22
   178:2,15,                              internal
                      53:23                                  investigator
   20,23,24                                 51:15
                      61:20                                    46:2,3
   181:17                                   148:3
                    interacted                                 73:20,22
 innocent                                 interned
                      42:25                                    180:22
   146:2                                    55:14,16
                      61:22                                  investigators
 inputting            124:23              interrupted          55:24
   49:19              177:5                 173:20             120:1
 inquiry            interacting           interrupting       involved
   79:23              54:5 62:19            8:21

www.huseby.com               Huseby Global Litigation                 800-333-2082
      Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 223 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: involvement..justification
   12:4 43:4           items  101:8             164:25                 176:21
   52:9 70:5             123:21              job   19:22,           JPAY   118:5,
   71:10 74:3            125:16                 23 22:20               23 119:4,
   81:20                 164:25                 27:4,20                8,10
   82:24 83:7            188:24                 39:23 40:7             120:10
   174:6                                        41:14                  122:23
   180:10,21                    J               45:1,17                123:5
 involvement                                    48:16,18            judge   26:19
                       Jackson
   174:18                                       49:18                  187:7
                         57:23
 IQ     47:9                                    50:13,17
                         67:5,11                                    judges
                                                75:13
 irons  97:18            70:10                                         25:11,15,
                                                90:10
   108:1                 76:13,20                                      19
                                                98:23
                         81:13,16,
 issue    70:13                                 99:4,8,23           July     118:17
                         19 82:5
   95:5                                         114:16
                         129:4                                      jump     66:16
   120:21                                       146:14
                         135:9                                      jumped      45:8
   131:23                                       147:21
   135:15              jail    148:7            148:4,18,           juncture
   154:7               jails  57:3              25 149:10              93:15
                         181:24                 150:2,19
 issues  13:4                                                       June   71:16
   18:3 26:3           Jamie     17:3,4      John     11:15            156:16
   27:4 43:25                                joint     13:14           160:19
                       January 15:7
   44:22
                         16:2 18:20          Jonathan       8:5     Juneau      9:23
   46:19,20
                         24:16                  166:1,5             jury   11:16
   51:19
                         27:23 33:1             168:19                 46:15
   52:4,21,24
                         37:1 43:23             169:8,9,               149:19
   53:2,10
   60:23               jeans     56:7           12,19                  172:7,13,
   81:10                                        170:13,20,             14,25
                       jeopardy
   96:2,3                                       22,23
                         41:14                                      justice
   97:5 100:6                                   171:1,11,
                                                                       13:21 58:9
   112:2               Jerilyn                  23
                                                                       61:5 62:9,
   142:18                39:1,10,20          Jordan   8:3              12
   145:2               Jerry     180:6          173:9,12,
                                                                    justification
   149:9               jewelry                  14 175:23
                                                                       80:5
   161:23                123:18,20              176:3
 item     124:11         124:15              Jose     7:23


www.huseby.com                  Huseby Global Litigation                      800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 224 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: K-E-A-R-N-S..laughing
                         54:23                 177:15,25         knowing  48:5
          K              55:8,19,21            178:2               62:15,18,
                         57:10                 180:8,17            21 118:20
 K-E-A-R-N-S
                         64:5,16               183:8,14            146:15
   26:25
                         65:4,14               185:4,18            149:15
 Kearns       26:22      66:2                  188:17            knowledge
 Kemp     40:18          68:17,19,             191:23              70:4 82:3,
                         22 71:19            kinds  23:20          23 83:2,4,
 Kennesaw-
                         72:1,5,8              52:10               6 84:17,23
 woodstock
                         73:18                 54:2,9              99:22
   11:8
                         87:13,16,             75:15               120:24
 key  59:20              22 89:15,             101:9               121:5
   110:23                17,22                 139:10              134:17
 keys     127:13         90:2,3,7,                                 135:6,11
                         12,17               knew  56:5
 killed  75:6,                                 57:15,16            138:6,13,
                         111:15                                    25 152:7
   10 80:17                                    70:7 72:5
                         112:5,8                                   174:17
   116:14                                      75:1,10,11
                         115:6,7                                   175:11
 kind  11:7              118:12,25             80:9 84:12
   13:10                 120:2                 89:8 97:8,
                                               19,20                      L
   14:11                 125:19
   15:24 17:1            127:5                 112:25
                                                                 lack  13:5
   19:13,19,             128:7,23              114:24
                                                                   169:20
   25 25:13              132:18                118:14,15,
   26:1,7,9,                                   16 128:5          language
                         140:6
   12 27:14              141:11                130:7               62:1 78:6
   34:11,12,             144:10                132:20            large  57:17
   17 36:17              145:9                 134:22              155:11
   39:8,9                146:4,23              137:9,15
                                               149:20            larger       20:4
   43:16                 147:3,19                                  40:3
   44:1,15               149:4,21              150:13,15
                                               163:1               146:25
   45:7 46:11            153:6,11
   47:18                 157:9                 166:25            latest       32:24
   48:2,3,12,            160:9                 167:1               83:25
   15 50:1,3             162:5                 177:12            laugh     92:25
   51:15,25              171:1,8             knock     113:6     laughing
   52:6,12,17            173:22
                                             knocking              92:21 93:5
   53:10,13              176:15
                                               52:22

www.huseby.com                  Huseby Global Litigation                  800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 225 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023             ·Index: Lauren..life
 Lauren                 61:8,10               97:18               letting     39:9
   142:22               89:20               legal  12:3           level 15:7,
   144:5                141:7                 23:11,17             18 19:18
   148:22             learning                24:3                 58:1
 law  52:9              183:8                 39:21,22             106:16
   79:11              leave  33:2,3           41:5                LGBT    52:15
   138:9                35:8,12,23            77:20,25
                                              78:17,25            license
 lawsuit     12:7       36:2,3                                     16:10
   190:12               72:1,10               80:7,11
                                              100:12,13            20:8,21,24
 lawyer     23:22       73:3                                       21:7
                        145:22                129:24
 lawyers                146:8                 130:8               licensed
   109:23               180:17,18,            135:5                15:12
   138:4                19                    154:10               19:25 20:1
                                              162:11               34:23
 laypeople            leaving                 165:1
   46:5                 127:4                                     licenses
                                              167:14
 lead  111:19                                                      15:3
                      led     126:15          183:5
   113:2                                                          licensure
                      left  18:8,           legally
   118:24                                                          15:6,8,13,
                        11 27:13              80:13
   132:11                                                          18,22 16:3
   141:5                77:5                legitimate             18:19,25
   180:3                103:12                100:1                19:22
                        104:4,5,9                                  20:15
 leader     43:10       105:6,21            length        172:5
                                                                   21:2,12,25
 leading                106:5               lessons       48:7     22:20
   180:25               108:15              letter
                        157:7,12,                                 licensures
 lean     153:11                              22:18,19,            15:11
                        15,16                 23 84:4,10
 leaned     93:21       159:6                                     lied    40:5
                                              162:23
 leaning                162:15                163:4,7,8           life 12:4,
   93:4,17,18           171:15
                                            letters                15 33:22
   107:24               185:10
                                              15:16                46:16
 learn  48:17         left-hand                                    64:3,6
                                              161:2,3,5,
   111:24               107:6                 8,9,12,13,           65:1 115:1
   128:20             leg  69:1               17 162:5,            121:21
                        74:23                 17,18,21             143:23
 learned     48:7
                                                                   146:5


www.huseby.com                 Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 226 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023            ·Index: lifetime..lot
   147:1                138:8               lobby  76:25          28:15,16
   150:23             lint                    127:5               29:10,11
   151:4                130:15,17,            177:9,21            33:7 44:19
 lifetime               18                  local     91:8        46:24
   48:5                                                           49:18 50:1
                      lips     155:17       located               51:14,15
 lifted     92:5      Lisa     29:10          76:19 80:2          52:13
   108:4                                      84:4                53:1,25
                      listen
 lifting                                    locked                54:1,2,8,
                        110:20
   107:21                                     59:17,18            17 56:1
                      listened                80:16,22            58:23
 light     96:2         109:25                127:7               61:6,9,15
 light-hearted          110:5,16                                  62:3,8
   90:4                 174:21              long  9:25
                                                                  64:1,8
                                              10:17 22:8
 lighten     92:2     LISTSERVS                                   89:18,19
                                              26:5 32:23
                        50:22                                     94:6 101:9
 lightened                                    72:12,16
                                                                  108:16
   92:4               literature              73:4 87:14
                                                                  112:12,13,
                        13:22                 89:4
 lighter                                                          16 114:7,
                                              142:24,25
   92:17              litigate                                    10,12
                                              143:2
   188:16               137:10                                    115:19
                                              145:14
 lighters             litigation                                  117:1
                                              156:24
   188:15               137:16                                    118:19
                                              177:15
                                                                  123:7
 Lily  7:7,16         live  10:21           longer        40:11   124:24
   8:6 9:19             11:3,4                43:19               127:1
   72:8 90:10         lived  10:22,                               128:24
                                            longstanding
   125:17               24 61:7,9                                 136:17
                                              145:16
   162:25               114:3,4,5                                 137:3
   163:3,9                                  looked        22:21
                      lives  17:8                                 142:13
                                              53:21
 limit     168:4        61:7,9                                    144:11,17
                                              93:24 94:5
 limited                                                          148:3
                      living     30:16        103:17
   168:5                                                          156:25
                                              156:22
                      LLC  27:12,                                 158:3
 lines  23:16                                 157:14
                        15,24 28:1                                161:22
   55:9 61:3            29:7,16,22          lost     22:20        164:14
   119:15               30:3,21                                   173:22
                                            lot  14:12
   125:9                35:3                                      174:3
                                              15:15 17:1


www.huseby.com                 Huseby Global Litigation                  800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 227 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023     ·Index: lots..material
   182:8                39:8                  116:4,15            manufacturing
   185:1,19             41:16,19,             119:13               130:25
 lots     64:6          21 42:11              123:17               131:3
                        61:1,11,12            125:14,16,          map 47:4
 loud     29:19         63:19 76:2            17 127:16            49:20
 love  40:9             101:8                 151:3
   113:19               111:2,11              153:23              March     172:3
   189:8                114:1                 187:8               mark 7:16
   190:15,23            117:2               makes     9:7          19:9
   191:1                123:20,25             65:4                 122:17
                        125:22                                     140:5,16
 loved  40:7                                makeup        55:2
                        142:17                                     141:7
   116:19
                        150:2,5             making        97:22
   147:21                                                         marked
                        160:21,23             124:5
 loving                                                            122:12,19,
                        165:1                 125:16
   116:14                                                          23
                        189:20,21,            153:17
 low     55:3           23 190:3,6                                marker     86:22
                                            male  52:13
 lower     15:7,      mail    160:7,          53:23               markers     86:5
   18                   9                                         marketplaces
                                            man     80:16
 LPC  142:22          main  58:16                                  123:22
                                            manage        81:12
   143:5                69:5 76:24                                marks     163:1,
                        127:6,23            management
 luck     40:10                                                    2,3
                        179:17                13:23 43:5
                                              177:1               married
 ludicrous
                      maintaining                                  11:24
   128:10                                     178:21
                        42:13
 Lumpkin                                    manager               MARTA     141:25
                      major     29:6
   13:13                                      32:22               Mary     11:13
                      majored                 33:25
 lunch  63:16                                                     Maryjane
                        13:21
   121:20                                   managing               7:25
                      majority                178:1
                                                                  master 15:13
          M             177:7
                                            manner                 137:11
                      make  48:14             61:20,23
 Macon  71:22,                                                    master's
                        54:14 56:1            118:1
   23 180:4                                                        14:1 15:14
                        62:9 68:18
                                            manufactured           16:1 34:23
 mad     91:5           79:23 98:2
                                              146:23
                        103:14                                    material
 made     30:16
                        113:21                                     124:3


www.huseby.com                 Huseby Global Litigation                    800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 228 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023 ·Index: maternal..memories
 maternal              97:1 98:1,          medical       13:4   meetings
   189:14              7,13,24               46:25               52:20
 maternity             99:1,10,              145:11              61:16
   72:1,9              12,16,19,           medication            65:13
   73:3                21 101:18             143:9               111:25
   180:16,18,          102:12,16                                 132:4
                       103:20,25           medications           156:2
   19                                        12:23 13:1
                       105:5,9,                                  176:2,4
 matter  7:7           13,16,19              143:4,24            179:22
   21:3,4              106:14              meds     143:7,
   122:16                                                       member 61:25
                       121:16,24             21                  68:2 69:24
 max  53:24            122:14,21                                 96:19
                                           meet  54:19
   57:24               133:6,21                                  115:23
                                             115:14
   58:7,25             134:1,11                                  116:2
                                             116:24
   59:7 67:15          151:7,12                                  141:16
                                             158:9
   76:16             meaning     72:3        170:22              146:19
   94:19               78:13                 171:5               177:12,20
   96:5,14             124:24                182:25              180:19
   99:7 100:2          173:24                185:17              183:19,23
   101:23                                    188:4
   102:3             meant     78:13                            members 11:2
   109:13            measure               meeting  37:2         51:11 66:8
                       154:17                51:24,25            67:18
 Mcgovern                                                        102:18
                                             59:14
   7:17 8:10,        measures                64:10               111:13
   13 9:10,            56:25 57:4            100:12,13           112:13
   15,16 32:6          81:21                 112:7               113:16
   38:8 59:6           82:5,11               118:10              114:24
   63:12,15,         media  7:6              152:10,11,          124:18
   17 66:15            113:11                15,17,25            136:21
   67:3 71:6,          120:21,25             153:18              156:14
   7 78:15,24          121:11,12             154:21,22           165:1
   81:4 82:1,          122:2,10              155:1               183:5
   2 84:11,15          129:13                158:12             mementoes
   85:20               139:6,16              159:2,10,
   86:2,19                                                       124:20
                       141:8                 14 161:19
   87:2,12,18          175:19,23,            171:12,13,         memories
   88:11               25 190:1              15,21               116:12,13,
   94:15 96:8                                                    17,18

www.huseby.com                Huseby Global Litigation                   800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 229 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023  ·Index: memory..money
   161:25             messages                63:24                28:13
   162:1                136:20                141:20               29:9,12
 memory  68:5,        messed     105:9      minimum                30:6 46:2,
   6 74:25                                    31:22,25             6,8,17
                      met  8:14                                    47:19,22,
   87:13,16             113:2               minor     12:14
   119:6                                                           23 48:1,
                        115:16              minored                14,23
   157:11               152:5
   158:3,4                                    13:22                51:1,24
                        153:22                                     52:1 55:24
   159:4                156:11              minute
   161:19,22                                                       61:16
                        171:6                 104:25
   175:4,6                                                         65:12
                                              107:10
   182:2              metal  68:9,                                 71:24
                                              118:18
   185:8                24 124:6                                   72:5,9,17
                                              129:16
   189:10               181:22                                     73:20
                                            minutes                112:2
 memos     189:19     mid-february            110:17               113:1
                        147:6                 128:12
 men     55:6                                                      147:12,24
                      mid-november            129:5,18,            148:1
 mental     26:2        36:9,21               20 178:7             155:9
   36:14
                      mid-september         mischaracteriz         161:16
   40:25
                        83:21               ation 84:9             180:11,15
   46:19
                                                                   183:15
   142:17,21          Mike  7:21            mislead
   143:24               152:3,4               91:24               mix     152:20,
   144:12                                   missed        103:8    21
                      mill     127:2
   145:1                                                          mom     113:3
   150:4              Milledgeville         mission
                        13:20                 44:17               moment 22:2
 mentioned                                                         120:20
   40:13              mind  63:10           misutilized
                                              155:23               130:24
   127:5                73:24 74:2
                                                                   131:2
   145:5                90:1 98:13          mitigating             132:6
   175:16               109:6,18              74:8,14              163:17
   180:12               154:19
                                            mitigation            Monday     33:18
   184:24             mindful                 16:14
   187:11               54:12                 24:20               money 33:14,
   189:6                89:13                 25:5,25              19 34:4
 message                                      26:12                119:22
                      mine  10:15
   118:25                                     27:12,25             120:4,6,
                        16:22


www.huseby.com                 Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 230 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: monitoring..needed
   11,14              177:4,11,             37:11
   151:3              22 178:9,             65:7,10                     N

 monitoring           12                    128:7
                                                               named     180:23
   80:20            morning                 150:3
                                            184:11             names 11:10
 month  18:23         8:11,12
                                                                135:24
   181:10             126:20              movement
                                                                160:9
                    mornings                103:16
 monthly                                                        175:16,18
                      126:21                108:6
   14:13                                                        179:24
   50:25            Moss  8:1             moving        9:24
                                                               narrative
   51:24              136:1                 93:14
                                                                22:14
   52:20              164:3,4,9,          MS-    14:23
                                                               narrow
 months  22:9         15,22               MSW    14:23          159:15,16
   26:17 36:4       mother                MTU    178:20        Nathan 7:8,
   37:11              112:21
                                          multidisciplin        18 81:16
   42:2,6             113:3
                                          ary 50:8              82:24
   71:16              114:9
                                                                110:7
   72:17              116:6               multiple
                                                                120:24
   95:18            motion
                                            71:18
                                                                127:24
   115:13             153:10                111:11
                                                                128:4
   116:25                                   114:20
                    motivation                                  129:17
   143:1                                    139:3
                      41:23                                     138:25
   144:6                                    141:19
                                                                175:15
   146:9            motives               murder        74:3    190:5
   147:23             131:1
   150:9                                  murdered             national
                    mounted                 71:15
   172:17                                                       50:20
                      185:13,14             74:17
   179:9,10                                                    natural
                    mouths                murderer
 mood  89:22                                                    108:6
                      155:14                109:14
   90:3                                                        neck 91:8
                    move  42:19           murderers
 mood-wise                                                      92:13
                      98:25                 75:12
   89:17                                                       needed 28:14
                      126:14,17
 Morales     7:24                         murders               47:6 56:10
                      151:4
   84:3               153:6                 174:1               68:14 69:3
   110:10,12          169:10              mute     176:20       72:1 76:12
   135:8                                                        89:7,8
                    moved     10:19
   176:21                                                       90:5 97:24

www.huseby.com               Huseby Global Litigation                   800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 231 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: negative..offended
   148:19             noncapital            November           objections
   154:17               191:8                 16:21 36:9         9:12
 negative             nonprofit               126:15           obliterates
   27:2,5               44:8,10,20            149:17             87:22
   178:8                                      156:17
                      nonprofits              169:5            observe
 neglect                44:22                 172:11             134:12
   112:17             nonresponsive           181:7            observed
 neighbors              98:25               number               100:7
   46:25              normal     141:2        12:18,20         obtained
 neuropsych                                   123:9              170:16
                      North  13:15
   47:11                                      152:2
                        111:17,18                              obvious     41:6
                                              181:2
 news  60:21          Northern                                 obvious-
   115:24               24:15                                    144:16
   140:6                                              O
                        25:8,16                                occasionally
 nice  33:19            44:9                O'BRIEN 8:4          117:21
   149:13             notebook                165:20,22,
                                                               occupied
 Nicholas               68:10,11,             25 166:1,3
                                              167:5,16           33:11
   11:15                15 78:7
                        128:17,24             168:9            occur  25:1
 Nichols     93:3                             170:3,5            100:18,19,
                        155:9
 Nicki     189:11       160:6,11              173:4              20
 night     64:18      noted     126:1       object  59:5       occurred
 nights     33:18                             78:1,22            66:6
                      notice  94:8            81:2,23            134:18,25
 Nikes  94:9,           183:25                84:8 88:9          135:3
   10,17,23             184:6                 94:3 96:7,         152:10
 Niquita              noticed                 15 97:15         occurring
   189:11               103:8                 98:5,12            88:5
                        127:21                99:9               147:17
 Nix  7:19
                        184:13                101:17
   156:10                                                      October
                      notification            103:19
 Noah     7:25                                                   10:19
                        169:20              objection
 nod     8:20                                 70:17            odds    14:12
                      notified
 non-capital            139:15                99:13            offended
   24:22                169:15                                   131:6


www.huseby.com                 Huseby Global Litigation                 800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 232 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023   ·Index: offense..owner
 offense                25 170:7,           officially           operates
   57:22                11 179:12             180:13              44:12
   73:23                180:4,7             officials            opinion
 offenses               181:15                98:22               78:25
   75:16                183:20                128:20              140:23
                        187:2
 offer     16:24                            older     11:8       OPS 81:17
                      officer
 office  16:12                              Omotayo       37:6    82:4,6
                        57:6,10,12                                83:7
   18:9,11              59:11,15,             39:7,8
   23:14,21                                   40:4 43:2           135:9,23
                        20 75:22                                  173:17
   24:23                77:3 97:18            150:2
   25:24                100:7               on-the-job           options     20:4
   27:10,21             106:23                50:9                167:14
   33:5,16              127:13                                   oral     12:24
   36:8,10,                                 one's     118:22
                        129:2,8,11
   12,13,25                                 one-on-one           order 16:3
                        138:10
   39:3 40:3,                                 183:10              54:19
                        152:14
   25 43:1                                    184:10              117:10
                        153:2,8,
   46:2                                                           133:4,17,
                        18,24               one-on-ones
   55:16,23                                                       20 183:17,
                        154:3                 55:1
   65:11 68:8                                                     22
                        155:19
   71:18                                    ongoing              original
                        157:12
   72:3,24                                    32:18               65:10
                      officers
   79:11                                    online  123:8
                        23:8 53:4                                Outlook
   111:23                                     139:23
                        60:6,15                                   136:18
   119:21
                        71:15               open  19:11          outs 107:16
   120:7
                        74:4,18               115:17              177:25
   136:14
                        75:2,24               128:2
   138:1,2                                                       outset
   141:13,21,           80:18 99:6          open-toed             171:17,20
   23 147:19,           101:4                 55:12
                        102:7                                    overhear
   20 150:4                                 opened
                        127:25                                    154:15
   160:17,19,                                 27:12,18
   25 161:5             132:18                                   oversaw     82:4
   162:16               135:21,22           opening       25:1
                                                                 overwhelming
   167:8                136:4               operated
                        174:1                                     147:9
   168:12,17,                                 28:1
   21 169:2,            177:16                                   owner     28:4


www.huseby.com                 Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 233 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023     ·Index: owns..people
 owns     10:15      paperwork             pass     142:9    penalty
                       38:16               passed             46:10,14,
          P            144:10,25             18:21,24         16 51:9
                     paralegal               19:3 70:23       72:14
 p.m.  86:11,                                                 73:11,21
                       24:1                  97:6
   18 122:2,                                                  74:9 75:8
                     paralyzing              130:12
   11 134:3,                                                  162:7
   10 151:16,          148:17              past  48:7
                                             65:6            people 17:1,
   23 167:19         paramount
                                             160:19           25 34:18
   168:1               76:16                                  36:15,16
   186:7,14                                pat     69:2
                     parents                                  42:18
   192:9,14
                       11:4,10             paternal           43:25
 paid  14:12                                 189:14           50:21 53:8
                     park  67:21
   16:22                                                      54:4,5,6
                       115:16              path     127:23
   119:23,25                                                  59:7
                     parking               patted             61:12,18,
 painful
                       128:24                132:18           20,22
   91:14
                     part  14:7,           patting            62:8,11
 pair     95:12                                               64:7 71:20
                       15,20                 164:16
 pandemic              31:19 58:9                             75:6,10,15
                                           pause     105:7
   32:12 34:7          62:20                                  78:3 84:20
   149:2               89:16 90:1          pay  33:20         96:13
                       111:6                 35:9             100:22,23
 panel  27:17
                       114:16                140:25           114:8,17
   28:11
                       163:7                 141:2            116:14,16
 pant     69:1                               150:16           117:6
                       175:4
 pants  55:5           180:13              paycheck           123:8
   68:21,25                                  41:10 46:1       124:21,22
                     participate
 paper  160:6,                                                125:18,20
                       51:17               paying
   11 188:17                                                  127:21
                     participated            127:18           128:20
 paperclip             180:9               payments           130:1
   182:7                                     119:11,13        135:9
                     partner
 paperclips            19:12               Peachtree          139:23
   182:6                                     11:9             140:8
                     parts  52:2                              146:3
 papers                90:15               pen     68:11      150:24
   182:12
                                                              155:10


www.huseby.com                Huseby Global Litigation                800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 234 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023   ·Index: people's..point
   156:3              73:3 78:5             20 169:17         76:23
   161:8              115:22                184:11            89:12
   165:5              116:3,10,           phones              92:17
   175:1              17 125:22             136:15,16,        115:5
   179:14,23,         162:1                 17 157:9          150:18
   25 192:3           180:16                181:21            183:3
 people's           personal                183:12           places     60:14
   52:23              11:19                 188:15           plaintiff
   96:24              22:14               photograph          7:15 12:4
 pepper     140:7     53:16                 124:10
                      75:16 81:1                             play 86:23
 percent              83:4 84:23          physician           91:22
   174:22             136:16                21:20             104:24
   175:5              143:10              pick     141:17    played     86:25
 perception           161:14
                                          picked             playing
   146:17,19          162:4
                                            138:16            86:21
   149:21             174:17
                                          picking             130:3,4
   154:25             175:11
                                            130:14           pocket     68:20
 perfectly          personally
   59:24 60:3         75:14               picks     104:21   pockets
                      84:16 98:8          picture             68:19
 period  16:9
                      134:12,16             176:13,15        point 21:21
   29:3 45:22
                      175:10                                  22:19
   84:19                                  pictures
                      176:3                                   33:19
   103:4                                    124:18
   145:14           phase  46:10,                             36:23 40:1
                                          piece  124:5,       63:11 86:5
                      13,14
 periodically                               15 125:8,
                      72:14                                   87:5 88:5,
   86:24                                    25                8,12 90:22
                      73:11,21
 peripheral                               pieces              93:23
                    phone  12:18
   185:19                                   123:18            102:24
                      17:13,14
 persistent                                                   106:9,20
                      117:21,23           Pittman
   114:15                                                     107:2
                      118:2                 113:2
   115:15                                                     112:24
                      136:8,24              118:24
   116:24                                                     121:21
                      137:4,6,              141:5
                                                              143:23
 person  46:15        12,14,17,             180:3
                                                              147:18
   62:20 72:9         24 139:1            place     23:3      177:24
                      141:10,19,

www.huseby.com               Huseby Global Litigation                 800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 235 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023     ·Index: points..prior
 points               positive                119:21              59:18
   117:25               34:11                 120:2               67:25 89:9
 policies               56:22               practices             95:13
   47:14                116:16                48:4,9              104:20
                      possession              49:3 51:2           106:8
 policy  37:8,                                                    118:13
   17 38:10             49:6                predicted
                        128:18,23                                 124:3
   40:13 42:5                                 145:19              158:7
   183:2                161:1
                                            preemptively         previous
                      possibility
 polite     125:1                             39:8                69:17
                        39:22
 politely                                   preferable            89:20
   132:13             post  23:8              55:5               previously
                        81:10
 politically            189:23              preoccupy             8:16 21:8
   43:25                190:8                 147:4               73:25
                                                                  74:17
 popping              posted  59:15         prepared
                                                                  76:10
   32:15                181:20                30:22
                                                                  95:21 96:1
 port  69:6           posts                 prescribe             97:7 100:5
   77:5                 113:12,15             143:3,7
                                                                 primarily
 ports     76:5,      potential             present       7:11    73:21
   22                   37:20                 56:17               144:11
 position               38:13 47:5            121:1               170:11
   14:9 24:18                                 134:16
                      potentially                                prior 10:21
   39:15                                      164:5
                        42:14                                     12:3 15:7
   40:14                                      174:14
                        44:16                                     20:24
   42:10,12             62:18               presented             27:9,11
   55:14                115:25                172:7,12            29:23
   79:10,15             116:1               presenting            42:21 43:3
   92:14                                      18:4                55:14
                      poverty
   147:11                                                         57:20
   155:13               112:17              presentment
                                                                  69:11,13
                      power     44:24         173:1
 positioned                                                       71:16
   87:21                56:2                pressure              85:5,16
                      practice                148:3               92:7 95:24
 positions
                        17:7                pretty  37:16         164:8
   55:17
                        19:10,14              55:25 57:4          169:6



www.huseby.com                 Huseby Global Litigation                  800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 236 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: priority..psychiatrist
 priority              168:6               professor           protect
   76:13             privileged              14:10 17:9           41:9,10
 prison     51:19      79:13               profoundly             80:3
   53:24               112:4                 54:10             protected
   58:3,11             128:20              program                78:20
   60:17               131:5,8,              14:4,5               79:3,16,19
   67:16               17,19,21              24:15,19          protective
   71:15               132:2,5               28:7 42:18           56:25
   73:25               136:9                 43:22 44:2           133:3,17,
   76:11,16            137:3                 45:11,25             20
   81:11,22          problems                148:21
   82:10 84:6                                                  protocol
                       145:2               programs               183:20,22
   96:5,14,23
   98:2,22           procedure               44:5              protocols
   99:7                169:24              progressed             98:10
   100:2,23          procedures              142:14            provide
   101:15,20,          98:10               prolonged              16:16
   23 102:3
                     proceedings             177:18               22:12
   109:13
                       37:21                 178:5                25:10 29:1
   128:19
                     process               prom     64:13,        31:12
   133:13
                       149:23                18                   124:10
   135:3,4,9
   141:17              166:7               promise             provided
   160:1             produced                120:7                67:13
                       109:20                                     95:22
 prison's                                  prompted
   97:5 98:15                                                  provider
                     professional            83:24
                       19:19 34:4            108:25               142:22
 prisons
   54:25               45:18 56:9          proper  45:9        providers
   57:21               60:5                  145:25               46:25
                       61:20,22                                providing
 private                                   prosecuting
                       62:20                                      25:9
   19:13,16                                  170:12
                       81:11                                      100:17
   28:13
                       117:7               prosecution
 privilege             151:4                                   psychiatrist
                                             34:16
   71:1 77:23                                145:24               28:16,20
                     professionally
   78:20 79:5                                146:1                29:11 30:5
                       125:12                                     143:8,9,
   112:1                                     149:16


www.huseby.com                Huseby Global Litigation                  800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 237 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: psychological..recall
   13,19            put   22:6             questions             read 51:3
 psychological         36:18,21              13:6 64:6            60:21,23
   20:2                59:7 62:13            140:7,8              85:22
                       73:7,8                142:9                90:11
 psychologist          89:12 94:1            151:8                123:7
   20:1                96:4                  156:9,20             155:16
 PTSD                  109:13                163:18,20,          readily
   144:17,21           119:22                24 165:17            91:10
                       120:3,14              173:5
 PTSD-TYPE                                                       real 64:17
                       133:8                 176:8
   147:17                                                         121:25
                       144:14,18             192:5,7
 public  36:13         162:25                                     123:1
                                           quick  121:25
   37:7 40:3           179:4,7                                   reality
                                             123:1,2
   41:17,18,                                                      146:18
                    putting
   21 44:13                                quicker
                       82:25 88:7            118:25              realize
   55:16
                       106:3                                      172:18
   115:16                                  quotation
                       120:5
   141:9                                     163:1,2,3           realized
 published                                                        147:10
                             Q                                    170:23
   113:11                                            R
 pull  68:22        quantities                                   reason 8:24
                       155:11              raise     154:7        9:3 12:12
   85:19
                                           raises                 38:23 59:8
 pulled  37:2       quarters
                                             108:15               64:17
   72:6,7              74:16
                                                                  118:18
   110:24           question               ramifications
                                                                  119:22
   139:8               8:25 9:2              21:7 145:2
                                                                  175:22
   140:1               41:22               random        25:23    176:2
   180:24              72:15,21              26:18
                                                                 reasonable
 purpose     35:5      88:14                 52:23
                                                                  80:5
                       108:25
 purposes                                  rape     63:8
                       123:2                                     reasons
   58:8                133:7               rapist        62:24    113:3
   144:19              168:7                                      114:12
                                           rapport
 pursuant              175:20                183:14               143:11
   133:3,17            184:23                                     155:20
                                           rate     30:3
 pursue     39:21      190:22                                    recall 29:20
                                           react     171:11       92:23,25


www.huseby.com                Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 238 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: recalling..relevant
   104:15               84:3 87:4             129:23              75:23
   108:12               107:11,20             134:23              111:15
   119:19             recommendation          135:1,4             118:13
   153:1,23             15:16                 176:1,4            rehire     37:19
   157:17                                     187:23              38:13
                      recommended
 recalling              143:8,17            recordings            39:18
   111:1                                      110:1              rehired
                      record  7:12            176:6
 receive                9:18 28:17                                38:13,21
   18:18 49:8           37:23,25            records              reinforced
   55:8 66:13           38:7 66:20            47:1,2,3            149:22
   70:2                 67:2 69:25            48:12
   160:20                                     49:19 51:4         reiterate
                        70:18,19,                                 88:21
 received               22 86:7,9,            144:19
   13:20                11,18                 145:11             relate     169:1
   15:6,8               121:24                173:23
                                                                 related
   16:2 17:11           122:3,11              174:4,7
                                                                  102:18
   28:5,18              133:19,25           reduces               176:6
   31:5 38:16           134:3,10              56:18
                                                                 relation
   55:19                151:16,23           refer     162:22      110:1
   66:10                165:19
                                            referencing           157:5
   133:3,16             167:19
   175:14               168:1,3               135:15             relations
   179:6,8,9            186:7,14            referred              43:2
   188:17               190:11                77:24              relationship
 receiving              192:10                                    32:18
                                            referring
   123:4              recorded                83:16               183:14
   188:16               85:4                                     relationships
                                            refused
 recess     38:3        154:22                                    54:6
                                              171:25
   66:23                155:1,15,
                                            regard  39:22        relatives
   86:14                22 184:16
                                              76:1 170:1          114:13
   122:6                187:4
                                              175:19             relayed
   134:6              recording
                                            regular       50:6    169:17
   151:19               77:13
   167:22               109:20                96:4               released
   186:10               110:6,16            regularly             137:17
 recollection           111:2                 54:14              relevant



www.huseby.com                 Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 239 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: relieve..responsible
   26:4 29:2           137:7                22 103:9           represent
 relieve               140:17             removing              36:15
   153:8               143:1                103:17              156:10
                       147:6                104:22              164:3
 remainder             148:5,11,                                166:1
   18:15               17 152:19,         renew  21:10,         173:9
 remember              24 153:4,            12,15 22:2          176:21
   27:19               5,12,13,           renewal              represented
   49:15               17,20                21:13               71:17
   50:18 52:8          158:5
                                          renewed              representing
   53:1 58:15          161:20
                                            22:22               7:15,23
   59:22 60:1          162:24
   64:11,15            163:9              renting               71:20,23,
   68:13               164:13,14,           10:9,16             25 132:15
   83:24               18,20                                    187:2
                                          rep     141:8
   88:24               165:4,11,                               requests
                                          rephrase
   89:5,13             13 166:13                                47:2
                                            80:21
   90:9,13,16          170:13,15
                                                               require
   91:12,16            171:7              replaced
                                                                110:22
   93:2 94:10          175:18               180:17
   95:12,16            177:18,23                               requirements
                                          replay        91:9
   103:6               179:5,6,24                               15:15
                                            104:3
   107:15,17           182:4,7                                 research
                       184:13,23,         report        70:2
   108:20,22,                                                   14:9,11
   24,25               25 185:3,          reported
                                                               reserve     9:12
   114:2,14            5,12                 48:2
   115:3,16            186:21,22                               resolved
                                          reporter
   118:3               188:9,16,                                162:20
                                            7:13 8:19
   119:16,17           25 189:1,            37:22 86:8         respectful
   120:5,16,           3,11,12,13           96:10               125:1
   18 123:4         remind     45:14        122:13,20          responding
   126:24                                   165:24
                    remotely                                    115:7
   127:1,8,                                 190:17,22,
   10,14               94:14                                   responses
                       118:3                24
   128:5                                                        145:6
   130:13              149:6              reports
                                                               responsible
   132:17,19        remove   91:23          69:17 96:1
                                            175:14              170:12
   135:24              93:10,15,


www.huseby.com               Huseby Global Litigation                  800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 240 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: responsiveness..room
 responsiveness          175:7,8              177:8,17,            100:21
   9:13               reviewing               19 182:22            101:11,13
 restate     9:4         109:6                185:9                102:4
   101:6                                      191:13              risks 51:19
                      revisiting
 restaurant              40:11              Ricky's                100:3
   14:8,14                                    83:23                101:2
                      Richey   7:20           111:7
   29:25 31:6            156:10                                   role 45:24
   32:15,19,                                  113:3                47:16
   25 33:10           Ricky     57:11         114:2                175:23
   34:24 35:5            58:5                 125:21               176:3
                         59:14,19             132:14
 restricted              67:6                 147:25              roll 68:22,
   182:20,23             71:13,23,            177:13               25 105:15
 result  20:5            25 72:13             187:24              rolling
   100:22                74:22 76:6         right-hand             106:2
   102:6                 80:1,22              103:17               107:6,13
   142:18                83:1,8                                   room 41:13
                                            rightfully
   145:3                 84:18                                     57:7 59:19
   159:1                 85:1,6               115:24
                                                                   77:6,8,10
 retain                  89:2 97:17         rights        55:15    80:16,22
   122:17                98:3                 70:24                85:13
   128:23                101:12             Riley  7:21            91:18
                         109:21               152:3,4              100:8
 retaining               110:1,7,9,
   128:18                                   ring                   131:4
                         17 111:2                                  134:23
 return  29:16           112:12               123:12,15,
                                              24 125:7,            135:2
   30:20,22,             114:6,24                                  148:21
   24 31:1,14            117:10,14            11,21,24
                                              126:1,9              152:9,15,
                         123:5,16,                                 17 154:5
 returned                                     159:25
                         21,23,24                                  156:20
   137:22                                     164:24
                         124:14,21                                 157:11,15
 returns     29:2        126:17               192:1
                                                                   158:2,6,8,
 review     28:17        128:21             ripping                11,20
   83:25                 130:7,12             147:1                159:6
   133:10                131:11,17                                 163:20,21
                                            risk  53:16,
                         132:10                                    171:2
 reviewed                                     19 59:2
                         134:12                                    176:5
   132:23                                     69:11
                         163:13

www.huseby.com                 Huseby Global Litigation                   800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 241 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023     ·Index: rotated..sense
   184:4,7,12           60:23 81:1          school                 51:19
   185:3,7            sally  69:6             13:11,12,            53:2,16
   186:24               76:5,21               13,16,25             57:4 60:23
 rotated                77:5                  14:10                67:22 68:8
   118:12                                     64:13,14             69:3 74:22
                      salutation              148:14               76:11,15,
 rotating               163:6,7                                    22,23
   26:13                                    scoot  102:14
                      Samuel                  109:3                81:10,12,
 roughly                138:25                                     21 82:5,11
   18:12                167:11              screen        86:1,    96:13 99:7
   191:8                168:12,16,            3                    100:3
                        18 169:1,           scrutiny               107:1
 round     185:11
                        4,5                   75:1                 110:22
 row     58:22                                                     127:22
                      Samuels               search
 Rowe     187:24                                                   150:2
                        168:20                133:11,15
                                                                   152:14
 rules  8:18          sat     157:13          137:1,5,
                                                                   153:2,3,
   130:5                                      13,23
                      Saturday                                     17,18,24
 run  54:16                                 searched               154:3,12,
                        9:24 10:2
   127:2                                      128:25               17,20
   178:3              scanner     68:4        130:8                155:19,20
                      scare     131:3         132:21
 running                                                          seek     174:19
                                              134:13
   82:25              scared     44:15
                                              135:19              selection
                        56:10
                                              136:7                11:16
          S             129:25
                        130:10              seating               send 21:19
 safe  40:16                                  172:14               23:5 47:2
                      scary  33:8
   57:14                                                           124:18
                        146:24              seconds
   60:14                                      105:15              senior
                        149:23
   75:5,25                                    127:12               13:14,16
                        150:10,17
   76:8
   147:13             scenarios             secretive             sense 9:7
   162:12               57:22                 41:15                19:19
                                                                   34:23
 safer     76:2       schedule              secure  74:21
                                                                   42:7,8,11
                        126:21                75:21 76:4
 safety                                                            55:11
   52:21,23           scheduling            security               75:17
   53:16                53:11                 33:22                107:19


www.huseby.com                 Huseby Global Litigation                    800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 242 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023     ·Index: sentence..side
   114:22               140:16              shared        190:3    91:20,24
   171:9                170:19              Shawn     28:21        93:10,23
 sentence               185:6                                      94:2,7,8,
                                            Shayla                 13 95:10,
   54:13              setting                 180:23
   74:11                60:8,12                                    17 103:9
                        76:16               She'd     39:6        short     110:6
 sentences
   54:16                81:20               She'll        91:5    show 68:19,
                        85:10                                      23,25 86:4
 sentencing                                 sheriff
                        171:12                                     89:10 91:7
   73:12                                      136:4
                      settings                                     102:12
 separate                                   sheriff's
                        50:12                                      107:12,22
   46:14                                      129:3,7,
                        60:14                                      108:18
   58:18                                      10,11,12,
                      seven-ish                                    109:15
   160:16                                     14 130:20
                        179:20                                     122:22
                                              139:9
 September                                                         149:20
   9:21 21:14         sex  52:15,           sheriffs               170:24
   84:1,25              16 64:19              138:15
                                                                  showed
   85:5 86:22         sexuality             shifts        33:10    22:21,25
   152:11               52:12,15              34:1                 67:20
   153:1,16           shackled                                     112:24
                                            shirt
   181:6                140:14                130:15,17           showing
 served     35:4,     shadowing                                    91:15 92:8
                                            shock  149:18
   5                    49:18                                      108:16
                                              172:22
 server     14:8      shady  149:23                               shown 116:11
                                            shocked
 session                166:8                 128:5                155:16
   144:15               167:8                 129:24               175:2
 sessions               169:3                                     shut 149:4
                                            shocking
   17:14 50:4           170:8                                      171:15
                                              90:12
                      shakedown                                   sic 67:5
 set  50:2                                  shoe  88:22
   77:2 85:16           83:22                                      86:22
                                              94:7 95:11
   115:4              shanks                  104:5               side 17:2
   117:21               101:8,9                                    103:18
                                            shoes  55:3,
   118:10,11,         share     85:25                              107:6
                                              12,20
   23 119:7             86:3                                       116:7
                                              68:24
   121:2                161:24,25                                  156:23
                                              88:21


www.huseby.com                 Huseby Global Litigation                    800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 243 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023     ·Index: sight..source
   157:15               92:14                 162:12            61:8,10
   159:2,13,            97:18               smiley              64:3,6
   18                   102:1                 123:12            65:1 90:11
 sight     107:23       120:23                126:4           sock  94:2
                        153:12                                  103:17
 sign     188:13        154:3               smiling
                                              92:1,15           104:5,21,
 signed     68:4        156:23                                  22 105:21
                        158:6,23            SMP    67:5,7       106:2,6
 significance
                        159:18,20                               107:6,13
   125:8                                    SMU  57:23
                        185:9                                   108:9
 significant                                  58:18,21,
                      situated                25 67:8,11
   51:9                                                       socks  69:2
                        157:4                 68:5 76:13        88:20
   101:19
   150:20             situation               81:16,19          91:18,24
                        63:2 71:13            82:5 175:1        93:10,23
 significantly                                178:21,22
                        75:18                                   103:9
   48:18                                      182:2
                        146:14                                  106:3
   108:5                                      183:2,21
                        150:6                                   109:7
 signs  181:20          187:23                184:15,19
                                              186:25          sole     28:2
   188:10
                      sizeable                187:3,8,9,      solely     24:24
 silos     73:16        65:2                  20 188:4        some-    162:13
 similar              skills                sneakers
   19:25                112:15                                someone's
                                              56:7              53:7 55:21
   24:18,20             149:1
                                            so-and-so           56:6 119:2
 single     130:8     sleep    13:5           64:12           something's
 sister     11:6,     slide    91:19,         119:1             57:14
   7,12                 20                    163:15
   111:18                                                     sophisticated
                      slow     54:11        social  14:2,       124:5
   116:6
                      slower     54:12        5,10 15:6,
 sit  130:21                                  7,13,14,21      sort  87:20
   131:10             small  25:4             16:15,17          152:14
   154:13               29:13                 17:1,9            156:2
   171:23               36:14                 19:10,24        Sounds     66:18
                        57:3,21               20:2 34:5,
 sitting                                                      source
                        181:24                12,24
   56:12                                                        114:9,11
   57:10              smart    33:14          36:19
                                              45:18,19

www.huseby.com                 Huseby Global Litigation                800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 244 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: Southern..staticky
 Southern               52:1 55:25          staffed       25:5    71:12
   55:15              specific              stand  127:12         72:10 73:6
 Southwest              45:24 76:1            140:1               88:25
   10:4                 82:23                                     89:17
                                            standalone            91:15
 space     98:14        161:4,13              68:8 76:22          147:2,5,17
 speak  8:21          specifically            127:22              148:5
   46:12,14             40:12 55:2          standard              149:8
   113:8                95:12                 95:4                177:22
   114:21               104:17                109:17              178:25
   123:22               164:20                125:8               179:2
   180:10               165:13                127:2               181:5
                        166:11                183:20,22           183:9
 speaker     52:6       170:2                                     188:3
                                            standards
 speaking             specifics               78:18              starter
   156:22               166:9                                     48:12
                                            standing
 special              spell    17:5           20:22,25           state 9:17
   137:11
                      spend  46:24            21:5                13:19
   177:1
                        112:20                127:10,14,          14:1,4,23
   178:21
                                              20                  24:19 28:7
 specialist           spent  34:3
                                                                  37:9 42:22
   24:21 25:5           114:6,9,12          staple
                                                                  43:16
   26:12              spoke    168:3          182:11,12
                                                                  45:10,25
   29:9,12            spoken  78:5          staples               52:2 58:3,
   30:6 46:6,           174:12                181:23              23 71:19,
   9,17 47:20                               staring               20 111:7
   71:24              sports     14:18
                                              185:18              135:9
   73:20              spring     22:5,
                                            start  13:10         state-issued
   147:12,24            19
                                              23:15               91:18
   148:2
                      squarely                24:12 35:3
   180:11,16                                                     statement
                        87:21
   183:15                                   started               103:14
                      stable                  33:15               138:12
 specialist/
                        114:23                35:13 44:4          167:7
 mitigation
                        149:8                 45:9,10,12          169:23
   46:3
                      staff    16:17          49:4,25            states     79:2
 specialists
                        80:3                  54:24
   28:14 48:1                                                    staticky


www.huseby.com                 Huseby Global Litigation                   800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 245 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023 ·Index: station..supervisor
   183:12              65:2,8,10,          stuck     69:1,2       147:10,21
 station               16,24               studies                150:1
   141:25            strange                 23:17 58:9          suffered
 status  22:3,         140:23                60:5,9               102:21
   6,8 23:4          strategic             stuff  15:25          Sullivan
   37:19               89:25                 24:5 79:7            29:10
   38:13             stress     119:3        83:23               summer 40:19
   42:13                                     109:24               58:11,12
                     stress-                 174:4
 stay  36:25         relieving                                    149:7
   37:13 45:3                                180:8
                       34:19                 182:1               Sunday     33:17
 Step     128:4      stressed                183:8               super    56:8
 Stephanie             164:19              subject       85:4    supercedes
   26:22             stressful                                    21:2
                                           submit        39:14
 stipend               146:1
                                           submitted             superior
   14:13             strict  75:1                                 65:5
                                             25:17
 stipulations          181:23
                                           subsequent            supervise
   9:11                182:3
                                             16:10                17:18 48:3
 stop  86:24         strike     71:9         18:19               supervised
   87:25               84:24                 20:15                15:22
   104:3               98:25                 109:19
   105:2               184:1                                     supervisees
                                             121:8
   177:13                                                         17:22
                     strip  130:8            138:22
 stopped               132:21                                    supervising
                                           subsequently
   64:16               133:11,15                                  17:25
                                             142:1
   87:19               134:13                                    supervision
                                           substance
   115:7             strong  48:19                                15:24
                                             26:3
 stories               114:11                                     16:10,11,
                                           subtract               16,18,23
   89:23             structure
   162:4                                     31:8                 17:2,11,
                       44:24
   178:3                                   successful             15,21
                       54:13
                                             48:6,7               19:21
 story  27:25        struggled                                    49:25
   30:21               147:20              sudden        42:3     50:10
   63:22,23            167:3               suddenly
   64:22,24                                                      supervisor
                                             33:24


www.huseby.com                Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 246 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023 ·Index: supplemental..tattoo
   26:21             sworn     8:7           105:22              125:18
 supplemental        symptoms                106:6               128:11,12
   22:13                51:10                107:9,13            129:17
                        144:17             talk  18:1,2          134:21
 support                                                         135:10
   79:10                147:17               49:21
                                             50:2,3              139:3
   80:13             syndrome                                    142:13
                        50:19                52:4,10,
 supports                                    11,21             talking
   79:15             system       62:9,      53:10               52:14
 supposed               12                   54:11               64:8,16
   47:20             Szatkowski              56:20               65:9,19
   105:14               180:5,12             57:20               66:1 78:11
   118:14,15,                                64:21               87:15
   16,21                      T              89:7,9,21,          89:18
   129:25                                    25 90:3,5           90:14,15
   130:2,6           table   9:1             94:9,13             91:5
   146:13               88:4,7,12            114:7               107:17,18
   158:19               92:24                125:20              108:25
   183:15               93:4,18,             130:21              112:7,18
                        19,25                131:11,13,          123:15
 surely
                        94:6,12              15,20               130:17
   172:18
                        96:5 97:3            132:4,10,           131:14,22
 surface                100:7,9              13 135:14,          132:5,19
   106:16               102:24,25            17 141:24           139:23
   107:24               103:2                152:9               148:14
 surmise     79:9       104:13               155:9               155:21,24
                        106:9,10,            170:20,24,          158:8
 surprised
                        16,22                25 171:14           162:5
   169:7,16
                        107:23,25            188:2               164:14,18
 surveillance           108:7                                    167:11
                                           talked  37:11
   81:21                109:14                                   171:25
                                             39:1 45:22
 suspended              130:16               52:16               177:22,25
   21:7                 156:24               61:15 67:4        targeted
 suspicion           tables       34:4       83:10 89:3          146:19
   126:12            takes     146:4         90:17             tasked     73:10
                                             112:15
 swear     7:13      taking       9:1        120:20            tattoo     91:14
                        14:19                                    109:2

www.huseby.com                Huseby Global Litigation                  800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 247 of 254

                  LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                           Lily Engleman on 02/14/2023     ·Index: tattoos..texts
 tattoos               155:10              tells     65:24      170:9
   88:17               156:15              temporary            172:4
   89:18,21            161:7,8               43:17            terrified
   90:14,15,           162:11                                   147:8
   23 91:11,           165:2               ten  30:17,
   13 92:8             173:24                18 105:8,        terrifying
   104:10              177:13,20             13,14,15           146:16
   107:18              179:15,16,          ten-second-          149:15
   108:17,18,          22,25               back 105:3         test    18:20
   21 165:8            180:7,13,           tend     8:20      testified
 taught     61:19      19,24
                                           terminate            95:21
                       183:5,19,
 tax    29:2                                 150:12             159:24
                       24 184:22
                                                                164:4
 teachers              186:19              terminated
   46:25               187:3,17,             33:24            testify     13:2
   148:14              22,25                 34:22            testimony
                       191:20,24,            35:22,24           25:9,10
 teaching
                       25                    37:2,10            82:17
   148:25
                     team's    70:25         38:11 40:9         134:22
 team  50:6,8                                42:3,16            164:24
   57:17             teams  60:22            45:23              173:9
   62:1,21             100:16
                                           terminology          178:15
   67:18 68:2          117:1
                                             139:10             189:5
   69:25               136:21
   73:14,15            186:23              terms  23:6        testing 20:2
   77:25 78:4                                25:8 35:7          47:9 50:12
                     telehealth
   84:21               17:16,19,             47:15            tests     16:4,5
   96:19,24            20                    52:25
                                                              Texas
   97:20                                     53:15 66:4
                     telephone                                  111:12,14,
   98:16,17                                  79:21
                       111:3                                    15 114:3,
   100:12                                    81:12
                       117:19,20                                14,19
   113:4                                     91:11 96:3
                       182:21                                   115:13
   118:11,13                                 134:20
                       183:1                                    189:12
   124:19,21                                 136:24
   136:17,20         telling     87:9        142:12           text  118:1
   140:1               131:12                149:8,10           123:1
   141:6,16            162:8                 152:23             136:20
   146:20              178:2                 168:11           texts     115:8


www.huseby.com                Huseby Global Litigation                800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 248 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: thankful..timeframes
 thankful                165:5              tie     176:14         22 87:6,16
   191:20                175:17             tied     137:15        88:5 89:4
 themes     46:9         177:14                                    93:23
                         181:11,23          Tifton        71:22    94:18
 theories                182:12                                    100:18,19,
                                            tight     50:21
   46:10                 185:11                                    20 103:4
                                            time  7:10
 therapist               188:7                                     111:13
                                              8:22 12:18
   19:13,16           thinking                                     112:20
                                              14:7,15,
   52:15,16              50:3 90:10                                114:7,10,
                                              20,21 16:9
                         98:21,22                                  12 115:4,
 therapy                                      29:2
                         114:1                                     12 118:1
   15:20                                      30:11,14
                         137:7                                     120:6
   19:11                                      31:19
                         146:7                                     121:1
   144:2                                      32:12,15,
                         148:11                                    122:2,10
 thing  50:6                                  23,24 33:7
                         187:12                                    133:11
   51:6 85:24                                 34:7,16,
                                                                   134:2,9
   102:13             thought     33:9        21,25
                                                                   145:15,17
   105:4                 36:19                36:5,7,8
                                                                   146:23
   137:13                41:20                37:24
                                                                   149:2
   139:12                47:10                38:6,15
                                                                   151:15,22
   140:6                 63:21 72:4           39:2 41:11
                                                                   161:19
                         75:21                45:22
 things  27:17                                                     165:13
                         78:12                46:24
   34:9,19                                                         166:22
                         82:14                47:25
   41:3,11,25                                                      167:18,25
                         97:11                49:24
   48:15,20                                                        171:4
                         113:18               50:18
   56:1 61:15                                                      172:6,21
                         127:25               51:25
   65:3 68:10                                                      176:18,19
                         129:25               52:10
   76:7 89:7                                                       177:1,19
                         131:6                57:10 58:6
   94:14                                                           178:25
                         143:9                64:19,23
   95:20                                                           179:2,16
                         146:22               65:6,18
   101:7                                                           186:6,13,
                         172:17               66:19
   117:6                                                           18 187:1,
                         176:19               67:1,7
   153:10                                                          20 192:9
                                              68:1 70:1
   155:9              throwing                                    timeframe
                                              72:23
   160:8,10,             55:21                77:19                30:9 35:11
   21 161:10,         Thursday                80:18                37:3
   18,20                 10:10                84:18               timeframes
   162:2,7,19                                 86:10,17,

www.huseby.com                 Huseby Global Litigation                 800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 249 of 254

                   LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                            Lily Engleman on 02/14/2023 ·Index: timeline..truthfully
   35:7                  38:22 39:3         touch     8:15        181:15
 timeline                40:21,24           toured                183:8
   45:9                  41:12 42:6           58:12,22           trainings
                         64:22                                    50:25
 times  32:15,           79:11              town  57:3,
   21 50:2                                    21 129:4            52:19
                         125:15
   61:9 67:17            128:7                181:24             trajectory
   68:1 75:3             130:11             track     81:24       87:14
   111:8                 140:10,21,                              transcript
   126:7                                    traffic
                         22,23,25                                 8:23
   130:19                                     12:14
                         144:14
   132:12                                     159:19             transfer
                         166:14
   137:2                                    trailer       56:6    40:24
                         169:12
   139:4                 170:21                                  transferred
                                            train  52:6
   144:11                                                         13:19
                      Tomeika  8:2            150:22
   177:5,11                                                       36:12,17
                         173:9,12,            151:1
   181:1,3,4
                         14                 trained              trauma     26:6
   183:6
   184:9              tomorrow                46:18              travel     52:3
   185:19                115:9                61:24              treating
                         141:24               114:17              142:19,20
 timing
   172:5,8            tons     136:20       training             trial 25:6
                                              19:20               46:14
 tips  31:23          top   32:8
                                              20:15               72:19,22
   32:8                  56:8 57:9
                                              23:7,8,11,          179:18
 tired     67:10      topic   52:24           15 24:1,3,          180:9,25
 title     45:25         65:10                8 26:8
                         171:21               48:13              trials     46:12
 today  12:19                                 49:8,11
                      topics   50:25                             trip 111:21
   13:1 83:4                                  50:10,17,
                         52:7 65:9                                114:19,21
   102:1                                      18 51:5,9,          123:10,11
   118:21,22          total   18:9            14,15,18
   120:23                178:24                                  trips    111:11
                                              53:15
 Today's    7:9          179:14               54:1,3,8,          true     67:24
 token     125:5      totally                 17 55:9            trust    41:3
                         93:24                61:14
 told  36:22                                                     truthfully
                         102:14               81:9,11
   37:5,7,12                                                      13:2,7
                         187:12               138:7


www.huseby.com                 Huseby Global Litigation                   800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 250 of 254

                     LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                              Lily Engleman on 02/14/2023  ·Index: Tucker..utilized
 Tucker       9:23        59:13               underground         161:6
 tuition                  72:20 88:2            123:22            171:6
   14:12                  90:21               underlying        understood
                          92:3,22               73:12             9:5 154:9,
 turn  65:2               93:6,20
   68:19                                      understand          16
                          95:23 99:5
   146:15                 104:19                9:2 13:6        uniform
   158:22                 106:3,7               23:3 44:4         47:17
 turned  7:4              107:8                 54:15           unit  25:3,6
   38:2,5                 108:11                62:25             177:2
   66:22,25               113:13,17             72:15             178:21
   86:13,16               118:6                 77:21,23
                                                80:5 116:8      university
   122:5,8                123:14
                                                117:1             13:15,19
   134:5,8                126:3,19
                                                145:22            14:1 15:2
   151:18,21              155:25
   167:21,24              163:5                 146:17          unlock
   185:25                                       149:19            127:13,18
                        ultimately
   186:9,12                                     152:13
                          54:21                                 unpleasant
   192:12                                       167:3
                          136:23                                  178:11
                                                173:14,16
 twisting                 137:23                                unsafe  40:6
                          142:4               understanding
   92:13                                                          57:18,19
                                                39:11
 type  22:3             uncles     11:21                          147:22
                                                48:20 59:9
   70:5                   114:8                 67:6 71:8       unusual
 types  23:7            uncomfortable           77:18,22          94:11,14
   188:6                  41:16                 78:16             109:16
                          52:14                 79:25             125:13,14
                                                80:17             166:24
          U             uncommon
                          124:17                83:19,20        upset     171:2
 UGA     17:9             154:12                88:19
                                                                utilize
 Uh-huh  16:8                                   96:12
                        uncovering                                117:23,24
   17:17 27:3                                   99:23
                          64:25                                   120:11
   29:17                                        110:9
                          112:19                113:20          utilized
   30:25 33:4
                        under-     87:13        118:4             122:18
   35:20 46:7
                                                123:20            128:19
   49:5,12              undergrad
   51:21                                        124:14
                          58:10
   57:25                                        145:25


www.huseby.com                   Huseby Global Litigation                800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 251 of 254

                    LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                             Lily Engleman on 02/14/2023
                                                ·Index: V-I-S-H-W-A-M-I-T-R-..voluntarily
                          66:21,24              91:10                 110:13
          V               83:25                 106:15,23             117:11
                          85:23                 107:2                 157:9
 V-I-S-H-W-A-M-
 I-T-R-A 49:1
                          86:12,15,             152:22                158:24
                          21,25                 158:7                 185:3,7
 vague     63:25          90:7,9                                      186:24
                                              visit  12:19
 Valentine's              102:13,14             46:23               visited     58:5
   35:17                  103:21,22             67:16                 165:5
                          109:4,6               74:25                 184:9
 variety      20:4
                          111:1                 77:3,20
   50:25                                                            visiting
                          122:4,7,17            78:8 80:7,
   113:12                                                             85:7
                          130:11                11 83:25
 vary  30:3               131:23                                      177:19
                                                84:25                 178:15,20
   57:4                   134:4,7,22            85:1,4,15             183:10
 vehicle                  135:2,3,7             86:21
   128:25                 149:19                87:14,17            visitors
   129:1                  151:17,20             88:24                 60:7,22
   136:7                  156:22                89:1,2,4,             80:3
   141:18                 157:14                8,14 90:13          visits     49:17
                          167:20,23             96:5
 verbal       69:14                                                   53:11
                          170:18,21,            109:12
   78:19                                                              67:23 83:1
                          24 171:24             123:10
   79:2,15,18                                                         84:18,20
                          174:21,22             126:15,17,
   131:24                                                             85:5,16
                          175:2                 20,25
   189:1                                                              89:20 94:7
                          186:8,11,             127:2                 126:21
 verbally                 16,20                 130:8                 129:24
   77:14                  192:11                132:22                156:16,20
 verify       107:1     videos                  134:13                182:14,16,
 versus       7:8         134:20                135:5                 21 183:4,
   135:9                view     87:22          154:11                6,10,18,23
                                                155:15,22             184:3
 veteran                views     157:9         177:8                 188:8,12,
   51:3,4                                       181:3,8,
                        violence                                      20
 Victoria                 60:11                 12,16
                                                                    Vivia     180:22
   11:13                                        184:12,14
                        Vishwamitra                                 voice     109:19
 video  7:3               49:1                visitation
   38:1,4                                       77:6,8,10           voluntarily
                        visible


www.huseby.com                   Huseby Global Litigation                    800-333-2082
       Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 252 of 254

                     LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                              Lily Engleman on 02/14/2023  ·Index: W-2..wondering
   147:14               walls     152:17        130:11              wepers
                        wanted  8:15          watching               188:15
          W               19:11,12,             90:6                whatsoever
                          20 21:19              129:24               21:22
 W-2     31:5
                          28:17               ways  54:4            Wi-fi     110:21
 waist     140:14         37:15                 129:4               widely     57:4
 wait  77:1               64:21
                          65:21,22            weapons       24:8    window 57:9
   129:1,7
                          89:15 94:8            181:22               159:7,9
   140:12
                          95:15                 188:15
   177:8                                                            windows
                          110:12                189:2
 waiting 34:3                                                        156:25
                          114:21              wear  55:11,
   177:15,21                                                         157:5,8
                          125:3,4               20 95:14             158:11
 waive     167:15         131:15,25
                                              wearing       56:7     159:2
 waiver       168:5       135:14,16
                                                68:21               Wing 14:16
                          170:23
 wake                                           94:17                29:24
                          171:14,23
   146:10,12                                    95:19                31:20
                        wanting 56:1
 walk  46:5                                   week  30:13,           147:3
                          65:2 114:7
   77:4 94:24                                   17 33:10,           Winne 140:5,
   126:16               Ward     180:6          17 119:2             16 141:7
   158:5,9              warden  81:20           139:2
                                                                    witnesses
   177:11                 84:3 99:7           weekly        50:24    132:24
 walked       95:8        110:10,12
                                              weeks  49:16           148:10
   171:2                  135:8
                                                72:18               woman 53:17
                          176:25
 walking  45:7                                  147:19               55:1 114:1
                          177:1,22
   53:7 77:8                                    169:6,15             117:5
   90:9                 warrant                 172:25
                          128:8                 181:9,13            women 55:6
   158:20
                          129:22                                     60:17,21,
   177:10                                     weird  141:3
                          137:1,5,13                                 22 61:4
 wall  152:20                                   185:5                62:12
                          174:19
   156:24                                     welfare                117:7
   157:21,24            waste     171:4
                                                43:14                164:15
   158:11               watch  88:25
                                              well-being            wondering
   185:13,14,             171:24
                                                150:25               127:15
   16                   watched



www.huseby.com                   Huseby Global Litigation                    800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 253 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023         ·Index: word..years
 word  33:2           146:14                33:17           write 78:8
   41:22              147:5,20              34:24            160:8
   124:3              148:2                 40:14            161:8,17,
 wore  34:21          150:11                42:16            18,21
   68:21              181:14                44:4,14,19       162:10,13,
   95:7,18            191:8                 47:23 51:2       21,25
                    worked    14:7          61:5 71:12      writing     78:7
 work  13:11                                72:12,16
   14:2,5,10,         28:20                                  123:10
                      29:9,10,              73:6,11          162:9,10
   22 15:6,8,                               100:22
   14,19,21,          11,13,14                              written
                      30:10 35:2            125:11
   23 17:9                                  135:7            22:14
   19:10              41:18,21                               79:18
                      43:14 57:2            147:2,12,
   20:16                                    23 149:6         155:7
   23:12              71:20                                  161:10
                      72:22                 178:25
   24:6,12,                                 179:2           wrote 22:18,
   14,22,24           75:11
                      79:12               workplace          22 175:15
   25:9,25                                                   189:19
   26:10,20           113:1                 67:15
   27:10              126:8               works  17:10
                      146:5                                         Y
   28:13,15                                 102:3
   29:8 30:4,         187:7
                                          world  51:7       year 13:14,
   5 32:24          worker  15:13           58:11            16,17,18
   33:10 35:5         16:15,17              144:12           17:3 18:22
   40:6,9             19:24                                  21:13,17
   43:13,16           34:24               worried
                                                             24:17
   48:3 51:1          36:19                 44:21
                                                             27:14
   58:8 63:20         45:18,19              155:3
                                                             29:23,24
   66:6 73:16         90:11                 179:5
                                                             55:15,17
   81:16            workers     17:1      worry  154:14      137:17
   101:15,21          20:2                  155:2            142:6
   111:16                                                    150:19
                    working               worse     89:12
   114:20                                                    166:21,23
   117:2,11           14:3,15             worst     63:18
                                                             170:16,17
   124:24             18:2 24:12
                                          wrapped            180:25
   136:18,19          27:9 28:10
                                            37:14
   137:8              29:24                                 years 10:24
                      30:11               wraps     36:23    15:23 16:1
   142:13
                      31:19                                  21:13,14


www.huseby.com               Huseby Global Litigation               800-333-2082
     Case 1:21-cv-01992-MLB Document 51 Filed 04/25/23 Page 254 of 254

                 LILY ENGLEMAN vs NATHAN ADKERSON, ET AL.
                          Lily Engleman on 02/14/2023 ·Index: yesterday..zoom-in
   32:5 34:3
   41:19
   47:24 68:6
   85:8 94:11
   107:16
   113:5
   124:23
   177:24
   181:8
 yesterday
   110:24
 yet also
   116:14
 yielded
   139:18
 you-all  18:5
   63:22 87:5
   110:3
   117:11
 young  55:1
   114:1,6,25
   117:5,6
 younger     11:7
   114:4

         Z

 zoom  17:15
   18:1 50:25
   85:21
   123:9
   155:2,5
   165:16
 zoom-in
   156:2



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